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            EXHIBIT 13
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                                                                                                             Page 3
              UNITED STATES DISTRICT COURT                1   HOLWELL SHUSTER & GOLDBERG LLP
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       IN RE: ACETAMINOPHEN –    ) MDL No. 3043           3   New York, New York 10017
       ASD-ADHD PRODUCTS         )                            (646) 837-5151
                                                          4
       LIABILITY LITIGATION      ) Case No.               5   and
       ________________________ ) 1:22-md-03043-DLC       6
       THIS DOCUMENT RELATES TO: )                            KELLER POSTMAN LLC
                                                          7   BY: LAUREN SCHULTZ
                                 ) JUDGE DENISE                    lauren.schultz@kellerpostman.com
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      New York, New York, commencing at 9:43 a.m.             and
      Eastern, on the above date, before Carrie A.       16
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 22   Alliance, Inc.                                      23
 23                                                                   LAURA SHANNON, summer associate, Keller
 24                                                       24       Postman LLC
 25                                                       25


                                                 Page 6                                                          Page 8
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 25


                                                                                                       2 (Pages 5 to 8)
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                                                                Page 9                                            Page 11
  1                  INDEX                                                1           VIDEOGRAPHER: We are now on
  2                            PAGE
  3    APPEARANCES.................................. 2                    2      the record. My name is Danny Ortega,
  4    EXAMINATIONS                                                       3      and I'm the legal videographer for
  5     BY MR. MURDICA............................. 12                    4      Golkow Litigation Services.
  6     BY MR. DOVEL............................... 386
  7     BY MR. MURDICA............................. 394                   5           Today's date is August 9, 2023,
  8                                                                       6      and the time is 9:43 a.m.
  9             EXHIBITS
 10    No. Description              Page                                  7           This video deposition is being
 11    50 "Impact of Prenatal Acetaminophen               14              8      held at 126 East 56th Street,
          Exposure for Hippocampal                                        9      New York, New York, in the matter of
 12       Development Disorder on Mice,"
          Xie, et al.                                                    10      Acetaminophen (Tylenol) ASD-ADHD
 13                                                                      11      Products Liability Litigation.
       51  Dr. Hollander website bio    151
 14       printout
                                                                         12           The deponent today is Eric
 15    52 Rebuttal Expert Report of Dr.  159                             13      Hollander.
          Eric Hollander, M.D. DFAPA, FACNP                              14           All counsel will be noted on
 16
       53  "Prenatal Exposure to           193                           15      the stenographic record.
 17       Acetaminophen and Risk for                                     16           The court reporter today is
          Attention Deficit Hyperactivity
 18       Disorder and Autistic Spectrum
                                                                         17      Carrie Campbell and will now swear in
          Disorder: A Systematic Review,                                 18      the witness.
 19       Meta-Analysis, and                                             19
          Meta-Regression Analysis of
 20       Cohort Studies," Masarwa, et al.                               20       ERIC HOLLANDER, M.D. DFAPA, FACNP,
 21    54 List of studies by Dr. Baccarelli 195                          21   of lawful age, having been first duly sworn
 22    55 "Acetaminophen use during           253                        22   to tell the truth, the whole truth and
          pregnancy and the risk of
 23       attention deficit hyperactivity                                23   nothing but the truth, deposes and says on
          disorder: A casual association                                 24   behalf of the Defendant Johnson & Johnson, as
 24       or bias?", Masarwa
 25                                                                      25   follows:

                                                               Page 10                                            Page 12
      56     Supplemental tables for Masarwa   260
  1
            2020
                                                                          1            DIRECT EXAMINATION
  2                                                                       2   QUESTIONS BY MR. MURDICA:
      57  "Prenatal and postnatal exposure 275
  3      to acetaminophen in relation to                                  3       Q. Good morning, Dr. Hollander.
         autism spectrum and                                              4       A. Good morning.
  4      attention-deficit and
         hyperactivity symptoms in                                        5       Q. My name is Jim Murdica. I'll
  5      childhood: Meta-analysis in six
         European population-based
                                                                          6   be examining you today.
  6      cohorts," Alemany, et al.                                        7            Do you know Dr. Robert Cabrera?
      58 Supplementary material to Alemany 312
  7
  8   59 Dr. Hollander report brought with 342
                                                                          8       A. Yes, I do.
         him to the deposition                                            9       Q. Okay. And when did you first
  9
      60     "What Does it Mean to Be      342                           10   met Dr. Robert Cabrera?
 10         Transdiagnostic and How Would We                             11       A. In preparing for my expert
            Know?", Barch
 11                                                                      12   report, I had an opportunity to speak with
 12
      61   "Maternal Biomarkers of
          Acetaminophen Use and Offspring
                                                       360               13   him.
          Attention Deficit Hyperactivity                                14       Q. Now, that was in 2023?
 13       Disorder," Ji, et al.
 14   62 "Examining associations between 375
                                                                         15       A. That's correct.
          prenatal biomarkers of oxidative                               16       Q. And you reference him several
 15       stress and ASD-related outcomes
          using quantile regression,"                                    17   times in your report and rebuttal report as
 16       Carey, et al.                                                  18   somebody that you're relying on as a basis
 17   63 "Perinatal Acetaminophen Exposure 382
          and Childhood                                                  19   for your opinions, correct?
 18       Attention-Deficit/Hyperactivity
          Disorder (ADHA): Exploring the
                                                                         20       A. That's correct.
 19       Role of Umbilical Cord Plasma                                  21       Q. Okay. Did you have the
          Metabolites in Oxidative Stress
 20       Pathways," Anand, et al.
                                                                         22   opportunity to review my examination of
 21    (Exhibits attached to the deposition.)                            23   Dr. Cabrera?
 22   CERTIFICATE..................................405
 23   ACKNOWLEDGMENT OF DEPONENT...................407                   24       A. No.
 24   ERRATA.......................................408                   25       Q. Have you been provided my
 25   LAWYER'S NOTES...............................409


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  1    examination of Dr. Cabrera?                      1   QUESTIONS BY MR. MURDICA:
  2        A. Yes.                                      2       Q. Okay. I'm going to mark it for
  3        Q. Okay. When were you provided              3   the sake of the record as Exhibit 51. 50.
  4    that?                                            4            Do you recognize this,
  5        A. Prior to this deposition.                 5   Dr. Hollander, as what was handed to me
  6        Q. And when? Today? A week ago?              6   before we started?
  7    Two days ago?                                    7       A. Yes, I recognize it.
  8        A. Sometime between, I believe,              8       Q. Okay. Are you relying on
  9    when I filed my rebuttal and when we're          9   Exhibit 50 for -- to support your causation
 10    meeting today.                                  10   opinions here?
 11        Q. Okay. And if I understood you,           11            MR. DOVEL: Objection. Form.
 12    you chose not to review it; is that right?      12   QUESTIONS BY MR. MURDICA:
 13        A. I didn't review it. I didn't             13       Q. Dr. Hollander, I'll ask a new
 14    have time to review it.                         14   question.
 15        Q. Okay. Did you skim it?                   15            Are you relying on Exhibit 50
 16        A. No.                                      16   for any opinion you have here?
 17        Q. Did you open it at all?                  17            MR. DOVEL: Objection. Form.
 18        A. No.                                      18            THE WITNESS: I'm incorporating
 19        Q. Okay. Is there any opinion --            19       this material, along with all of the
 20    well, let me lay some foundation here.          20       other material that I have from my
 21             You offered a rebuttal report          21       materials considered, and it is
 22    in this litigation, right?                      22       consistent with my opinion.
 23        A. That's correct.                          23   QUESTIONS BY MR. MURDICA:
 24        Q. And an initial report?                   24       Q. Okay. Dr. Hollander, do you
 25        A. Yes.                                     25   know that Dr. Cabrera said that there's not

                                          Page 14                                              Page 16
  1        Q. And an amended -- well, an                1   enough there in that paper on the Notch or
  2    initial report and an amended report and a       2   SOX pathway to influence his causation
  3    rebuttal report, right?                          3   opinion?
  4        A. Right. And an amended                     4            MR. DOVEL: Objection. Form.
  5    causation report and a rebuttal report.          5            THE WITNESS: I'm not aware of
  6        Q. Okay. And is there anything as            6       whether or not he made that statement.
  7    a result of Dr. Cabrera's testimony here that    7   QUESTIONS BY MR. MURDICA:
  8    you want to change in your three reports that    8       Q. Okay. Dr. Cabrera -- I mean,
  9    you've issued?                                   9   sorry, Dr. Hollander, are you, sitting here
 10        A. No.                                      10   today, going to tell us that the Notch
 11        Q. So you, sitting here today,              11   signaling or SOX pathway is a biologically
 12    have no idea what happened or didn't happen     12   plausible mechanism that you are going to
 13    or said or was said at Dr. Cabrera's            13   rely on for your opinions here relating to
 14    deposition; is that fair?                       14   acetaminophen and the outcomes of ASD and
 15        A. I think it's fair. I haven't             15   ADHD?
 16    reviewed the deposition.                        16       A. Well, it's not a pathway that I
 17        Q. Okay. Your counsel handed me a           17   considered in my amended expert report or in
 18    paper before we started today.                  18   my rebuttal report, but it's additional
 19             Did you see him do that?               19   information that supports my opinions with
 20        A. Yes, I did.                              20   regards to exposure and outcome.
 21        Q. Okay. And is this something              21       Q. Okay. Dr. Hollander, have you
 22    that you reviewed?                              22   ever, in your regular work, researched Notch
 23        A. Yes.                                     23   signaling?
 24             (Hollander Exhibit 50 marked           24       A. No.
 25        for identification.)                        25       Q. Okay. In your regular work,

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  1    have you ever done any research or               1   QUESTIONS BY MR. MURDICA:
  2    experimentation regarding the SOX2 pathway?      2       Q. Yeah.
  3        A. No.                                       3            Dr. Hollander, what I meant is,
  4        Q. Okay. In your expert report,              4   your regular day-to-day job does not normally
  5    did you identify the hippocampus as an area      5   entail testifying for plaintiffs' lawyers in
  6    of the brain that is related to the              6   depositions, right?
  7    underlying development of ASD or ADHD?           7       A. I have been involved in
  8        A. Well, yes. The hippocampus is             8   testifying for plaintiffs' lawyers as part of
  9    a, you know, essential region that's involved    9   the various roles that I've been involved in.
 10    in learning and memory that plays a critical    10   I wouldn't say I do that on a day-to-day
 11    role across neurodevelopmental disorders, and   11   basis, but that is an activity that I have
 12    that can be disrupted by exposure that          12   done as part of my overall activities.
 13    affects neurodevelopment.                       13            MR. MURDICA: I guess we have a
 14        Q. Okay. The study that you have            14       tech issue.
 15    in front of you, Exhibit 50, doesn't say        15            Do I understand that correctly?
 16    anything about ASD or ADHD, correct?            16            MS. JOHNSTON: Let's off the
 17        A. No, I don't see the words "ASD"          17       record for a sec.
 18    or "ADHD" in the abstract.                      18            VIDEOGRAPHER: Yeah, the time
 19        Q. And it's a study of mice,                19       is 9:51 a.m. We are off the record.
 20    correct?                                        20        (Off the record at 9:51 a.m.)
 21        A. That's correct.                          21            VIDEOGRAPHER: The time right
 22        Q. When did you review that,                22       now is 9:56 a.m. We are back on the
 23    Exhibit 50?                                     23       record.
 24        A. Over the weekend.                        24   QUESTIONS BY MR. MURDICA:
 25        Q. Okay. And if Dr. Cabrera is              25       Q. Dr. Hollander, there was a

                                           Page 18                                              Page 20
  1    not relying on that for his opinion, that        1   technical issue.
  2    doesn't change what you're doing with respect    2           Are you ready to proceed?
  3    to it, correct?                                  3       A. Yes, I am.
  4             MR. DOVEL: Objection. Form.             4       Q. Okay. When we stopped for the
  5             THE WITNESS: Whether or not he          5   technical issue, I was asking about your
  6        relies on this specific article for          6   testimony here versus your regular day-to-day
  7        his opinion, what I said before holds        7   job.
  8        true, that it's a piece of evidence          8           Do you remember that question?
  9        that I've reviewed that is supportive        9       A. Yes, I do.
 10        of my opinions.                             10       Q. Okay. And you testified that
 11    QUESTIONS BY MR. MURDICA:                       11   you have in the past testified for
 12        Q. Okay. In your -- so,                     12   plaintiffs' lawyers, correct?
 13    Dr. Hollander, your regular job is counseling   13       A. That is correct.
 14    patients who have primarily OCD and autism,     14       Q. Right.
 15    correct?                                        15           And you offered opinions while
 16             MR. DOVEL: Objection. Form.            16   being paid for plaintiffs' lawyers in the
 17             THE WITNESS: Well, I'm not             17   Mirapex litigation; is that right?
 18        sure what you mean by "regular job,"        18       A. Well, that's correct. I
 19        but, you know, among my different           19   offered opinions in the Mirapex litigation,
 20        roles, one of my activities is, yes,        20   and I was compensated for my time.
 21        I'm involved in clinical care of            21       Q. You offered opinions while
 22        patients with ASD and ADHD and OCD and      22   being paid by plaintiffs' lawyers in the
 23        other neurodevelopmental and                23   Abilify litigation; is that correct?
 24        psychiatric disorders.                      24       A. That's correct. I offered
 25                                                    25   opinions in the Abilify litigation as well

                                                                           5 (Pages 17 to 20)
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  1    and was compensated for my time.                 1   that I've received -- and this would be the
  2        Q. Okay. Have you taken money                2   case whether it was compensation related to,
  3    from the plaintiffs' Bar to offer testimony      3   you know, research grants or consulting
  4    in any other cases between Abilify and this      4   activities or speaking or testimony -- then I
  5    one?                                             5   would disclose the relevant conflict.
  6             MR. DOVEL: Objection. Form.             6       Q. Okay. And, Dr. Hollander, have
  7             THE WITNESS: I don't believe            7   you ever disclosed as a relevant conflict
  8        so.                                          8   money you've taken from the plaintiffs' Bar?
  9    QUESTIONS BY MR. MURDICA:                        9       A. I don't believe that I've
 10        Q. Okay. Do you disclose to your            10   published any material that would be relevant
 11    patients that you've taken money from the       11   to the issues, for example, that I've offered
 12    plaintiffs' Bar?                                12   opinion on and, therefore, I wouldn't be
 13             MR. DOVEL: Objection. Form.            13   bound to disclose because it wouldn't have
 14             THE WITNESS: Well, I don't             14   been a conflict of interest.
 15        believe that I have a discussion with       15       Q. And therefore, Dr. Hollander,
 16        each of my patients if -- if the            16   your testimony is you haven't done it because
 17        interactions that I'm having with my        17   it hasn't been necessary, in your opinion,
 18        patients have any relevance to the          18   correct?
 19        testimony, for example, that I've           19            MR. DOVEL: Objection. Form.
 20        offered. So, no.                            20            THE WITNESS: Well, that --
 21    QUESTIONS BY MR. MURDICA:                       21       that's correct. I don't believe that
 22        Q. Okay. Dr. Hollander, you've              22       I've --
 23    published papers before, right?                 23   QUESTIONS BY MR. MURDICA:
 24        A. Yes, I have.                             24       Q. Okay.
 25        Q. In the disclosure section, do            25       A. -- published anything where it

                                          Page 22                                              Page 24
  1    you include that you've taken hundreds of        1   would require a disclosion {sic} related to
  2    thousands of dollars from the plaintiffs'        2   that because I don't believe that I've
  3    Bar?                                             3   published anything that would be related to
  4             MR. DOVEL: Objection. Form.             4   material that I testified on.
  5             THE WITNESS: In articles that           5       Q. You maintain a website called
  6        I publish, I disclose if there are           6   Spectrum Neurosciences, correct?
  7        relevant conflicts of interest.              7       A. That's one of the websites that
  8    QUESTIONS BY MR. MURDICA:                        8   I maintain, correct.
  9        Q. Okay. So the answer to my                 9       Q. Do you have a disclosure on
 10    question is, to date, you haven't disclosed     10   there about the money that you've taken from
 11    in any article that you've published that       11   the plaintiffs' Bar?
 12    you've taken hundreds of thousands of dollars   12            MR. DOVEL: Objection. Form.
 13    from the plaintiffs' Bar in the United          13            THE WITNESS: I don't believe
 14    States, correct?                                14       that there is anything on that website
 15             MR. DOVEL: Objection. Form.            15       that relates to any material,
 16             THE WITNESS: I don't believe           16       actually, that would relate to
 17        that there has been an occasion where       17       testimony in any products liability
 18        I've published material where that          18       case, no.
 19        would be a relevant conflict of             19   QUESTIONS BY MR. MURDICA:
 20        interest to disclose.                       20       Q. Dr. Hollander, have you ever
 21    QUESTIONS BY MR. MURDICA:                       21   published anything on acetaminophen?
 22        Q. And, therefore, you haven't              22       A. I don't believe that I've
 23    done it to date, correct?                       23   published anything on acetaminophen.
 24        A. Well, if I -- if I were to               24       Q. Dr. Hollander, have you ever
 25    publish and it was relevant to compensation     25   conducted any research regarding

                                                                           6 (Pages 21 to 24)
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  1    acetaminophen prior to your engagement in        1   hyperactivity disorder?
  2    this litigation?                                 2       A. I believe you would.
  3         A. I don't believe that I've been           3       Q. Okay. Is that one of your
  4    involved in prior research with                  4   specialties, Doctor?
  5    acetaminophen.                                   5       A. That is one of my specialties.
  6         Q. Have you conducted any animal            6       Q. Okay. If somebody asked -- if
  7    studies with respect to acetaminophen?           7   your colleagues, would they say
  8         A. No.                                      8   attention-deficit/hyperactivity disorder
  9         Q. Have you ever conducted animal           9   is one of your specialties, Dr. Hollander?
 10    studies at all, Dr. Hollander?                  10           MR. DOVEL: Objection. Form.
 11         A. Yes.                                    11           THE WITNESS: Yes, I have
 12         Q. Okay. And was it you                    12       expertise in all of the
 13    conducting them or supervising them?            13       neurodevelopmental disorders.
 14         A. Both.                                   14   QUESTIONS BY MR. MURDICA:
 15         Q. Okay. And is that something             15       Q. Okay. Dr. Hollander, is it
 16    you still do?                                   16   your opinion today that acetaminophen causes
 17         A. Well, I would say that I work           17   the outcome of autism or ADHD in human beings
 18    closely with animal researchers as it relates   18   when used in utero?
 19    to translational research that I do. So --      19           MR. DOVEL: Objection. Form.
 20    and if that's the case, then I would be         20           THE WITNESS: It is my opinion
 21    working with preclinical investigators to       21       now, today, that acetaminophen
 22    inform the work that I do in terms of           22       exposure in utero or in pregnant women
 23    clinical investigations. That's the point of    23       can cause neurodevelopmental
 24    translational research, to translate findings   24       disorders, including ASD and ADHD, in
 25    from animal models into human studies.          25       offspring, in humans.

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  1        Q. So if you wanted to conduct               1   QUESTIONS BY MR. MURDICA:
  2    animal research on acetaminophen, you could,     2       Q. Okay. And when did
  3    right?                                           3   Dr. Hollander first come to that opinion?
  4        A. I don't -- well, if I -- if I             4       A. I came to that opinion prior to
  5    wanted to conduct animal research with           5   writing my amended causation expert report.
  6    acetaminophen, I wouldn't do that myself, so     6       Q. Okay. And I just want to make
  7    I would probably partner with a preclinical      7   sure we understand each other by the way we
  8    investigator.                                    8   name the reports.
  9        Q. Okay. And to date, you haven't            9             You issued an initial report in
 10    done that, right, Dr. Hollander?                10   this litigation, right?
 11        A. That's correct.                          11       A. Correct.
 12        Q. Okay. And if I asked you the             12       Q. In that initial report, you did
 13    same questions about human research or          13   not say that acetaminophen causes -- exposure
 14    study -- human study, you haven't done that     14   during pregnancy causes autism or ASD in the
 15    with respect to acetaminophen either,           15   offspring, correct?
 16    correct?                                        16       A. In my initial report I offered
 17             MR. DOVEL: Objection. Form.            17   a number of opinions, but in the initial
 18             THE WITNESS: Well, that's              18   report I didn't specifically state that
 19        correct. I haven't conducted clinical       19   acetaminophen causes ASD or ADHD.
 20        investigations regarding acetaminophen      20       Q. And, Doctor, that's because at
 21        either.                                     21   the time you signed your initial report, that
 22    QUESTIONS BY MR. MURDICA:                       22   was not one of the opinions you were
 23        Q. Okay. If we looked at your               23   offering, correct?
 24    profile on Spectrum Neurosciences, would we     24       A. No.
 25    see anything at all about attention-deficit/    25       Q. Okay. So at the time you --

                                                                           7 (Pages 25 to 28)
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  1    sorry. At the time you signed your initial       1   specific discussions with those three
  2    report, you were intending to offer the          2   individuals regarding this matter at hand.
  3    opinion that acetaminophen exposure in           3       Q. Okay. You haven't told them,
  4    pregnancy causes ASD and ADHD in the             4   right?
  5    offspring?                                       5       A. I don't recall whether or not I
  6        A. No. At the time of my initial             6   told them.
  7    report, I held the opinion that acetaminophen    7       Q. Have you told anyone other than
  8    causes ASD and ADHD in offspring.                8   the plaintiffs' lawyers?
  9        Q. Okay. And is it your testimony            9       A. Yes.
 10    that it was in your initial report? That        10       Q. Okay. Who have you -- let's go
 11    that opinion was in there?                      11   through who you've told.
 12        A. No.                                      12       A. Well, in discussions with
 13        Q. Okay.                                    13   patients who have been considering getting
 14        A. I'm saying that I held that              14   pregnant, for example, or who have been
 15    opinion. I'm -- if you like, I can expand on    15   pregnant, if the topic was of relevance, I
 16    that.                                           16   may have had a discussion.
 17        Q. Well, when, Dr. Hollander, did           17       Q. And that was in 2023, right,
 18    you first come to hold that opinion?            18   Dr. Hollander?
 19        A. Prior to my initial report.              19       A. That's correct.
 20        Q. Okay. Was it sometime in 2023?           20       Q. Okay. Outside of patients that
 21        A. Yes.                                     21   you may or may not have told that you believe
 22        Q. Okay. On -- for your Spectrum            22   that acetaminophen causes autism and ADHD,
 23    Neurosciences -- that's a business, right?      23   have you told any medical professionals that
 24        A. That's a subspecialty clinical           24   you believe that?
 25    practice that specializes in                    25       A. Well, I have had discussions

                                            Page 30                                             Page 32
  1    neurodevelopmental disorders.                    1   with other individuals who have expertise in
  2        Q. Okay. And there's three other             2   the matters at hand, and I've questioned them
  3    medical doctors that work with you as part of    3   with regards to their opinion, and I've
  4    Spectrum Neurosciences, right?                   4   discussed my thoughts as well.
  5        A. There are several other medical           5       Q. And some of those people that
  6    doctors as well as experts in neuropsychology    6   you've had discussions with are paid by the
  7    and psychology and people who have expertise     7   plaintiffs' lawyers as well, right?
  8    in other specialties that provide critical       8       A. Yes. Some of those individuals
  9    treatment for these individuals. So people       9   are experts on behalf of the plaintiffs, yes.
 10    who are also ancillary professionals as well.   10       Q. You know that your opinion that
 11        Q. Do you remember my question?             11   you're offering here on causation is not
 12        A. Your question was were there             12   to -- at this point is not widely accepted,
 13    three other doctors who work with me in that    13   correct?
 14    clinical practice?                              14       A. No.
 15        Q. Medical doctors, Dr. Hollander.          15             MR. DOVEL: Objection.
 16    There's three other medical doctors that work   16       Objection. Form.
 17    with you?                                       17   QUESTIONS BY MR. MURDICA:
 18        A. I believe that there's three             18       Q. Okay.
 19    other medical doctors.                          19       A. I don't think I would agree
 20        Q. Okay. And, Dr. Hollander,                20   with that statement.
 21    which of those three other medical doctors      21       Q. Okay. Dr. Hollander, are you
 22    have you told that you hold the opinion that    22   an obstetrician?
 23    in utero acetaminophen exposure causes autism   23       A. No, I am not.
 24    and ADHD?                                       24       Q. Okay. When a woman is pregnant
 25        A. I'm not sure that I had                  25   and is asking for advice on medication during

                                                                           8 (Pages 29 to 32)
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  1    pregnancy, would the first stop be an            1   gynecology, correct?
  2    obstetrician?                                    2       A. I would think so, but I'm not
  3            MR. DOVEL: Objection.                    3   certain about that.
  4    QUESTIONS BY MR. MURDICA:                        4       Q. Okay. Have you seen what the
  5       Q. To ask for advice?                         5   American College of Obstetricians and
  6            MR. DOVEL: Form. Objection.              6   Gynecologists have said about the
  7       Form.                                         7   relationship between acetaminophen and the
  8            THE WITNESS: You know, if a              8   outcomes of autism and ADHD?
  9       woman is pregnant or considering being        9       A. I have had the opportunity to
 10       pregnant, then they might seek               10   review different consensus statements issued
 11       information from different sources.          11   by different bodies that relate to this
 12       So it might be an obstetrician. It           12   matter.
 13       might be someone who deals with              13       Q. Right.
 14       high-risk pregnancies because these          14       A. And I'm aware that there's
 15       issues may be particularly of interest       15   different consensus statements and opinions
 16       in people who specialize in high-risk        16   that have been offered on this matter.
 17       pregnancies. It might be someone who         17       Q. The 60,000 board certified
 18       specializes in maternal-fetal                18   obstetricians and gynecologists in the United
 19       medicine. So -- and also someone who         19   States disagree with your opinions here, and
 20       has expertise who can discuss the            20   you know that, right?
 21       risks and benefits of different kinds        21            MR. DOVEL: Objection. Form.
 22       of medications for both the mother and       22            THE WITNESS: Well, again, I
 23       for the offspring.                           23       would say that there are different
 24    QUESTIONS BY MR. MURDICA:                       24       bodies that have offered different
 25       Q. Okay. Dr. Hollander, are you              25       opinions with regards to this matter.

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  1    an MFM? Are you an expert in maternal-fetal      1   QUESTIONS BY MR. MURDICA:
  2    medicine?                                        2      Q. Does ACOG agree with you,
  3        A. Well, I see many women who have           3   Dr. Hollander?
  4    issues around medication usage during            4           MR. DOVEL: Objection. Form.
  5    pregnancy, and I can offer advice.               5           THE WITNESS: Not at this time.
  6             I also sometimes refer patients         6   QUESTIONS BY MR. MURDICA:
  7    to individuals, for example, within my           7      Q. Okay. And that was my original
  8    practice or outside of the practice who also     8   question, Dr. Hollander.
  9    have expertise in maternal-fetal medicine.       9      A. Yes.
 10             So I would want to seek and get        10      Q. At this time --
 11    consultation from individuals with a range of   11      A. Right.
 12    experience and knowledge and background.        12      Q. -- your opinion that
 13        Q. Dr. Hollander, are you a member          13   acetaminophen causes ASD and ADHD during
 14    of the Society of Maternal-Fetal Medicine?      14   pregnancy is controversial, correct?
 15        A. No.                                      15           MR. DOVEL: Objection. Form.
 16        Q. Okay. Are you a member of the            16           THE WITNESS: Well, I would say
 17    American College of Obstetricians and           17      that there are different opinions, and
 18    Gynecologists?                                  18      I do think that that is consistent
 19        A. No.                                      19      with the history of medicine.
 20        Q. Do you recognize ACOG as the             20           As, you know, additional
 21    body that has expertise in obstetrics and       21      evidence appears and as different
 22    gynecology?                                     22      analyses appear in the literature,
 23        A. Yes.                                     23      that influences recommendations and
 24        Q. Everyone that's a member of              24      treatment practice. And those
 25    ACOG is board certified in obstetrics and       25      recommendations evolve over time, yes.

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  1    QUESTIONS BY MR. MURDICA:                       1       studying this in more detail, and I
  2        Q. Right.                                   2       believe that their opinions are
  3             For example, back in the early         3       changing, yes.
  4    2000s, you were offering opinions regarding     4   QUESTIONS BY MR. MURDICA:
  5    the MMR and thimerosal issues, correct?         5       Q. Okay. As of today --
  6        A. No.                                      6       A. Yes.
  7        Q. Okay. I didn't mean offering             7       Q. -- right? We're sitting here
  8    opinions for plaintiffs' lawyers. I meant       8   in August 2023 --
  9    you were tracking that and talking about it     9       A. That's right.
 10    in your regular work, correct?                 10       Q. -- the American College of
 11        A. No. I was not offering                  11   Obstetricians and Gynecologists disagrees
 12    opinions with regards to that matter.          12   with you as of today, correct?
 13        Q. Okay. You know that initially           13       A. As of today, correct.
 14    vaccines were thought to be related to the     14       Q. Okay. The Society for
 15    outcome of autism, right?                      15   Maternal-Fetal Medicine, as of today,
 16        A. I understand that that's an             16   disagrees with you, correct?
 17    area of controversy. It's not something --     17            MR. DOVEL: Objection. Form.
 18    that's not an opinion that I've held.          18            THE WITNESS: I believe so.
 19        Q. Okay. Well, let's ask you               19   QUESTIONS BY MR. MURDICA:
 20    today, Dr. Hollander.                          20       Q. Okay. FDA, as of today,
 21             Does the MMR vaccine cause            21   disagrees with you, correct?
 22    autism?                                        22            MR. DOVEL: Objection. Form.
 23        A. As of today, no, I don't                23            THE WITNESS: No, I don't agree
 24    believe that the MMR vaccine causes autism.    24       with that. I think that the FDA has
 25        Q. At one point there were                 25       evaluated the epidemiology evidence,

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  1    reputable doctors who were opining that it      1       and they've suggested that in order to
  2    did, right?                                     2       make a determination, that it's
  3             MR. DOVEL: Objection. Form.            3       important to be able to study the
  4             THE WITNESS: Well, I've never          4       animal model literature in order to be
  5        held that opinion. At one point there       5       able to come up with an opinion. And,
  6        were some doctors who held that             6       therefore, they've recommended that
  7        opinion, but I want to make it clear        7       animal studies should be conducted and
  8        that I've never held that opinion.          8       should be funded.
  9    QUESTIONS BY MR. MURDICA:                       9   QUESTIONS BY MR. MURDICA:
 10        Q. And it -- in your view, it              10       Q. Okay. And, Dr. Hollander, you
 11    turned out that those doctors that held the    11   may not remember my question, but I'm asking
 12    opinion that the MMR vaccine causes autism     12   about as of August 2023, the FDA has had
 13    ended up being wrong, right?                   13   numerous opportunities to weigh in on whether
 14             MR. DOVEL: Objection. Form.           14   the labeling of acetaminophen should be
 15             THE WITNESS: I believe that's         15   changed to add a risk of ASD or ADHD,
 16        true, yes.                                 16   correct?
 17    QUESTIONS BY MR. MURDICA:                      17            MR. DOVEL: Objection. Form.
 18        Q. All right. And right now, the           18            THE WITNESS: That's correct,
 19    opinion you're offering here, Dr. Hollander,   19       that the FDA has considered the matter
 20    is not generally accepted yet, right?          20       with regards to labeling changes.
 21             MR. DOVEL: Objection. Form.           21            The FDA has issued labeling
 22             THE WITNESS: No, I disagree.          22       changes as it relates to
 23        So I think that the -- as the evidence     23       acetaminophen.
 24        is accumulating, I think that more and     24            So, for example, with
 25        more individuals and bodies are            25       intravenous acetaminophen and/or if

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  1        acetaminophen is combined with              1   statement, Dr. Hollander?
  2        tramadol, yes, they've changed the          2        A. Maybe I can look at my
  3        labeling as a result of incorporating       3   materials considered, and then I can go take
  4        both the animal data and the human          4   a look and see when that occurred.
  5        data, yes.                                  5       Q. Sure. You can take a couple
  6    QUESTIONS BY MR. MURDICA:                       6   minutes to do that if you're able to find it.
  7        Q. Do you remember my question,             7        A. Okay. Well, so I see that
  8    Dr. Hollander?                                  8   there are three relevant documents here.
  9             MR. DOVEL: Objection. Form.            9   One, the -- well, so I'm looking at the
 10             THE WITNESS: Perhaps you can          10   package insert statements that they've issued
 11        repeat your question if you're not         11   with regards to Ofirmev and also -- which
 12        satisfied with my response.                12   was -- and then another one with regards to
 13    QUESTIONS BY MR. MURDICA:                      13   analgesics and antipyretics.
 14        Q. Sure.                                   14            And then I have their
 15             Dr. Hollander, are you aware          15   regulatory guidelines in 20 -- in January 31,
 16    that many times in the last five to seven      16   2023.
 17    years, FDA has been asked whether              17            And then I also see their
 18    acetaminophen labeling should be updated in    18   background and overview statement in 2009.
 19    the pregnancy section to include a warning     19       Q. Okay. Dr. Hollander, which of
 20    about ADHD?                                    20   those allegedly contains the statement that
 21             Are you aware of that?                21   you just testified to?
 22        A. Yes.                                    22        A. That -- about the need to look
 23             MR. DOVEL: Objection. Form.           23   at the data, including animal models and to
 24    QUESTIONS BY MR. MURDICA:                      24   conduct more animal models?
 25        Q. Are you aware of a statement            25       Q. Sure.

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  1    that FDA made in 2016 that there wasn't         1        A. I'll have to take a look at the
  2    enough evidence to do so?                       2   statements, actually, to determine which one
  3             MR. DOVEL: Objection. Form.            3   it is.
  4    QUESTIONS BY MR. MURDICA:                       4        Q. Okay. But it's your belief
  5        Q. Have you ever seen that?                 5   that FDA made a -- made a public statement to
  6        A. I'm aware. However, I'm also             6   the effect of what you just testified?
  7    aware of the statement that the FDA has made    7        A. Yeah. It's my belief that
  8    that in order to make a definitive              8   they've said that in order to answer the
  9    conclusion, that they would want to look at     9   question, that they need to be able to
 10    all of the available data, and that in order   10   incorporate the animal model data in order to
 11    to answer the question, they would need to     11   make a decision.
 12    review the animal data.                        12        Q. Okay. So, Dr. Hollander, you
 13        Q. Okay. And what --                       13   didn't -- you didn't see anything in your
 14        A. And in addition to that, that           14   review where FDA said that further animal
 15    that work should continue to be done and be    15   study is unlikely to provide better
 16    funded.                                        16   information?
 17        Q. What statement was that,                17        A. I don't agree with that
 18    Dr. Hollander? When was that?                  18   statement, no.
 19        A. That was a response to some of          19        Q. Did you see that? Did you see
 20    their reviews with regard to this matter.      20   that FDA said that?
 21        Q. Okay. Was that a public                 21        A. Perhaps you can show me that
 22    statement?                                     22   statement, and then I can respond to that.
 23        A. It was a statement that they            23        Q. Sure.
 24    issued, yes.                                   24           I'm asking, sitting here today,
 25        Q. Okay. When did they issue that          25   do you remember ever seeing that?

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  1             MR. DOVEL: Objection. Form.             1       but the FDA does incorporate new
  2             THE WITNESS: I don't -- I               2       information and does issue labeling
  3        don't remember reading a statement           3       changes to reflect the state of the
  4        where FDA said that animal data would        4       art with regard to the safety and
  5        not inform a decision with regards to        5       efficacy. Absolutely.
  6        this matter. No, I don't remember            6   QUESTIONS BY MR. MURDICA:
  7        that.                                        7      Q. And, Dr. Hollander, as we sit
  8    QUESTIONS BY MR. MURDICA:                        8   here today in August 2023, FDA has not
  9        Q. Okay. Have you seen FDA's                 9   suggested that acetaminophen labeling should
 10    statements this year that it continues to       10   say that ASD and ADHD are an increased risk
 11    review information regarding acetaminophen      11   when used during pregnancy, correct?
 12    and ADHD and ASD outcomes in pregnancy in       12            MR. DOVEL: Objection. Form.
 13    response to questions of whether the labeling   13            THE WITNESS: Well, the FDA has
 14    should be changed?                              14       actually changed the package insert or
 15        A. Yes. It's my understanding               15       the labeling with regards to
 16    that FDA is continuing to consider the matter   16       acetaminophen as the new information
 17    and that, you know, as additional information   17       has come out. And so as I've
 18    becomes available, both with regards to         18       mentioned, they have incorporated
 19    epidemiology and with regard to the animal      19       labeling changes for the compound.
 20    models, then FDA may offer additional           20            One of the issues here is that
 21    opinions with regards to labeling changes.      21       this is a compound that was developed
 22        Q. All right. And do you have any           22       in the 1890s. It was originally
 23    doubt that FDA is actually reviewing the        23       approved by the FDA early 1950s.
 24    information as it comes out?                    24            In the later 1950s, it went
 25        A. I don't have any doubt that FDA          25       over the counter, so it was no longer

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  1    would be continuing to review the                1      under the same regulatory
  2    information. And the information continues       2      considerations from the FDA once it
  3    to come out, so I know that it's on their        3      became an over-the-counter product.
  4    radar, and I would expect that they would        4      And at the time that it went over the
  5    continue to review information as it becomes     5      counter, the practices were very, very
  6    available.                                       6      different than they are currently now.
  7        Q. Right.                                    7           But I can say that with recent
  8             And you have a high opinion of          8      prescription compounds that include
  9    FDA's ability to review information regarding    9      acetaminophen, yes, the label has
 10    drug safety, right?                             10      changed to reflect a more accurate
 11             MR. DOVEL: Objection. Form.            11      review of the literature with regards
 12             THE WITNESS: Well, so FDA and          12      to safety and efficacy, yes.
 13        pharmacovigilance advisory groups with      13   QUESTIONS BY MR. MURDICA:
 14        regards to FDA are responsible for          14      Q. Are you done, Dr. Hollander?
 15        evaluating information with regards to      15      A. Yes.
 16        safety and efficacy as it continues to      16      Q. Do you think you answered my
 17        come out.                                   17   question?
 18             However -- and in -- this is           18      A. I believe so.
 19        the history of multiple medications         19           MR. MURDICA: Okay. Would you
 20        with regards to labeling. As                20      read back my last question, please, if
 21        additional information comes out, FDA       21      you can find it?
 22        revises the labeling accordingly.           22           (Court Reporter read back
 23             Sometimes there's a lag time           23      question.)
 24        between when the information comes out      24           MR. DOVEL: Did you want to
 25        and when the labeling changes occur,        25      have that question reposed? Or are

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  1        you just having it read back?                1       A. Okay.
  2             MR. MURDICA: No, I'm having it          2       Q. -- answer it, we're going to
  3        reposed.                                     3   take a break to decide to what to do with the
  4             MR. DOVEL: Objection. Form.             4   rest of the deposition. Because I'm not
  5    QUESTIONS BY MR. MURDICA:                        5   going to spend my day having you give
  6        Q. Can you answer that question,             6   nonresponsive answers, because there's better
  7    Dr. Hollander?                                   7   things we can do with our time. So we'll try
  8        A. Yeah. Perhaps you could                   8   it one more time.
  9    restate that question, because I believe that    9            MR. DOVEL: The witness has
 10    there were a few different components that      10       been extremely responsive.
 11    were included within the same question.         11            MR. MURDICA: Yeah, that's just
 12             MR. MURDICA: Okay. Would you           12       not -- that's not true.
 13        ask it again, please?                       13            MR. DOVEL: Please don't
 14             (Court Reporter read back              14       interrupt me.
 15        question.)                                  15            MR. MURDICA: That's not true.
 16             MR. DOVEL: Objection. Form.            16            MR. DOVEL: We'll get through
 17             THE WITNESS: Well, my answer           17       today better if you don't interrupt
 18        would be the same, actually. So that        18       me.
 19        the product labeling more recently for      19            MR. MURDICA: Okay.
 20        prescription forms of acetaminophen         20            MR. DOVEL: Our court reporter
 21        have reflected a change in the -- in        21       is excellent, but she can only write
 22        the risk versus the benefit or the          22       down one person at a time.
 23        safety. Specifically now, they're           23            MR. MURDICA: I agree.
 24        included as a Category C.                   24            MR. DOVEL: So let me go ahead
 25                                                    25       and finish my statement.

                                           Page 50                                             Page 52
  1    QUESTIONS BY MR. MURDICA:                        1        MR. MURDICA: Sure.
  2        Q. Dr. Hollander, are you unable             2        MR. DOVEL: The witness has
  3    to answer the question?                          3   been answering directly. I've been
  4        A. The --                                    4   posing objections.
  5             MR. DOVEL: Objection. Form.             5        I can see the problem with your
  6             THE WITNESS: The last question          6   question. You just can't see the
  7        that I just heard, I was answering           7   problem with your question. His
  8        that question, so --                         8   answers are very accurate.
  9    QUESTIONS BY MR. MURDICA:                        9        MR. MURDICA: Wonderful. Thank
 10        Q. Does the acetaminophen labeling          10   you. Perhaps on the break you can
 11    today contain anything about autism or ADHD?    11   give me some free advice. But thank
 12             MR. DOVEL: Objection. Form.            12   you.
 13             THE WITNESS: Well, no, the             13        MR. DOVEL: I don't give free
 14        answer is the labeling today does not       14   advice. I'm going to charge you for
 15        include anything --                         15   it.
 16    QUESTIONS BY MR. MURDICA:                       16        MR. MURDICA: All right. It
 17        Q. Okay.                                    17   ain't worth it.
 18        A. -- with regards to ASD and               18        All right. If you could ask
 19    ADHD.                                           19   the question that the doctor has been
 20             However, I believe that the            20   unable to answer one more time, I'd
 21    question that the court reporter just read to   21   appreciate it.
 22    me didn't say -- state that, actually.          22        (Court Reporter read back
 23        Q. Okay. We're going to go back             23   question.)
 24    and ask it again, Dr. Hollander, and if you     24        MR. DOVEL: Objection. Form.
 25    can't --                                        25        THE WITNESS: Correct.

                                                                         13 (Pages 49 to 52)
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  1    QUESTIONS BY MR. MURDICA:                        1   that have said that -- that have come out
  2        Q. Okay. Dr. Hollander, are you              2   that we agreed earlier do not agree with the
  3    aware of any medical organizations that as of    3   opinion, correct?
  4    today, in August 2023, agree with your           4            MR. DOVEL: Objection. Form.
  5    causation opinion here?                          5            THE WITNESS: Well, I do agree
  6        A. Yes.                                      6       that this is a controversial area. I
  7        Q. Okay. And what medical                    7       do agree that different organizations
  8    organization is that?                            8       have offered different opinions. And
  9        A. Well, the pharmacovigilance               9       I do agree that opinions do change
 10    committee that advises the European             10       over time as more evidence
 11    medical -- EMA has offered that opinion. So     11       accumulates.
 12    that is a medical and regulatory advisory       12   QUESTIONS BY MR. MURDICA:
 13    group.                                          13       Q. Okay. Dr. Hollander, what
 14        Q. Okay. Let's take this one step           14   United States medical organizations have
 15    at a time then.                                 15   offered the opinion that acetaminophen causes
 16             In the United States, is there         16   autism and ADHD in offspring?
 17    any medical organization, to your knowledge,    17       A. I'm not sure that I could
 18    that agrees with the causation opinion you're   18   recall a specific medical organization in the
 19    offering here that acetaminophen causes         19   United States.
 20    autism and ADHD?                                20            I do know, for example, that
 21              MR. DOVEL: Objection. Form.           21   textbooks such as the Briggs textbook, which
 22              THE WITNESS: Well, yes.               22   talks about fetal -- which is the expert
 23    QUESTIONS BY MR. MURDICA:                       23   reference with regards to fetal medicine and
 24        Q. Okay. Which medical                      24   exposure, have modified the guidelines and
 25    organization in the United States?              25   offered opinions with regards to this matter

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  1        A. The Bauer consensus statement             1   at hand.
  2    that was published represented a large number    2       Q. Okay. Is Briggs a medical
  3    of medical experts across different              3   organization?
  4    scientific disciplines that explicitly           4       A. No.
  5    reviewed the literature in 29 different          5       Q. Okay.
  6    studies and then, based on that, offered         6       A. Briggs is a well-regarded,
  7    specific opinions with regards to safety and     7   validated textbook that informs individuals
  8    efficacy and also with regards to, you know,     8   that work with pregnant mothers and doctors
  9    regulatory guidelines and package insert.        9   who specialize in that, you know, what are
 10        Q. Okay. Dr. Hollander, is the --           10   appropriate practices with regards to
 11    are the 91 people who signed the consensus      11   different medicines.
 12    statement, are they their own medical           12       Q. Okay. And, Dr. Hollander, back
 13    society?                                        13   to my question --
 14             MR. DOVEL: Objection. Form.            14       A. Yes.
 15             THE WITNESS: I'm not sure              15       Q. -- which is, United States
 16        whether they're incorporated as a           16   medical organizations or societies that share
 17        medical society. They do represent          17   your opinion that acetaminophen causes autism
 18        individuals from a broad range of           18   and ADHD.
 19        different medical societies who have        19            The answer is, you can't think
 20        scientific expertise and are able to        20   of one, correct?
 21        review the literature and offer             21       A. I can't recall one at this
 22        opinions.                                   22   time.
 23    QUESTIONS BY MR. MURDICA:                       23       Q. Okay.
 24        Q. For example, two of the 91 are           24       A. I can look into that and get
 25    members of ACOG and disagree with the 60,000    25   back to you.

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  1        Q. Okay. We'll leave a -- we'll              1   response to a question a moment ago you
  2    leave a blank in the transcript. There are       2   mentioned a textbook.
  3    none, but we're going to leave a blank in the    3           Do you remember that?
  4    transcript --                                    4       A. Yes.
  5        A. Okay.                                     5       Q. Okay. And Dr. Hollander has a
  6        Q. -- so you can go back and                 6   textbook as well, right?
  7    determine that there are none, and then you      7       A. That's correct.
  8    can fill it in.                                  8       Q. Okay.
  9             Okay?                                   9       A. Well, no, that's not correct
 10              MR. DOVEL: No, he's not going         10   because I have more than one textbook.
 11        to be filling in any blanks.                11       Q. Okay. That's a fair point.
 12              MR. MURDICA: Well, he asked           12           How many textbooks do you have
 13        for it, Counsel.                            13   that are currently in publication, Doctor?
 14              MR. DOVEL: No, he didn't ask          14       A. Well, I have two popular
 15        for a blank.                                15   textbooks that have had multiple editions.
 16              MR. MURDICA: He said he would         16       Q. Okay. And those textbooks
 17        get back to us. We'll put a blank in        17   contain chapters on, for example, causes of
 18        the transcript that will remain blank       18   autism, right?
 19        because there are none.                     19       A. Yes.
 20    QUESTIONS BY MR. MURDICA:                       20       Q. Okay. And if we looked, would
 21        Q. All right. Next question. You            21   any of your textbooks, any of your chapters,
 22    mentioned --                                    22   any of the pages in your textbooks today, say
 23        A. Well, maybe just to complete my          23   that acetaminophen causes ADHD?
 24    thought then.                                   24       A. Well, yes, I believe that the
 25              So I haven't -- I haven't             25   matter was considered in the textbook of

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  1    really considered the matter, and I haven't      1   autism spectrum disorders, and there's about
  2    searched all of the different medical            2   a paragraph that discusses the matter and in
  3    organizations in the United States and           3   particular highlights one of the
  4    haven't determined whether they've offered an    4   meta-analysis, the Masarwa meta-analysis,
  5    opinion on this matter. So I can't really        5   that did suggest an increased odds ratio
  6    say one way or another because I haven't         6   between exposure, acetaminophen, and outcome,
  7    really considered that question.                 7   ASD, in that context.
  8        Q. Okay. Dr. Hollander, sitting              8       Q. I want you to listen carefully
  9    here today, you're not aware of any United       9   to my question.
 10    States medical organization or society that     10            If we looked at your textbooks,
 11    agrees with you that acetaminophen causes       11   Dr. Hollander, any of the chapters, any of
 12    autism and ADHD in offspring?                   12   the pages, would any of them say that
 13        A. Well, again, I would repeat              13   acetaminophen causes ADHD?
 14    that I haven't considered the matter, and I     14       A. Well, one of the textbooks is
 15    haven't searched each of the recommendations    15   on a different area, so it wouldn't be talked
 16    for each of the different medical               16   about in that text.
 17    organizations in the United States.             17             But one of the textbooks does
 18        Q. Fair.                                    18   relate to autism. If we review the paragraph
 19             But you can't -- I'm sorry, I          19   in that textbook that reviews the literature
 20    didn't mean to cut you off. Go ahead.           20   as of -- so one issue there is that the
 21        A. And so I -- to my knowledge at           21   textbook came out in 2022. Probably was
 22    this time, I can't recall one, although I       22   originally written around 2019.
 23    haven't considered that matter. And so it's     23             In that particular review,
 24    hard for me to really respond.                  24   there is one meta-analysis that is cited that
 25        Q. Okay. Dr. Hollander, in                  25   raises the issue but doesn't come up with a

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  1    definitive conclusion. It suggests that          1   2022. So sometimes textbooks may not have
  2    future work needs to be done and that one        2   the most recent information. And as a -- as
  3    might consider the issue of confounders as       3   an overview, they may not have studied all of
  4    well.                                            4   the information at hand or included all of
  5             Nevertheless, they do talk              5   the available studies or all of the available
  6    about this issue. They do cite one of the        6   meta-analyses at that time.
  7    meta-analyses. The meta-analysis does            7            But nevertheless, it is
  8    suggest the increased risk between exposure      8   significant that in that textbook, yes, they
  9    and outcome, but that -- in that particular      9   did discuss the issue with regards to
 10    paragraph, there's no definitive opinion with   10   exposure and outcome, and they did cite an
 11    regards to causation, and they suggest that     11   important meta-analytic study that reviews
 12    the matter needs to continue to be studied.     12   the material, but that they make some general
 13        Q. Okay. Dr. Hollander, I take it           13   statements, well, clearly, you need to
 14    if you're citing to some particular             14   consider confounders when you're looking at
 15    paragraph, you looked at this recently; is      15   exposure and outcome and more work should be
 16    that right?                                     16   done.
 17        A. Yes, I have.                             17       Q. And, Dr. Hollander, that
 18        Q. In the past 24 hours?                    18   meta-analysis you're talking about is the
 19        A. No.                                      19   2008 {sic} publication Masarwa; is that
 20        Q. Okay. Dr. Hollander, does the            20   correct?
 21    textbook -- so I asked a question about ADHD.   21       A. No, I believe that's 2019.
 22    You're talking about autism. So I'll ask a      22       Q. 2019. Okay.
 23    question about autism.                          23            Dr. Hollander, my question was,
 24             Does your textbook say that            24   when we open your 2022 textbook, whenever it
 25    acetaminophen causes autism?                    25   was created --

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  1        A. Okay. Then -- so -- and I'm               1        A. Yes.
  2    sorry, I thought you had been asking about       2        Q. -- whenever you signed off on
  3    autism, not ADHD.                                3   what was in it, it does not say the words,
  4             I don't believe there are               4   "acetaminophen causes autism in exposed
  5    statements with regards to -- or that there's    5   babies," correct?
  6    any review, actually, with regards to            6        A. I'm not sure it says those
  7    acetaminophen and ADHD mentioned in the          7   particular words.
  8    textbook. So the textbooks deal with             8             What I can say is, again, you
  9    different issues.                                9   know, there's about a -- one paragraph. It's
 10             With regard to autism, yes.            10   a selective review with one meta-analysis.
 11        Q. It says acet -- okay. I just             11   So it's not a comprehensive, deep dive in
 12    want to be clear.                               12   terms of the available literature or even the
 13             Dr. Hollander's textbook               13   available meta-analyses that were -- knew at
 14    says -- published in 2022, right?               14   that time.
 15        A. Well, so it was published in             15             One thing that I would also say
 16    2022, the material in it.                       16   is that -- so I was overall editor for the
 17             So one issue with textbooks is         17   textbook, but I also had two coeditors. The
 18    that sometimes -- textbooks are a general       18   particular -- so what we did is we divided up
 19    overview of a particular area. It takes a       19   the textbook into different groupings. One
 20    long, long time for those textbooks to be       20   of the other editors was the responsible
 21    prepared and integrated. Then you need to       21   editor for that particular chapter, so I
 22    have paper shipped from Canada into the         22   didn't serve as the primary editor on that
 23    United States. There can be long delays in      23   chapter.
 24    terms of when the material is prepared, let's   24             I did serve as the overall
 25    say, 2019, and when the textbook comes out,     25   editor for the textbook.

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  1        Q. Dr. Hollander, did you review             1   there is literature and there are
  2    the content of the textbook before you put       2   meta-analyses that suggest that that is a
  3    your name on it?                                 3   possibility and that additional -- additional
  4        A. Yes, I -- well, I not only                4   literature should be reviewed and additional
  5    reviewed all of the material, but that I also    5   work should be done to come up with a
  6    assigned specific chapters to different          6   specific causation opinion.
  7    editors for them to do specific review as        7        Q. And, Dr. Hollander, that
  8    well for certain areas.                          8   Masarwa meta-analysis is one of the studies
  9        Q. Right.                                    9   that you say is most important to your
 10             And if you had any question,           10   opinion that acetaminophen causes autism and
 11    concern or disagreement with anything in the    11   ADHD in offspring, correct?
 12    textbook with your name on it, you could have   12             MR. DOVEL: Objection. Form.
 13    called, written, asked questions about it to    13             THE WITNESS: Well, that
 14    make sure that it reflected your thoughts,      14        particular meta-analysis is an
 15    what you thought was appropriate, correct?      15        important study. It is one of several
 16        A. Well, I would say that at that           16        meta-analyses. And all of those
 17    time I hadn't reviewed the literature, I        17        meta-analyses show a positive
 18    hadn't weighted the evidence, and I hadn't      18        association between the exposure and
 19    formed an opinion with regards to this          19        the outcome.
 20    matter.                                         20   QUESTIONS BY MR. MURDICA:
 21        Q. Okay. So in 2019 -- well,                21        Q. Do you have, Dr. Hollander, any
 22    you're saying this was -- the 2022 textbook,    22   textbook revisions underway right now?
 23    your testimony is that that's content as of     23        A. No. Usually that happens when
 24    2019, right?                                    24   the publishers, you know, contact the editors
 25        A. Yeah. Most of the chapters               25   and they say, well, this has been out for a

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  1    were being submitted around 2019, and then it    1   while. We've sold a certain number of books.
  2    eventually got published at around 2022.         2   We think it would be a good -- appropriate
  3         Q. So in 2019, the 2019 content,            3   time to publish a new edition.
  4    when we look at what Dr. Hollander said,         4           So, for example, I have a
  5    we're not going to find Dr. Hollander            5   textbook on anxiety, obsessive compulsive and
  6    saying -- or his chapter saying that             6   posttraumatic stress disorders where we've
  7    acetaminophen causes ADHD or autism, correct?    7   been through this process, and three
  8         A. Well, again, what I would say            8   different times they've contacted me and
  9    is that in the chapter, this issue is raised     9   asked for an additional edition.
 10    that a particular meta-analysis, the Masarwa    10           And that did happen in the
 11    meta-analysis, which is a -- is a pooling of    11   autism textbook as well, but I have no idea
 12    data from multiple different studies to look    12   when that might happen again with regard -- I
 13    at things like odds ratio in a large sample     13   mean, the autism textbook is still relatively
 14    size, raised the issue.                         14   new because it was only published in 2022.
 15              The authors who did a -- I            15       Q. Okay. So as of today, you're
 16    would say a selective review, not a             16   not working on a new edition of the 2022
 17    comprehensive review, said that what -- when    17   Hollander textbook?
 18    you're discussing issues about exposure and     18       A. No.
 19    outcome, of course you need to consider         19       Q. Okay. Have you attempted to
 20    confounders as well, and additional work        20   publish this opinion that you now hold, that
 21    needs to be done.                               21   acetaminophen causes autism and ADHD,
 22              So there was not a statement,         22   anywhere?
 23    that's correct, in the chapter at that time     23       A. No.
 24    that said APAP, or acetaminophen, causes ASD.   24       Q. Are you going to?
 25              There is a statement that says        25       A. I don't have any immediate

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  1    plans to do that. It's possible that at some     1   you know, I perform a Bradford Hill analysis,
  2    future time I might be asked to contribute to    2   so it -- which is a methodology to be able to
  3    a consensus statement, but I have no thoughts    3   incorporate the information from the various
  4    or plans to do that at this point.               4   studies that I've reviewed, yes.
  5        Q. Okay. And back to your                    5       Q. And you just decided,
  6    compensation here.                               6   Dr. Hollander, that you should do a Bradford
  7             You're being paid an hourly             7   Hill analysis in rebuttal; is that right?
  8    rate, right?                                     8             MR. DOVEL: The way that's
  9        A. That's correct.                           9       phrased, that appears to call for
 10        Q. Okay. And what's the hourly              10       privileged information. I'm going to
 11    rate?                                           11       ask you to rephrase that, if you
 12        A. My hourly rate is the same as            12       could, so you're not requesting any
 13    my hourly rate in my clinical practice, which   13       privileged information.
 14    is $1,100 an hour.                              14   QUESTIONS BY MR. MURDICA:
 15        Q. Okay. And to date, you've been           15       Q. Dr. Hollander, you didn't do a
 16    paid -- or you've charged approximately         16   Bradford Hill analysis in your initial
 17    somewhere in the low six figures for your       17   report; is that correct?
 18    work here; is that right?                       18       A. That's correct.
 19        A. I don't believe so. I believe            19       Q. And you did in your rebuttal
 20    that I've been paid about $76,000 to date.      20   report for the first time, correct?
 21        Q. Okay. And that includes                  21       A. That's correct.
 22    everything through now?                         22       Q. The information that you used
 23        A. Well, no. I've spent hours               23   for the Bradford Hill analysis in your
 24    working on this case in between when my         24   rebuttal report was available six weeks
 25    reports were issued and the -- and this         25   earlier when you issued your initial report,

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  1    deposition. So I've put additional time in.      1   correct?
  2        Q. Right.                                    2       A. That's correct.
  3             So at $1,100 an hour, you're            3       Q. You just chose not to do it the
  4    going to be over $100,000 by the end of the      4   first time, right?
  5    day for sure, right?                             5       A. No. So I had reviewed all of
  6        A. I would expect so. I expect               6   the relevant information. I had had
  7    that I'd be compensated for the hours that       7   conversations with other experts to provide
  8    I've put in with regard to the effort, and       8   additional information. I utilized all of my
  9    that -- and my -- I would be compensated at      9   scientific and medical background and
 10    the same rate that I'm compensated for other    10   knowledge as well and was able to form an
 11    activities.                                     11   opinion prior to my rebuttal report.
 12        Q. Okay. Earlier I asked you                12            In my initial amended expert
 13    about when you expressed in writing that you    13   report, I didn't have adequate time to
 14    had an opinion that acetaminophen caused ASD    14   perform a weight-of-the-evidence analysis for
 15    and autism.                                     15   each of the individual articles that I had
 16             Do you recall those questions?         16   reviewed. And because I didn't have time to
 17        A. Yes, I do.                               17   perform that weight-of-the-evidence analysis
 18        Q. Okay. And the first time you             18   for each of the individual studies, I left it
 19    put it in writing was in your rebuttal          19   out.
 20    report; is that right?                          20       Q. Okay. And in your prior expert
 21        A. That's correct.                          21   work, in Abilify, for example, you also
 22        Q. Okay. And in your rebuttal               22   rendered causation opinions, right?
 23    report, you purport to do a causation           23       A. That's correct.
 24    analysis based on human literature, right?      24       Q. Okay. And your definition of
 25        A. Yes. In my rebuttal report,              25   causation at that point in time was that you

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  1    gather -- you need to have information from a    1   specifically studied in detail thimerosal and
  2    broad range of sources that's all consistent,    2   ASD and ADHD, but I'm not aware that
  3    correct?                                         3   that's -- well, I haven't -- I haven't
  4         A. Well --                                  4   studied that issue.
  5              MR. DOVEL: Objection. Form.            5       Q. Okay. So sitting here today,
  6              THE WITNESS: -- consistency is         6   Dr. Hollander would not say that thimerosal
  7         one important characteristic to be          7   causes ASD or ADHD; is that fair?
  8         able to weight the evidence. It's one       8       A. I would say it's fair at this
  9         of the factors in a Bradford Hill           9   time that I don't have an opinion of it, and
 10         analysis.                                  10   I don't -- I don't have a belief at this
 11    QUESTIONS BY MR. MURDICA:                       11   point that thimerosal causes it, but I
 12         Q. And Dr. Hollander believes,             12   haven't studied it.
 13    sitting here right now, that the information    13       Q. Okay. Sitting here today, does
 14    on acetaminophen exposure during pregnancy      14   Dr. Hollander believe that SSRIs cause ADHD?
 15    and the outcomes of ASD and ADHD are            15       A. No.
 16    consistent, correct?                            16       Q. Okay. Sitting here today, does
 17         A. That's right. In applying the           17   Dr. Hollander believe that SSRIs cause
 18    Bradford Hill factors and reviewing the issue   18   autism?
 19    of consistency, yes, the available evidence     19       A. No.
 20    supports consistency.                           20       Q. Okay. Sitting here today, do
 21              MR. WATTS: Hey, Jim, we've            21   you believe that maternal diabetes during
 22         been going about an hour. Whenever         22   pregnancy can cause ADHD?
 23         you get to a --                            23       A. Well, yes, I do believe that
 24              MR. MURDICA: Sure, we can take        24   maternal diabetes can be a risk factor for
 25         a break.                                   25   ADHD.

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  1            VIDEOGRAPHER: The time right             1       Q. Okay. And if Dr. Hollander is
  2        now is 10:51 a.m. We are off the             2   testifying that maternal diabetes can be a
  3        record.                                      3   risk factor for ADHD, what you really mean is
  4         (Off the record at 10:51 a.m.)              4   that has a causal role in development of some
  5            VIDEOGRAPHER: The time right             5   ADHD.
  6        now is 11:05 a.m. We are back on the         6            Fair?
  7        record.                                      7        A. I think it's fair that there's
  8    QUESTIONS BY MR. MURDICA:                        8   elevated risk of the outcome associated with
  9        Q. Dr. Hollander, are you ready to           9   the exposure.
 10    proceed?                                        10       Q. Okay. And by the way, in
 11        A. Yes, I am.                               11   your -- in your work with patients, are you
 12        Q. Okay. Dr. Hollander, I take it           12   mostly treating them or are you also trying
 13    from your testimony in our last session that    13   to determine the cause of their presentation?
 14    you don't believe that the MMR vaccine causes   14        A. Well, I would say in a routine
 15    ADHD; is that fair?                             15   clinical practice that, you know, one
 16        A. That's correct.                          16   important role is to help manage the
 17        Q. Okay. You don't believe that             17   condition and the symptoms that decrease the
 18    the MMR vaccine causes autism; is that fair?    18   distress and the, you know, functional
 19        A. That's correct.                          19   impairment. So treatment is an important
 20        Q. Okay. And if I asked you the             20   component, but not the only component.
 21    same questions with regard to thimerosal,       21       Q. Okay. And, Dr. Hollander, part
 22    does Dr. Hollander believe that thimerosal      22   of my question is do you seek to identify --
 23    causes autism or ADHD?                          23   let's say you have a patient that you've
 24        A. Well, thimerosal causes a range          24   diagnosed with ADHD.
 25    of developmental problems. I haven't            25            Do you, Dr. Hollander, seek to

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  1    identify for the patient the cause of their      1        A. That would be correct.
  2    ADHD?                                            2       Q. Okay. And so my question was,
  3        A. Well, I do seek to identify               3   the only things you would consider as a
  4    contributing factors that could either           4   possible cause are factors that are actually
  5    increase the, you know, the distress or          5   capable of being causal, correct?
  6    impair the functioning. Yes, I do try to         6        A. Well, I would be interested in
  7    determine that and then intervene.               7   causal factors. I'd also be interested in
  8        Q. For example, Dr. Hollander, do            8   mediators and moderators.
  9    you send your patients that you've diagnosed     9       Q. Okay. So you'd put mediators
 10    for genetic testing?                            10   and moderators on your differential
 11        A. I may, yes.                              11   diagnosis?
 12        Q. Okay. Do you do differential             12        A. Yes.
 13    diagnoses on the causes of their                13       Q. Okay. And to your knowledge,
 14    presentation?                                   14   is that a standard way to do differential
 15        A. Yes.                                     15   diagnosis?
 16        Q. Okay. And so you know how to             16        A. Well, if you're going to do a
 17    do a differential diagnosis, right?             17   comprehensive differential diagnosis, you'd
 18        A. Yeah, that's part of my routine          18   want to consider those factors.
 19    clinical practice, of course.                   19       Q. Okay. Including -- so you
 20        Q. Anything that you consider as a          20   would put mediators and moderators as
 21    possible -- as -- in the etiology of the        21   potential causes in a differential diagnosis?
 22    presentation of the patient has to be           22        A. No, I wouldn't -- no. So
 23    something that you rule in as even capable of   23   mediators and moderators are not causes.
 24    causing the condition, correct?                 24   They are factors that can be related to both
 25        A. Well, there's part of                    25   the exposure and the outcome and can

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  1    differential diagnoses, yeah. You want to        1   influence the effect. Or can mediate or
  2    consider other conditions or factors that can    2   moderate the effect.
  3    contribute to the presentation of the            3       Q. Is there a -- well, this
  4    illness, and you want to, you know, try to       4   question is about ADHD.
  5    determine whether or not those conditions are    5       A. Okay.
  6    playing a role or not.                           6       Q. For ADHD, according to
  7        Q. Okay. So first, you rule in               7   Dr. Hollander, is there a presentation of
  8    all of the things that could be a potential      8   ADHD that's pathognomonic for the cause?
  9    cause of what you're seeing, right?              9       A. Well, there are -- well, there
 10        A. Well, you consider, yeah,                10   are multiple factors that need to be
 11    different potential causes or conditions.       11   considered but that there's no single cause
 12        Q. And you don't consider causes            12   for all individuals with ADHD. It's
 13    that aren't potential causes, right?            13   multifactorial.
 14        A. I'm not sure I follow that.              14       Q. Right.
 15        Q. Let me ask a better question.            15             And my question was a little
 16             You just testified that the MMR        16   different. I was asking whether there's
 17    vaccine can't cause autism, right?              17   something that's pathognomonic. So let me
 18        A. Right. I said that the MMR               18   try asking a better question.
 19    vaccine does not cause autism.                  19             If you see an individual that
 20        Q. Right.                                   20   you've diagnosed with ADHD, can Dr. Hollander
 21             So you're not going to ask a           21   say, oh, I can tell by this presentation that
 22    patient who has autism whether or not they      22   it was caused by this one thing?
 23    received the MMR vaccine because it's not       23             Do you understand my question?
 24    something that you consider in your             24       A. I guess you're saying is there
 25    differential, correct?                          25   a single factor that can be -- fully account

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  1    for ADHD in a particular individual?             1   let's go get a genetic test.
  2        Q. What I'm saying is, is there              2            Right?
  3    any particular presentation of an individual     3       A. Well, I think it would be the
  4    that Dr. Hollander says, oh, I know because      4   other way around. So the person may present
  5    of exactly how this looks that the cause had     5   with the phenotype, then they might get
  6    to be Y?                                         6   genetic testing, and then that genetic
  7        A. Right. So you're saying is                7   testing would confirm the diagnosis.
  8    there like a phenotype --                        8       Q. Okay. And in that specific
  9        Q. Right.                                    9   example you just talked about, that would be
 10        A. -- that's associated with a              10   a purely genetic cause, correct?
 11    specific cause?                                 11       A. Well, I would say yes and no.
 12        Q. Yes.                                     12   And so even in these syndromal forms of ASD
 13        A. Well, I think for ADHD and, you          13   like Fragile X or Prader-Willi Syndrome,
 14    know, idiopathic causes of ADHD, there are      14   there's still a lot of heterogeneity in terms
 15    multiple different factors and cofactors that   15   of the presentation of the phenotype. So it
 16    contribute to the symptoms and the syndrome.    16   does differ.
 17    So that for most individuals, no, there's not   17            And that there -- there can be
 18    a specific phenotype that's associated with a   18   factors that modify the presentation of the
 19    specific cause.                                 19   illness. So even in these syndromal forms of
 20             However, there can be different        20   ASD, that there can be other factors that
 21    factors that contribute to the causation, and   21   shape the expression of the phenotype.
 22    those factors may differ from individual to     22       Q. Dr. Hollander, do you agree
 23    individual.                                     23   that for -- start with autism -- for autism,
 24        Q. Dr. Hollander, if I asked you            24   the more severe the presentation of the
 25    that question about autism, would you give me   25   autistic symptoms, the more likely that the

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  1    the same answer?                                 1   condition is caused by genetics?
  2             MR. DOVEL: Objection. Form.             2       A. You know, it's a very
  3             THE WITNESS: I might give you           3   interesting question, and I think that the
  4        a different answer in that, you know,        4   evidence actually points in two different
  5        with regards to autism, there are            5   directions with regards to that. So that
  6        known sort of syndromal causes of            6   there is some evidence that the more
  7        autism. So those are conditions where        7   restrictive you make the phenotype, the
  8        there may be a single genetic factor         8   stronger the genetic variation or
  9        that's associated with a particular          9   contribution.
 10        phenotype. And then when you look at        10            However, the opposite is also
 11        the phenotype, you can also diagnose        11   true because, you know, there are traits
 12        them as having ASD because they'd have      12   actually that run within families, like the
 13        the criteria.                               13   broader autism phenotype, that seem to be
 14             So in those cases of syndromal         14   familial and/or genetic that are actually
 15        forms of autism like Fragile X              15   broader rather than more restrictive aspects
 16        syndrome or Prader-Willi Syndrome, for      16   of the phenotype.
 17        example, there may be a single cause        17            So it's very interesting
 18        associated with the ASD in those            18   because it could work in both different
 19        particular individuals.                     19   directions.
 20    QUESTIONS BY MR. MURDICA:                       20       Q. Okay. And I take it,
 21        Q. Right.                                   21   Dr. Hollander, you don't know how Dr. Cabrera
 22             So Dr. Hollander could look at         22   answered that question when I asked him?
 23    a patient with -- a particular autism patient   23       A. That's correct, I don't know
 24    and say, oh, those are the factors that show    24   how he answered that question.
 25    me that Fragile X is probably the cause,        25       Q. Did you review his report and

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  1    his rebuttal report?                             1   maternal obesity cause ADHD in the offspring?
  2         A. Yes, I did.                              2       A. Yeah. Maternal obesity, again,
  3         Q. Okay. Did you see that                   3   can be another factor that increases relative
  4    Dr. Cabrera holds the opinion that the more      4   risk for, you know, ADHD as well as ASD and
  5    severe the autistic symptoms, the more likely    5   neurodevelopmental disorders.
  6    it is to be caused by genetics?                  6       Q. Okay. Can air pollution,
  7              MR. DOVEL: Objection. Form.            7   according to Dr. Hollander, air pollution
  8              THE WITNESS: I believe that he         8   exposure in the mother during pregnancy cause
  9         was responding to a point that had          9   ADHD and autism?
 10         been made by Wendy Chung with regards      10       A. There -- I mean, there are
 11         to that. And I do think that in his        11   studies that suggest that exposure to air
 12         rebuttal report he acknowledged that       12   pollution increases the relative risk for
 13         the tighter and tighter the                13   neurodevelopmental disorders.
 14         restriction in the phenotype, that         14       Q. Okay. So would Dr. Hollander
 15         there could be more and more sort of       15   consider that as a potential cause of an
 16         genetic heritability.                      16   outcome of autism and ADHD in a child?
 17              Whereas if you broaden the            17       A. I haven't, you know, studied
 18         phenotype somewhat, then do you have       18   that in detail, and I haven't, you know,
 19         more and more and more environmental       19   applied either weight of the evidence or
 20         heritability contributing factors.         20   haven't looked at the material and then tried
 21    QUESTIONS BY MR. MURDICA:                       21   to use standardized methodology like Bradford
 22         Q. And do you disagree with him on         22   Hill in order to understand causation.
 23    that point?                                     23            So I -- I'm not -- I can tell
 24         A. Well, I do disagree with him            24   you that there is some evidence for an
 25    with regards to this one idea, which is that    25   association between, you know, pollution or

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  1    with regards to the -- so I think it actually    1   air pollution and neurodevelopmental
  2    can work both ways.                              2   disorders. There's increased relative risk.
  3             So on the one hand, the more --         3   But I haven't applied, you know, like a
  4    the more restrictive you make the phenotype,     4   standardized methodology in order to develop
  5    there can be more genetic heritability. But      5   an opinion with regards to causation.
  6    I also think that you get that genetic           6       Q. Okay. So sitting here today,
  7    heritability even in the broader phenotype,      7   Dr. Hollander wouldn't be able to tell us
  8    which seems counterintuitive but is also         8   whether air pollution exposure to the mother
  9    true.                                            9   can cause ADHD in the child.
 10        Q. Dr. Hollander, I'm going to ask          10            Fair?
 11    you some more questions about what can and      11       A. I think it -- yeah, given that
 12    cannot cause ADHD.                              12   I haven't really applied a kind of a
 13             Okay?                                  13   standardized methodology in order to
 14         A. (Witness nods head.)                    14   interpret the literature. All I can say is
 15        Q. According to Dr. Hollander, can          15   that there's an association, but I'm not sure
 16    a maternal fever -- untreated maternal fever    16   that I could make a definitive statement
 17    during pregnancy result in a child with ADHD    17   about causation.
 18    as a cause?                                     18       Q. And not to be tedious, but the
 19         A. Well, yes. I mean, untreated            19   same question. Can air pollution exposure to
 20    maternal fever, particularly the higher the     20   the mother during pregnancy result in ASD in
 21    fever and the longer the period of time, can    21   the child, according to Dr. Hollander today?
 22    increase the risk for having                    22       A. I think I would have the same
 23    neurodevelopmental outcomes, including ADHD     23   answer.
 24    or ASD or neurodevelopmental disorders.         24       Q. Okay. Dr. Hollander, can
 25        Q. According to Dr. Hollander, can          25   premature birth cause ADHD in the child?

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  1        A. Premature birth can be a factor           1            Fair?
  2    that's associated with an increased relative     2       A. I would consider it as a factor
  3    risk of neurodevelopmental outcomes.             3   that could contribute to the -- you know, the
  4        Q. Okay. And I think I understand            4   outcome.
  5    the distinction you're drawing,                  5       Q. Okay. Dr. Hollander, low birth
  6    Dr. Hollander.                                   6   weight, can low birth weight cause ADHD in
  7        A. Yeah.                                     7   the -- in the child?
  8        Q. Are you willing to say that               8       A. Well, I would say that a low
  9    prematurity -- a premature baby, the             9   birth weight is a factor that can increase
 10    prematurity itself can be a cause of the ADHD   10   the risk for ADHD as an outcome.
 11    or no?                                          11       Q. Does low birth weight increase
 12        A. I'm not prepared to offer an             12   the risk for autism as an outcome in a child?
 13    opinion in terms of causation, but I can say    13       A. I believe that that -- that is
 14    that there's a -- there's an association.       14   a factor that has some impact on the relative
 15        Q. Okay. And if I asked you --              15   risk.
 16    I'm going to ask you the same question on       16       Q. Okay. And I don't want to put
 17    autism.                                         17   words in your mouth, but the reason
 18        A. Right.                                   18   Dr. Hollander isn't saying that low birth
 19        Q. Does premature birth cause               19   weight can cause autism and ADHD is just
 20    autism?                                         20   because you haven't done a Bradford Hill.
 21        A. I mean, I guess my answer is             21            Is that what you're saying?
 22    that there's probably an increased relative     22       A. No.
 23    risk, but that I'm not sure that I could make   23       Q. Okay. What prevents you from
 24    a comment regarding causation.                  24   saying that low birth weight can cause
 25        Q. Okay. And when I'm asking                25   autism?

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  1    these questions, Dr. Hollander, and you're       1       A. Well, so it's been reported
  2    saying they cause an increased risk but you      2   that low birth weight increases the risk for
  3    can't say causation, you would tell me if you    3   that particular outcome, right?
  4    believed they weren't possibly a cause.          4            But in order to determine
  5             You're not saying that, right?          5   whether or not the elevated relative risk
  6        A. I'm not -- I'm not saying that            6   causes it, you'd have to be able to look at
  7    they -- I'm saying that, you know, I haven't     7   that and establish that it's a causal
  8    reviewed the literature and applied              8   relationship between the exposure and the
  9    standardized methods and looked at things        9   outcome.
 10    like confounders in order to make a causation   10       Q. Okay. And for these things I'm
 11    statement, yes.                                 11   asking about for premature birth, low birth
 12        Q. Okay. And just to put further            12   weight, air pollution, you -- it's just that
 13    clarity on that. If you were trying to          13   you haven't done that.
 14    figure out the etiology of autism in one of     14            Fair?
 15    your patients, for some reason you wanted to    15       A. No, I'm drawing a distinction
 16    do that, and you found out they were born       16   between association and causation.
 17    premature, you wouldn't -- you wouldn't rule    17       Q. Okay. And my question,
 18    that out as a cause, right?                     18   Dr. Hollander, is, I understand you're saying
 19        A. I could -- I would say that it           19   there's an association. Correct me if I'm
 20    could potentially be a risk factor, so it       20   wrong, but the reason Dr. Hollander can't say
 21    could be a contributing factor.                 21   that it's causal is because you haven't done
 22        Q. Right.                                   22   a full analysis for causation, right?
 23             So you wouldn't -- without             23       A. Well, that's one reason, is
 24    more, you wouldn't rule it out. You would       24   that I haven't done a full analysis for
 25    consider it on the differential.                25   causation. And also, I haven't studied the

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  1    literature to determine whether or not there     1   it's -- I mean, it's possible that it could
  2    were methods employed to be able to exclude      2   be a factor or a cofactor associated with
  3    either known or unknown type confounders that    3   increased relative risk.
  4    may be contributing to the association.          4        Q. Okay. So sitting here today,
  5         Q. And that's an important part in          5   Dr. Hollander, you can't say whether maternal
  6    analyzing an association, to exclude known       6   hypertensive disorder during pregnancy can
  7    and unknown confounders, correct?                7   cause or increase the risk of ADHD in the
  8         A. Well, yes. I mean, if you want           8   child?
  9    to determine the relationship between            9        A. Well, I believe that my
 10    exposure and an outcome, you want to show       10   response would be similar to the other
 11    that that relationship persists even when you   11   responses, again, that it -- you know, it may
 12    do various things to try to control for         12   be associated with an elevated relative risk.
 13    various known or unknown confounders.           13   But, again, because I haven't employed
 14         Q. And you can also try to do an           14   methods to determine whether or not it could
 15    analysis to control for bias, right?            15   be causal, and because I haven't seen whether
 16         A. Right. That -- that's                   16   or not, you know, different sources of bias
 17    something that you do want to consider. And     17   or potential known or unknown confounders
 18    there are different sources of bias, and you    18   have been adjusted for, it's hard to make a
 19    want to be able to control for that bias        19   statement with regards to causality.
 20    in multiple different ways.                     20        Q. Okay. And maternal
 21         Q. Okay. Back to the risk                  21   hypertensive disorder, is that preeclampsia?
 22    factors.                                        22        A. That can contribute to
 23             Do you believe that -- does            23   preeclampsia.
 24    Dr. Hollander believe that difficulty during    24        Q. Okay. And do you associate
 25    childbirth can cause ADHD?                      25   preeclampsia with the outcome of ADHD in a

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  1        A. Well, again, I would respond              1   child?
  2    that difficulties during childbirth can be       2       A. Yes, preeclampsia can be a
  3    associated with an increased risk of the         3   factor that increases relative risk of the
  4    outcome.                                         4   outcome.
  5        Q. And the same question for                 5       Q. Okay. Can preeclampsia cause
  6    autism, can difficulty during childbirth         6   ADHD in the child?
  7    cause autism in the child?                       7       A. I don't know whether or not it
  8        A. Well, again, I wouldn't say --            8   can cause ADHD in the outcome for the same
  9    I wouldn't say that. All I would say is that     9   reasons, both in terms of whether or not
 10    the difficulties in childbirth can be           10   adequate confounders have been controlled for
 11    associated with increased relative risk for     11   and the relative risk persists, and also
 12    that outcome.                                   12   whether or not standardized methodology have
 13        Q. Dr. Hollander, does maternal             13   been utilized in order to determine
 14    hypertensive disorder have the potential to     14   causation.
 15    cause ADHD in a child?                          15       Q. Okay. And, Dr. Hollander, that
 16        A. Well, I mean, I haven't studied          16   was about ADHD, and I appreciate the answer.
 17    that in detail. I haven't -- I haven't          17   I'm going to ask you the same question about
 18    really looked at the literature with regards    18   autism.
 19    to maternal hypertension.                       19            Can preeclampsia cause autism
 20             I know that maternal                   20   in a child?
 21    hypertension in and of itself can be            21       A. That I've -- I think I would
 22    associated with different kinds of negative     22   have the same response.
 23    outcomes, so it is possible that it could be    23       Q. Okay. Can childhood eczema
 24    associated with things like birth trauma or     24   cause ADHD, according to Dr. Hollander?
 25    premature birth or -- and that those -- so      25       A. Well, childhood eczema, you

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  1    know, can be like a -- you know, an immune       1   it increases the risk of the mother having a
  2    inflammatory condition. And immune               2   maternal autoimmune disorder during
  3    inflammatory conditions during pregnancy         3   pregnancy. So it could be like a -- you
  4    could -- during pregnancy could be associated    4   know, a marker.
  5    with things like maternal immune activation,     5            But -- so one of the ways to
  6    which could be a risk factor increasing the      6   determine that is like negative exposures,
  7    relative risk for the outcome.                   7   right? So you look at the temporality of the
  8        Q. Okay. So if I understood you              8   exposure, and then you look at the exposures
  9    correctly, childhood eczema via inflammation     9   outside of that window as a control. So
 10    could be an -- be a risk factor for ADHD in     10   that's why many of these studies have looked
 11    the child?                                      11   at negative exposure four years before
 12        A. Well, let me modify that.                12   pregnancy or four years after pregnancy as
 13             So childhood eczema -- there's         13   a negative control in order to control for
 14    an issue of temporality here. So childhood      14   that.
 15    eczema, you're implying that this is            15        Q. Okay. Dr. Hollander, an
 16    something that's occurring in the child         16   exposure three months before pregnancy to a
 17    post-birth, right? So that wouldn't be a        17   medication is not going to cause ADHD or
 18    causative factor because of the issue of        18   autism in offspring, correct?
 19    temporality. It wouldn't occur during the       19        A. Well, I would say it would be
 20    time of fetal development, so that it           20   less likely; however, it's still possible,
 21    wouldn't -- it wouldn't -- from a temporality   21   and I'll give you a possibility.
 22    standpoint, it wouldn't be causative.           22            Let's say the mother was a --
 23        Q. Okay. Dr. Hollander, from a              23   administered a compound that, you know,
 24    temporality standpoint, what is the cutoff in   24   stored in the fat and persisted for a long
 25    development from when a condition can no        25   time. Let's say the mother was injected with

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  1    longer cause -- an exposure can no longer        1   a long-acting compound, for example. Then
  2    cause ADHD or autism?                            2   it's possible that the mother would still
  3        A. Well, if -- I mean, if you're             3   have measurable, you know, plasma levels
  4    looking at maternal exposure during              4   during pregnancy.
  5    pregnancy, and that's the exposure, and the      5             So in that kind of a case, it
  6    outcome is neurodevelopmental disorders, then    6   could be.
  7    the temporality, or the exposure, would occur    7        Q. Okay. And so let me put a
  8    during pregnant -- pregnancy.                    8   finer point on my question.
  9        Q. Okay. Let me put a finer point            9            Let's say there's a medication
 10    on this.                                        10   with less than 12 hours of half-life.
 11             I think I just heard your              11   Exposure three months before pregnancy is not
 12    testimony that childhood eczema, in other       12   going to affect the fetus, correct?
 13    words, after birth, is too late to cause        13        A. No, I would say if the -- I
 14    ADHD, correct?                                  14   mean, if you're looking at a longer period of
 15        A. Well, it's a -- so I guess --            15   time and a drug with a short half-life, then
 16    here is -- here is a caveat, but, yes, in       16   it would be less likely that an earlier
 17    terms of temporality of exposure, yeah, it      17   exposure would be associated with maternal
 18    wouldn't be in the window of maternal           18   exposure unless -- or here's the other -- I
 19    exposure, so it wouldn't be associated with a   19   mean, just off the top of my head -- unless
 20    maternal exposure being a...                    20   it was -- unless that exposure beforehand was
 21             However, you know, it's                21   somehow a marker of the mother's continuing
 22    possible that, as you know, that, you know,     22   exposure during the pregnancy.
 23    autoimmune disorders can run in families. So    23             So you might make the argument,
 24    if you have a family where there are multiple   24   well, if somebody is taking something prior
 25    autoimmune disorders, then it's possible that   25   to pregnancy, well, maybe there's a higher

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  1    likelihood that it could still be taken         1   role as a risk factor for neurodevelopmental
  2    during pregnancy. So maybe it would be an       2   disorders and that, you know, nutritional
  3    indirect marker, but that -- you wouldn't       3   factors that have an impact on things like
  4    think -- no, for the -- I mean, if it's         4   oxidative stress could potentially be risk
  5    not -- if it's not in the mother's plasma,      5   factors.
  6    it's not a compound that's present during       6       Q. Okay. So would Dr. Hollander
  7    pregnancy, then you wouldn't think that that    7   consider vitamin D deficiency, a low serum
  8    exposure would be associated with the           8   vitamin D, as a potential cause of ADHD in a
  9    outcome.                                        9   child?
 10         Q. Okay. And, Dr. Hollander,              10        A. Again, I wouldn't use the word
 11    you're not a teratologist, right?              11   "cause," but I would -- I would say that it's
 12         A. No.                                    12   possible that that could be -- there could be
 13         Q. But you understand what                13   a risk factor or an association, and it could
 14    teratology is, right?                          14   be a cofactor.
 15         A. Yes, I'm familiar with the             15            So poor nutritional status
 16    principles and practices.                      16   could be a cofactor along with exposure to
 17         Q. Okay. And do you agree that in         17   other compounds that may have an additive
 18    general, exposures in the first two weeks of   18   effect in terms of impacting the outcome.
 19    pregnancy are all-or-nothing events that       19       Q. And, Dr. Hollander, when you
 20    either kill the embryo or don't affect it?     20   say "cofactor," do you mean it could be a
 21              MR. DOVEL: Objection. Form.          21   contributing cause to the outcome?
 22    QUESTIONS BY MR. MURDICA:                      22        A. Not exactly, no, because -- so
 23         Q. Do you understand my question?         23   contributing cause would be that there would
 24         A. Well, I am aware that exposures        24   be, you know, multiple hits, and then the
 25    early on can be associated with higher risks   25   more hits that you have, the higher the

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  1    of like a termination of the pregnancy,         1   overall relative risk, or the greater
  2    right? So -- and then if the pregnancy is       2   likelihood of the expression of the full
  3    terminated, then you wouldn't have the          3   phenotype.
  4    outcome.                                        4            Cofactors may be things that
  5        Q. Right.                                   5   directly interact then with other factors.
  6             Do you remember seeing in              6   So, for example, if you have nutritional --
  7    Dr. Cabrera's report the little chart that      7   poor nutrition, for example, or other forms
  8    showed the first 14 days are exposures that     8   of stress on the mother that could deplete
  9    either terminate the pregnancy or don't?        9   things like glutathione, that could be like a
 10        A. I do recall seeing that chart.          10   cofactor.
 11        Q. Okay. And I guess what I'm              11            So that, let's say, you have an
 12    trying to get at, Dr. Hollander, is, your      12   exposure to a compound that has an impact on,
 13    window of exposure for something that can      13   let's say, oxidative stress, but it occurs in
 14    cause ADD -- ADHD and autism --                14   a setting where you've depleted a particular
 15        A. Right.                                  15   antioxidant, then it would be a cofactor. So
 16        Q. -- is when the mother is                16   they would be working in concert together,
 17    actually pregnant up to the time of            17   and they wouldn't just be independent
 18    childbirth; is that correct?                   18   factors.
 19        A. That's correct.                         19        Q. Okay. So sitting here today,
 20        Q. Okay. Back to my question on            20   Dr. Hollander would not say that maternal low
 21    what can cause ADHD.                           21   vitamin D can cause autism or ADHD, correct?
 22             Can low maternal serum                22        A. Well, for the reasons before, I
 23    vitamin D cause ADHD in the child?             23   wouldn't use the word "cause." You know, I
 24        A. Well, it is possible that, you          24   might say relative risk or association.
 25    know, maternal nutritional status can play a   25        Q. In order to get to causation on

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  1    a question like that, Dr. Hollander, you         1   causative for autism or ADHD.
  2    would need to do a full weight-of-the-           2             Fair?
  3    evidence analysis, correct?                      3        A. Well, I mean, that's a very --
  4        A. Well, again, you'd want to look           4   it's an interesting finding. It's a pretty
  5    to see whether there are other factors that      5   strong finding that has been repeated.
  6    influence the association, right? You would      6             It actually -- it's interesting
  7    want to -- you'd want to control for other       7   for a couple different reasons, but one is it
  8    factors that influence the association, and      8   informs hypotheses with regards to plausible
  9    then you'd want to apply standardized            9   biological mechanisms as well.
 10    methodology in order to determine causation.    10        Q. And I understand what you're
 11    Yeah.                                           11   saying, Dr. Hollander, and I'm just asking.
 12        Q. Okay. And it's just that we --           12   The reason you can't -- you won't say right
 13    no one has asked you to do that, right?         13   now that advanced maternal and paternal age
 14             So sitting here today, you             14   is causative of autism and ADHD is because
 15    can't say whether it can be causal.             15   you haven't done a weight-of-the-evidence
 16             Fair?                                  16   analysis and looked at it, correct?
 17             MR. DOVEL: Objection. Form.            17        A. Well, I think that -- that --
 18             THE WITNESS: Well, I guess I'm         18   that relationship is pretty strong, that
 19        saying two things. One is, I                19   association. And I do believe that there
 20        certainly haven't done that, but I'm        20   have been attempts to look at different kinds
 21        also not aware in the literature of         21   of confounders with regards to that, and that
 22        that as well or whether others have         22   the association persists even when
 23        done that.                                  23   controlling for certain confounders.
 24    QUESTIONS BY MR. MURDICA:                       24             I also think that -- again,
 25        Q. Okay. But you don't know                 25   it's interesting because it suggests that as

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  1    whether the literature exists or not, right?     1   the father or the mother ages, you know, you
  2        A. I believe that the literature             2   have sperm or eggs that are replicating over
  3    has looked at issues in terms of association,    3   and over and over and over again. And the
  4    but I don't know whether or not those studies    4   longer the period of time that that happens,
  5    that looked at association adequately            5   the more likely that you can get problems in
  6    controlled for, again, you know, various         6   terms of, you know, copying the DNA, and
  7    factors like confounders. And so -- and/or       7   you're more likely to get de novo mutations,
  8    whether or not, you know, anybody has applied    8   actually.
  9    standard methodology to determine causation.     9             So, I mean, it's a very
 10        Q. Dr. Hollander, have you -- do            10   interesting idea that as a -- as an
 11    you have an opinion of whether advanced         11   environmental factor, I guess, maternal or
 12    maternal age can cause autism and ADHD?         12   paternal age, it actually can influence the
 13        A. Well, I do know that there's             13   genetic contribution.
 14    pretty good evidence, actually, that both       14       Q. And understanding,
 15    maternal and paternal age can be a risk         15   Dr. Hollander, that you're, you know,
 16    factor for increasing the risk of               16   considering this right now --
 17    neurodevelopmental disorders, including ASD     17       A. Yeah.
 18    and ADHD.                                       18       Q. -- are you willing to say it's
 19        Q. Okay. And paternal age was               19   causal today or not?
 20    going to be my next question.                   20       A. I'm not able to say whether or
 21        A. Right.                                   21   not it's causal today.
 22        Q. Dr. Hollander, I take it from            22       Q. Okay.
 23    your answer that the risk factors that -- you   23             How about maternal depression,
 24    haven't done an analysis as to whether          24   Dr. Hollander? Is maternal depression
 25    advanced maternal or paternal age is            25   causative of ADHD in the child?

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  1         A. Well, I think it's                       1       Q. Okay. And we discussed this
  2    well-documented that, you know, maternal         2   earlier, but there was a point in time only
  3    stress and maternal psychiatric illness is       3   20 years ago when some doctors thought that
  4    not good for the baby or the fetus. However,     4   vaccines caused autism, right?
  5    I think that that's an area where people have    5       A. That's true. The theory has
  6    looked at different kinds of confounders and     6   been discredited, but there was a time when
  7    tried to control for that, and there hasn't      7   some people posited that.
  8    been strong evidence for causation.              8       Q. Yeah.
  9         Q. Do you recognize,                        9            And, Doctor, to make this
 10    Dr. Hollander, that there's an association in   10   easier, I'm going through things that have
 11    studies between maternal depression and the     11   been attributed as causes that have been
 12    outcomes of ADHD and autism?                    12   discredited --
 13         A. I'm aware that there's an               13       A. Okay.
 14    association. I do know that people have been    14       Q. -- and seeing what you agree.
 15    trying to blame the mother for long periods     15       A. Okay.
 16    of time on causing autism, the whole            16       Q. Have you -- do you know that
 17    refrigerator mother hypothesis. And that's      17   the Ferber method of --
 18    been carried forward also to look at various    18       A. Yeah.
 19    kinds of maternal behavioral factors and        19       Q. -- with children has been
 20    psychiatric factors and looking at their        20   discredited as a cause of autism after being
 21    relationship to outcome.                        21   attributed as a cause?
 22         Q. Dr. Hollander, you raise a good         22       A. Yeah, I agree that the Ferber
 23    point. There's been several things that have    23   method doesn't cause autism.
 24    been blamed as causes of autism that turned     24       Q. Dr. Hollander, are you aware
 25    out to not be true, right?                      25   that there were theories with doctors saying

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  1        A. That's true.                              1   that certain dairy products caused autism?
  2        Q. Okay. One of them is what you             2        A. I am -- I am aware that some
  3    just mentioned, refrigerator mothers, the        3   people feel that like a, you know, gluten and
  4    theory basically that the mothers were cold      4   casein-free diets, for example, that those
  5    and didn't love their children and they          5   can trigger inflammatory processes. And so
  6    developed autism, right?                         6   one approach is try to eliminate that, for
  7        A. That's correct.                           7   example, in the diet and see whether or not
  8        Q. Okay. And that -- you agree               8   it affects behavior.
  9    that is not something that is factual, right?    9        Q. Okay. Does Dr. Hollander
 10        A. No. So refrigerator mothers              10   believe that the dairy products and gluten
 11    are not the cause of autism.                    11   theory as a cause of autism has been
 12             It is possible that, you know,         12   discredited?
 13    profound deprivation, so people who are like    13        A. Yeah, I think there's no
 14    raised in orphanages and don't get any kind     14   evidence that that causes autism.
 15    of maternal caring, can be at increased         15        Q. Okay. Have you seen,
 16    relative risk for developing                    16   Dr. Hollander, that there was a theory
 17    neurodevelopmental problems. But, no, that,     17   posited by doctors that modern wheat, the
 18    you know, refrigerator mothers don't cause      18   advent of modern wheat, was causing autism?
 19    autism.                                         19        A. Well, the same idea again, you
 20        Q. Right.                                   20   know, like wheat can trigger inflammatory
 21             And, Dr. Hollander, there was a        21   processes in some people who are sensitive to
 22    point in time in the early 20th century when    22   that. But I don't think that wheat is the
 23    doctors actually said that was a cause of       23   cause of autism.
 24    autism, right?                                  24        Q. Okay. And cable TV was posited
 25        A. That's true.                             25   as a cause of autism.

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  1             Are you aware of that?                  1   surveillance methods in a prospective fashion
  2        A. I'm not aware of that.                    2   that occur at frequent intervals. So that's
  3        Q. Okay. Dr. Hollander, cable TV             3   an approach, for example, that the CDC uses.
  4    is not a cause of autism, right?                 4   They use standardized methodology at regular
  5        A. No.                                       5   intervals with valid, reliable outcome
  6        Q. See, the easiest question in              6   measures.
  7    your deposition.                                 7            In addition to that, you can
  8        A. Okay.                                     8   look at sort of medical diagnosis rates from
  9        Q. Okay. Let's talk a little bit             9   electronic medical records, things like that.
 10    about the diagnosis rates of autism and ADHD.   10   So you're having a standardized methodology
 11             Dr. Hollander, in your rebuttal        11   applied at regular intervals over time in
 12    report, at one point you say they're            12   order to determine, you know, prevalence
 13    increasing, and at another point you're         13   rates.
 14    saying they're stable throughout the world.     14            There you see, you know, that
 15             What is your opinion right now         15   the prevalence rates are increasing using the
 16    about the diagnosis rates of ADHD and whether   16   same assessment measures and the same
 17    they are increasing, decreasing or staying      17   methodology in a prospective fashion at
 18    flat?                                           18   regular intervals, and that you get the --
 19        A. Well, I disagree with your               19   you get similar kinds of rates, or you get
 20    statement that in my rebuttal I state that      20   similar increases in rates, with different
 21    the rates of ASD and ADHD are stable            21   methods, whether you're looking at electronic
 22    throughout the world. I believe that I was      22   medical records and clinician diagnoses or
 23    referencing a comment that Dr. Faraone said.    23   whether you're using other sampling kind of
 24    So that's where that sentence came from. It     24   techniques.
 25    wasn't from me.                                 25       Q. Okay. I appreciate that,

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  1             Yeah, I believe that in the             1   Dr. Hollander, but what is your opinion? Is
  2    last 20 years, you know, the rates of ASD        2   your opinion that -- we'll start with
  3    have more -- they have quadrupled. So like a     3   autism -- that there are genuinely more cases
  4    400 percent increase. And so the rates have      4   of autism, and it doesn't have to do with the
  5    gone from about 1 to 350 to 1 in 36.             5   other potential explanations that you just
  6        Q. You're talking about autism,              6   said?
  7    Doctor?                                          7        A. Well, my opinion is that there
  8        A. Autism, yeah.                             8   are different factors that can contribute and
  9        Q. Okay. And, Doctor, in the                 9   that need to be understood and controlled
 10    opinion of Dr. Hollander, does that represent   10   for.
 11    an autism epidemic or just better diagnosis?    11        Q. Okay.
 12        A. Well, that's a good -- it's a            12        A. So I am aware that diagnostic
 13    good question, and that is a topic that has     13   criteria have changed a little bit, you know,
 14    been debated in the field, whether the          14   particularly with the idea in DSM-5 of
 15    increase in estimates, let's say, from 1        15   looking at the spectrum as opposed to
 16    in -- just in the last 20 years, 1 in 350 to    16   individual diagnoses, and I am aware that
 17    1 in 36, can be attributed solely to, you       17   there's a lot more awareness now of these
 18    know, broadening diagnostic criteria or         18   conditions.
 19    increased public awareness or greater           19             And I'm aware that there's more
 20    screening, for example, or whether, in fact,    20   routine screening for those conditions as
 21    they represent true increases. And there are    21   well, and then I am aware that there's more
 22    different ways to try to disentangle or         22   referral to specialists. So those things are
 23    address that.                                   23   all true.
 24             So one of the ways to try to           24             However, I'm also aware that
 25    address that is to use standardized             25   using standardized methodology and different

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  1    approaches, you know, the rates continue to      1       Q. 7 versus 12, right?
  2    increase. And so I believe that while some       2       A. Correct.
  3    of those factors may contribute to some          3       Q. Okay. So you went from having
  4    extent, there's still a significant increase     4   diagnoses for people who had symptoms before
  5    even when you control for all of those other     5   7 to including five more years, anybody who
  6    kind of factors.                                 6   had symptoms before 12, right?
  7        Q. Dr. Hollander, do you believe             7       A. That's true. That is a change.
  8    the same thing for ADHD? Because you were        8            You know, part of the reason
  9    asked -- answering about autism.                 9   for that is that there was a significant
 10        A. I was answering for autism.              10   underdiagnosis of individuals with adult
 11             And I think with regards to            11   ADHD. And so it didn't really represent the
 12    ASD, you know, the results are a little bit     12   true prevalence of adult ADHD because there
 13    different.                                      13   was this artificial cutoff. And when you
 14        Q. ADHD. I don't mean to                    14   expand the, you know, onset of presentation,
 15    interrupt you, but you said ASD.                15   you may get a more accurate presentation.
 16        A. I'm sorry. I apologize.                  16            And that's particularly true
 17        Q. We're talking ADHD.                      17   for -- so one of the issues is people have
 18        A. Yeah. Right.                             18   the inattentive, you know, subtype. There's
 19        Q. I just want to save you from             19   a large, I guess, misidentification. Those
 20    having to repeat it.                            20   individuals may not be -- if you're not
 21        A. No. Well, yeah. I do believe             21   exploding or having temper tantrums, you're
 22    that the rates for ADHD have increased over     22   not impulsive, you're not hyperactive, you're
 23    time, not as dramatically, but there has been   23   less likely to be picked up, right? So it
 24    an increase, and that I -- that represents an   24   may present in adulthood.
 25    increase in the true prevalence and --          25            And then if you have an

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  1    although there could be other factors that,      1   artificial cutoff where it demands that it's
  2    you know, contribute to the diagnosis.           2   identified by a certain age, then you may be
  3              Also, the same answer. Using           3   minimizing the illness.
  4    standardized methods and different               4             I mean, the second issue is
  5    approaches, there's still a significant          5   gender issue. So ADHD is much less likely to
  6    increase in rates over time.                     6   be picked up in women, partly because women
  7              The time -- the time span is a         7   have less, you know, disruptive behavior,
  8    little bit different. So the time spans that     8   temper tantrums, irritability, hyperactivity.
  9    are kind of measured, in ASD you have a nice     9   And therefore, again, you know, there's an
 10    period of 20 years where you can sort of        10   underrepresentation.
 11    measure that using standardized methodology.    11             And so I think it's a step in
 12              Here, the time intervals are a        12   the right direction by including a different
 13    little bit different, but the finding is        13   age cutoff because it gives you a more
 14    similar, that there's an increased rate, even   14   accurate representation.
 15    if you account for awareness and screening      15             But nevertheless, you're right,
 16    and diagnostic changes and, you know, other     16   there was a change in that diagnostic
 17    kinds of factors like services and things       17   criteria.
 18    like that.                                      18        Q. And that increase -- and that
 19         Q. Okay. Dr. Hollander, let's go           19   resulted in a significant increase in the
 20    through some of those factors.                  20   number of diagnoses in the United States,
 21              So with respect to ADHD, the          21   correct?
 22    diagnostic criteria did, in fact, expand        22        A. It did identify many
 23    quite a bit, right?                             23   individuals who hadn't been diagnosed prior
 24         A. Well, there were some changes,          24   to that because of that cutoff.
 25    for example, with regards to age of onset.      25        Q. Right.

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  1             And so you would agree with me          1   States?
  2    that that change, the change from 7 to 12,       2       A. The age of onset with autism,
  3    greatly increased the diagnoses of ADHD in       3   again, really varies based on the
  4    the United States, correct?                      4   presentation. So you've got kids who are,
  5             MR. DOVEL: Objection. Form.             5   you know, aggressive and having temper
  6             THE WITNESS: Well, I would say          6   tantrums. They're going to be diagnosed at a
  7        that, you know, it's certainly               7   much earlier age.
  8        possible that that could be a factor         8            Girls are going to be diagnosed
  9        that could alter, you know, diagnostic       9   at a much later age.
 10        rates.                                      10            Those individuals with high IQ,
 11             However, you know, one of the          11   those would good verbal ability, are going to
 12        things that I would say, though, in         12   be diagnosed at a much later age.
 13        the ADHD is at the time -- so the --        13            So the -- and now we're finding
 14        2013 was when DSM-5 was published,          14   that, you know, more and more people who are
 15        right? And that the surveillance            15   higher-functioning and who have good verbal
 16        techniques in ADHD were often for           16   skills are really not diagnosed until
 17        relatively time -- shorter time             17   adulthood, actually.
 18        periods. So you could -- I mean, you        18       Q. And --
 19        could specifically control for that by      19       A. So it depends on the -- it
 20        looking at, you know, rates. Rates          20   depends on the phenotypic presentation.
 21        after 2013, you know, the criteria          21       Q. I understand that,
 22        would be the same.                          22   Dr. Hollander. And all I'm asking is, do you
 23    QUESTIONS BY MR. MURDICA:                       23   know the statistic in the United States of
 24        Q. What's the average age,                  24   the average age of diagnosis of autism?
 25    Dr. Hollander, of the diagnosis of ADHD in      25       A. Well, then, again, it depends

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  1    the United States?                               1   on the cohort, the racial and ethnic group.
  2        A. Well, you're raising a good               2   And so there are a lot of different factors
  3    point in that, you know, the longer the          3   that influence it.
  4    follow-up, the higher the number of              4            I could say that kids are often
  5    individuals that you're going to be picking      5   diagnosed -- you know, truthfully, the --
  6    them up.                                         6   well, you have two different factors
  7             I think that patients -- I              7   competing. One is more screening and early
  8    guess it varies. Again, the hyperactive,         8   diagnosis, but then the idea that -- you
  9    impulsive individuals are going to be            9   know, you're picking up more individuals with
 10    diagnosed much earlier, and the inattentive     10   milder forms, so it's working in two
 11    subgroup are going to be diagnosed much         11   different directions. But it may be
 12    later. The girls are going to be diagnosed      12   around -- and it -- definitely there are big
 13    later. So that there are different factors      13   factors in terms of racial and ethnic and
 14    that influence age of onset.                    14   socioeconomic factors.
 15        Q. Yeah.                                    15            I would say maybe like around
 16             And do you know the average age        16   age 5, but it really varies. Some people are
 17    of diagnosis, Doctor, in the US?                17   being picked up at 18 months, and some people
 18        A. I think often, you know, the             18   are picked up at adulthood.
 19    diagnosis can be made, you know, by around      19       Q. Right. And I understand all of
 20    age 7, but there are many -- you know, many     20   the qualifiers, Dr. Hollander.
 21    people who don't present until after -- until   21            But in general, you would --
 22    12. I mean, that's why the diagnostic           22   you would testify here that if you factor in
 23    criteria have changed.                          23   everybody who has a diagnosis, the age of
 24        Q. What's the average age of                24   diagnosis on average for ADHD across all the
 25    diagnosis of autism or ASD in the United        25   different populations is about age 7, and for

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  1    autism across all the different populations      1       would agree that over time that that
  2    and given all those caveats is around 5.         2       ratio is narrowing as more women,
  3             Fair?                                   3       particularly with those with the
  4              MR. DOVEL: Objection. Form.            4       inattentive subtype, are being picked
  5              THE WITNESS: I would say that          5       up.
  6        those estimates are roughly                  6   QUESTIONS BY MR. MURDICA:
  7        appropriate. And I'll also say that          7       Q. And you said earlier in one of
  8        the age of onset of ASD tends to be          8   your answers, I believe, that another reason
  9        before the onset of ADHD.                    9   for increasing diagnoses are the availability
 10              But I would also say there are        10   of services, right?
 11        so many different -- it really depends      11       A. That's correct.
 12        on the cohort that you're measuring it      12       Q. Okay. In 2004, the IDEA was
 13        in because it can vary.                     13   passed which had a -- it was a significant
 14    QUESTIONS BY MR. MURDICA:                       14   benefit for children with autism and ADHD
 15        Q. And, Dr. Hollander, one of the           15   diagnoses in school in terms of not being
 16    other reasons that the diagnoses -- the         16   separated from classes and getting the same
 17    number of diagnoses are increasing in the       17   quality of education with their diagnosis,
 18    United States, I think you mentioned earlier,   18   correct?
 19    but more awareness by medical providers to      19       A. Well, I would agree that there
 20    look for these symptoms in women, right? In     20   are different purposes or uses of a
 21    female children?                                21   diagnosis. And I would agree, for example,
 22        A. Well, I agree, without a doubt,          22   in the case of autism that getting an autism
 23    there's been an underdiagnosis in women for a   23   diagnosis can be associated with the ability
 24    number of different reasons. So, you know,      24   to obtain certain services, yeah.
 25    in -- so in ASD, there's a 4 to 1 ratio.        25       Q. Services, Doctor, that were not

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  1    Maybe that's not really an accurate ratio,       1   available 30 years ago, correct?
  2    and maybe -- and some have suggested a more      2            MR. DOVEL: Objection. Form.
  3    recent kind of approach is that the ratio        3            THE WITNESS: Well, I mean, I
  4    could be lower than that.                        4       would say that -- services that may
  5             And so I -- as I mentioned              5       not have been accessible. They may
  6    before, you know, women tend to get              6       have been available, but people may
  7    underdiagnosed. And in particular, you know,     7       not have had as much access to those
  8    women who have verbal ability and are not        8       services.
  9    exploding, they're much less likely to be        9   QUESTIONS BY MR. MURDICA:
 10    diagnosed, and they're much more likely, if     10       Q. Okay.
 11    they're going to be diagnosed, to be            11       A. But things like, you know,
 12    diagnosed at a later age.                       12   behavioral therapies and occupational
 13             I can tell you that I have a           13   therapy, speech therapy, those were -- those
 14    lot of women in my practice who were not        14   were around for a long time, but having a
 15    diagnosed until adulthood, actually, and they   15   diagnosis can impact the ability to get
 16    were given other diagnoses prior to that.       16   services.
 17        Q. Dr. Hollander, with respect to           17       Q. And services have become more
 18    ADHD, there used to be a similar large          18   available through school districts with
 19    imbalance between the sexes, and now it's       19   increased awareness over time, right?
 20    almost close to parity, isn't it -- is it       20            There's more services available
 21    not?                                            21   with a diagnosis now than there was a decade
 22             MR. DOVEL: Objection. Form.            22   ago; is that fair?
 23             THE WITNESS: Well, I would             23       A. Yeah, I would say that there
 24        agree that, you know, there was a           24   are more services available now than 20 years
 25        higher male-to-female ratio, and I          25   ago.

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  1        Q. Okay. And let's see if you can            1       A. Well, in my report, for
  2    agree on some other things that a                2   example, I also had a figure from my
  3    diagnosis -- that a diagnosis changes.           3   California ecological study that looked at
  4            If you get an ADHD diagnosis             4   rates over longer periods of time.
  5    now, a student in school will get extra time     5       Q. Okay. And I'm talking about
  6    on tests, right?                                 6   the US diagnosis rate. The cutoff of what
  7        A. That's true, you can get some             7   you looked at went to about the mid-'90s,
  8    accommodations with a diagnosis.                 8   right?
  9        Q. Right.                                    9       A. I don't recall. Maybe you
 10            And one accommodation is extra          10   could -- if you're talking about a specific
 11    time on testing, right?                         11   aspect in my report, you could point me to
 12        A. That's correct.                          12   that --
 13        Q. One accommodation is extra time          13       Q. Sure.
 14    on standardized testing like the SAT, right?    14       A. -- and I can comment on that.
 15        A. You may be able to get that,             15       Q. And we'll do that after lunch.
 16    although there are a lot of hurdles that you    16       A. Okay.
 17    have to go through in order to actually         17       Q. Do you know --
 18    obtain that. But that's true.                   18       A. But I -- but I -- but I did
 19        Q. Okay. In fact, you can                   19   cite in my report studies in the state of
 20    actually get SSI with a diagnosis in some --    20   California that looked at the rates over
 21    in some cases, right?                           21   really extended time periods.
 22        A. Well, you know, if you have a            22       Q. Okay. Do you know nationally
 23    neurodevelopmental disorder and you're          23   what -- do you know what year IDEA was
 24    disabled, you can get benefits.                 24   passed?
 25        Q. You can get private tutors from          25       A. Not off the top of my head.

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  1    the school district with a diagnosis,            1   Maybe you could inform me.
  2    correct?                                         2       Q. 2004.
  3        A. You can get services.                     3            Do you know what happened to
  4        Q. You can get individual                    4   diagnosis rates after 2004?
  5    education plans, IEPs?                           5       A. We could take a look at some
  6        A. Yes, with a diagnosis.                    6   figures.
  7        Q. Okay. Any other services you              7       Q. Sitting here today, you don't
  8    can think of?                                    8   know if it changed dramatically, right?
  9        A. Well, there may be -- I mean,             9       A. I haven't reviewed figures.
 10    people definitely can benefit from executive    10   I'd be interested in looking at those figures
 11    function coaches, for example. There may be     11   and then looking at 2004 to see how that
 12    some socialization-type services that you can   12   particular -- because there are various -- so
 13    also get.                                       13   there are a lot of different things that have
 14        Q. Are you familiar with IDEA, the          14   happened that may have some impact one way or
 15    congressional act?                              15   another in terms of rates of these
 16        A. Yeah.                                    16   conditions.
 17        Q. Okay. Are you familiar with              17            And I think you could point to
 18    the change in rate -- change in number of       18   a range of different -- so I would point -- I
 19    diagnoses following the passage of that act?    19   think one important time period would be the
 20        A. I haven't looked at the timing           20   rate that doctors put warnings on ibuprofen
 21    and the impact of the timing on the slope of    21   with regards to maternal usage and the
 22    the rates.                                      22   timeline of those different warnings which
 23        Q. In your report, you were only            23   influenced, you know, the exposure rates, and
 24    looking prior to about 1996, right? In terms    24   then look at those changes in the exposure
 25    of the change in diagnosis rates of autism?     25   rates and then how they relate to outcome

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  1    rates.                                           1        presentation, and those nuances depend
  2        Q. Right.                                    2        on the cohort that you're looking at.
  3        A. So there are a lot of different           3        So...
  4    things that you could look that could            4   QUESTIONS BY MR. MURDICA:
  5    potentially have some influence on outcome       5        Q. Okay.
  6    rates.                                           6        A. But -- but there would be some
  7        Q. One of the things you pointed             7   time association, but it could be depending
  8    to, Dr. Hollander, in your report were the       8   on what are the cohorts that you're measuring
  9    Tylenol murders in 1982, right?                  9   it in.
 10        A. Yeah.                                    10        Q. Doctor, on average, if we're
 11        Q. And your theory is that the              11   looking at autism rates in 1984, we're really
 12    publicity around the Tylenol murders in         12   looking at births in 1979, 1980, correct?
 13    Chicago in 1982 nationally caused pregnant      13        A. Well, that would be the case if
 14    women to stop using acetaminophen, correct?     14   we assume your average of five years and
 15        A. Well, yeah, I mean, the -- I             15   you're talking about ASD, right?
 16    guess the public awareness about, you know,     16        Q. I'm talking about ASD, yeah.
 17    that particular contamination or outcome        17        A. Okay.
 18    influenced the usage, right? And that would     18        Q. If we're looking at autism
 19    be something to look at. So that would be       19   diagnosis rates in 1984, we'd really be
 20    something that would affect exposure. And       20   talking about children born in 1979, 1980, on
 21    then you want to see whether a change in        21   average, correct?
 22    exposure affected a change in outcome.          22        A. Again, but with the same, you
 23        Q. Right.                                   23   know, caveats in terms of the average.
 24             So you would want to see,              24        Q. Okay. What do you know about
 25    Dr. Hollander, if, following the Tylenol        25   the benefits offered to Cuban citizens for

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  1    murders in 1982, if the autism diagnosis rate    1   different neurodevelopmental diagnoses?
  2    went down five years later at about the          2       A. I would imagine that the
  3    average time of autism diagnosis, correct?       3   benefits in Cuba are not identical to the
  4         A. Well, five -- I mean, I would            4   benefits offered in the United States.
  5    probably want to look at it in a broader         5       Q. Do you know anything about the
  6    range than just five years, to tell you the      6   benefits offered in Cuba?
  7    truth, because, again, people can present at     7       A. Well, I do know that, you know,
  8    different ages.                                  8   Cuba is a Third World country, and so -- and,
  9         Q. Right.                                   9   you know, a much poorer country with less
 10              But we're talking about               10   access to various kinds of services.
 11    averages, right? You're looking at              11       Q. Do you think there would be --
 12    statistics overall. You want to look at the     12   do you know if there's any stigmas attached
 13    average, correct?                               13   to having a diagnosis like autism in Cuba?
 14         A. I guess you'd want to look at           14       A. You know, there's a good point
 15    the mean and maybe the median, so there are     15   because -- so then you have these two sort of
 16    different ways to look at it.                   16   competing issues, so stigma versus, you know,
 17         Q. Okay. And if we were looking            17   benefits, for example.
 18    at whether the Tylenol murders had an impact    18            Yeah, I do think that there are
 19    on the ADHD diagnosis rate, we'd look a         19   differences with regard to cultural factors
 20    little further out, more like six or seven      20   and stigma.
 21    years, like you said, right, Doctor?            21       Q. And you haven't done any
 22              MR. DOVEL: Objection. Form.           22   analysis on why and how autism is diagnosed
 23              THE WITNESS: Well, it would be        23   or not diagnosed in Cuba, have you?
 24         the same caveat again because there        24       A. You know, I've read things that
 25         are a lot of nuances in terms of           25   allude to that. You know, I haven't studied

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  1    it in detail, you know. It's clear that          1   a great or limited significance?
  2    there's less services available, and so          2       A. Well, look, if we're talking
  3    there's probably less screening and referral     3   about exposure and outcome, and that's what
  4    and access to different kinds of services.       4   we're talking about, and we're talking about
  5         Q. Let me -- let me put this                5   maternal exposure, yeah. So then, yeah, the
  6    simply, Dr. Hollander.                           6   exposure has to occur during the maternal
  7              Is it really -- is                     7   period.
  8    Dr. Hollander really relying on diagnosis        8       Q. Right.
  9    rates in Cuba to render your causation           9            But it's not like there's
 10    opinion here that acetaminophen can cause ASD   10   anything unique about acetaminophen exposure
 11    and ADHD?                                       11   compared to other exposure for this factor,
 12         A. No, I'm not relying on --               12   for temporality, correct? Any exposure
 13         Q. Okay.                                   13   before the birth you're counting as
 14         A. -- diagnosis rates in Cuba --           14   satisfied, fair?
 15         Q. Okay.                                   15       A. Yes. I mean, there are all
 16         A. -- to support my opinions here.         16   these nuances in terms of how you measure
 17              MR. MURDICA: When do you guys         17   exposure. But, yes, with regards to just the
 18         want to do lunch? I can take a break       18   issue of temporality, yeah, that the exposure
 19         now or move to another area.               19   had to occur during pregnancy.
 20              MS. HEACOX: I think it's going        20       Q. One of the other things you say
 21         to be delivered at 12:30, supposedly.      21   in considering your Bradford Hill analysis is
 22              MR. MURDICA: Okay.                    22   that you're looking at results that were
 23              MR. DOVEL: So let's keep going        23   statistically significant, right?
 24         until 12:30.                               24       A. Yes.
 25              MR. MURDICA: Let's keep going.        25       Q. Okay. And you know what

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  1    QUESTIONS BY MR. MURDICA:                        1   statistical significance is, correct?
  2        Q. All right. After lunch we're              2        A. Yes.
  3    going to mark your rebuttal report, but I'm      3        Q. And statistical significance is
  4    going to ask you some questions about it now.    4   important for you to identify a relation -- a
  5    We'll see if you can answer them without it.     5   causal relationship between an exposure and
  6    If not, we'll move on to something else.         6   an outcome, right?
  7             In your Bradford Hill analysis,         7        A. Statistical significance is
  8    one of the factors you looked at was             8   important as one of the overall factors in
  9    temporality.                                     9   terms of how you determine, you know, the
 10             Do you remember that?                  10   strength of the association between exposure
 11        A. Yes, I do.                               11   and the outcome, but it's not the only
 12        Q. Okay. And temporality -- you             12   factor.
 13    ascribed, you say in the rebuttal report,       13        Q. Right.
 14    that you put great significance on the          14        A. And so you'd want to look at
 15    satisfaction of that element in your            15   confidence intervals, for example. You'd
 16    analysis.                                       16   want to look at consistency of findings.
 17             Do you recall that?                    17   You'd want to look at reproducibility or
 18        A. I do.                                    18   replication. But statistical significance is
 19        Q. Okay. And the only thing                 19   important.
 20    required to satisfy temporality, according to   20             However, you know, you can
 21    the analysis in your report, is that the        21   still determine causation without statistical
 22    exposure occurred before the birth, right?      22   significance, but it's one important factor.
 23        A. Essentially, yes.                        23   But you'd also want to look at, you know,
 24        Q. Okay. So Dr. Hollander, isn't            24   confidence intervals, and you'd want to look
 25    that -- isn't that really a yes or no and not   25   at consistency, and you'd want to look at

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  1    replication, and you'd want to look at, you      1   Let's try it one more time.
  2    know, whether multiple different studies         2            For a point estimate to be
  3    showed the same, you know, direction.            3   statistically significant, the confidence
  4             So whether it's a positive              4   interval has to be entirely over 1, correct?
  5    association or whether it's a negative           5       A. Generally that's the case.
  6    association, you look at all of that. You        6       Q. Okay. And statistically that's
  7    weight all the evidence, and then that can       7   the case, right? That's the very definition
  8    help to determine causation.                     8   in statistics, correct?
  9         Q. Dr. Hollander, isn't -- aren't           9       A. I would say that that -- that
 10    the confidence intervals how you define         10   is generally the case for a single-point
 11    statistical significance?                       11   estimate.
 12         A. The confidence intervals don't          12       Q. And that was my only question.
 13    exactly map onto the p-value. So they're two    13       A. Okay.
 14    different sort of measures of strength of       14       Q. All right. For a p-value to be
 15    association.                                    15   important to you, does it need to be .05 or
 16         Q. Okay. For a point estimate to           16   less?
 17    be statistically significant, the confidence    17       A. No.
 18    interval has to be entirely over 1, correct?    18       Q. Okay. What p-value matters to
 19         A. Again, not necessarily. So,             19   Dr. Hollander?
 20    again, like when you're looking at the          20       A. Well, we also look at trends.
 21    totality of the evidence, what you want to do   21   So, you know, a trend can be -- even if the
 22    is, yeah, you do want to look at the            22   p-value is greater than .05, you may have a
 23    confidence intervals.                           23   trend. It really depends on the sample size.
 24             However, you know, even if in          24            So, for example, in preliminary
 25    an individual study the confidence interval     25   studies, when you're trying to understand an

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  1    may be below 1, you know, if it's a positive     1   association and you're trying to do a power
  2    association that occurs over and over and        2   analysis, you're looking at the effect size.
  3    over again, then it wouldn't be disqualifying    3   The thing that's most important is the size
  4    or troubling to have an individual study         4   of the effect and not the p-value.
  5    where the confidence interval was below 1.       5        Q. Okay.
  6              Same thing as the p-value. I           6        A. And then you take that
  7    mean, you want the p-value to be less than       7   information, and then you can use that
  8    .05. You'd want there to be a -- but you'd       8   information to design studies of adequate
  9    also want there to be, you know, a positive      9   sample size.
 10    association that occurs over and over again     10             So you can have a trend that's
 11    in the same direction with replication. Then    11   very important. You can establish an odds
 12    it may be that there are some studies that      12   ratio or an effect size, and then you can
 13    don't reach a p-value of .05, but -- so you     13   utilize that information. That could be very
 14    want to look at the totality, really, in        14   valuable even if the p-value is greater than
 15    order to understand the association that        15   .05.
 16    informs causation.                              16        Q. Is there a p-value that
 17         Q. Do you think you answered my            17   statisticians generally consider to be the
 18    question?                                       18   target p-value to find an association?
 19         A. I think so. I think the answer          19        A. Well, there are some general
 20    is, it depends. So you can -- you can have      20   assumptions, and then there are -- certainly
 21    causation even if the p-value in some cases     21   there are some occasions where the
 22    is greater than .05, and you can have           22   association is very important. It gives you
 23    causation even if you have some studies where   23   critical information, even if the p-value is
 24    the confidence interval is less than 1, yes.    24   greater than .05.
 25         Q. Okay. My question was this.             25        Q. Yeah.

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  1             And --                                  1            But you can pull data outside
  2        A. So you want to -- again, like             2   of meta-analyses as well, so --
  3    one example again is that if you have studies    3       Q. In a single analysis, in a
  4    over and over again that show the same           4   single study, is it accurate, based on what
  5    positive association, the same direction, the    5   you just said, that generally the target
  6    same trend, even if you have a p-value           6   p-value is something less than .05,
  7    than -- that's less than -- that's greater       7   Dr. Hollander?
  8    than .05, then it -- then it provides very       8       A. Well, I think my answer again
  9    important information.                           9   is usually in a single study, generally the
 10             You can still include that, for        10   goal, if you want to disprove a null
 11    example, in meta-analyses. And then when you    11   hypothesis, is to obtain that. But the study
 12    pull the data with a bigger sample size, then   12   is only good -- it's only as good as the
 13    you -- so the P -- the p-value is simply        13   design of the study, right? So that there
 14    influenced by the sample size, right? That's    14   are various issues in terms of the study
 15    the nice thing about meta-analyses. You can     15   design that you need to evaluate in order to
 16    pull the data that shows an effect and          16   judge the value of a particular study.
 17    establish a much bigger sample size. Then       17            So, you know, again, you know,
 18    that can give you a much stronger p-value.      18   for pilot studies, we don't even pay
 19        Q. Dr. Hollander, my question was           19   attention to the p-value. We're much more
 20    this: Is there a p-value that statisticians     20   interested in the effect size rather than the
 21    generally consider to be the target p-value     21   p-value. And then we use that strength of
 22    to find an association in a given study?        22   the association based on the effect size then
 23        A. Well, there's a general                  23   to power additional studies, for example.
 24    assumption that P equals less than .05 --       24       Q. Dr. Hollander, did you attempt
 25        Q. That's all I was asking.                 25   to do a disproportionality analysis here?

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  1        A. -- is a strong association.               1        A. I attempted to evaluate the
  2    But again, it all depends on the sample size.    2   data, understanding the design of the
  3    So the p-value is influenced by the sample       3   different studies and controlling for various
  4    size.                                            4   forms of confounders or bias and using
  5              What you -- any information            5   standard methodology in order to interpret
  6    that you gain from that determine -- is          6   that.
  7    determined by the design of the study. So if     7        Q. You know what EB05 is, right?
  8    the -- if the study has an insufficient          8        A. Yes.
  9    sample size, it may give you a p-value that's    9        Q. And in fact, in another
 10    greater than .05. And then you need to          10   litigation you did a disproportionality
 11    interpret that with regards to interpreting     11   analysis to determine causation, correct?
 12    the study.                                      12        A. It's possible that I did that
 13              You say, well, all right, so          13   analysis.
 14    that particular study has a low sample size.    14        Q. And the EB05 is the important
 15    Let's see what happens if we pull the data      15   part of the disproportionality analysis to
 16    from different studies with a low sample        16   show the association, correct?
 17    size, so all of a sudden we have a bigger       17        A. Well, no. I mean, I think
 18    sample size. Then that's going to give you a    18   you -- there are different ways to -- there
 19    different p-value.                              19   are different types of analyses, and it
 20        Q. You're talking about a                   20   depends on the association that you're
 21    meta-analysis --                                21   looking at.
 22        A. That's an example.                       22        Q. Okay. Here, for acetaminophen
 23        Q. -- in that example, correct?             23   and ADHD and autism, did you do a
 24        A. Yeah, that's an example of               24   disproportionality analysis?
 25    that.                                           25        A. I don't believe that I did a

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  1    disproportionality analysis --                   1       A. Yes, I am.
  2        Q. Why not?                                  2       Q. Okay. Earlier this morning, I
  3        A. -- here.                                  3   asked you about your website for Spectrum
  4        Q. Why not?                                  4   Neurosciences.
  5        A. It depends on the -- so, for              5            Do you recall those questions?
  6    example, each -- there are significant           6       A. Yes.
  7    differences in each individual case in terms     7       Q. Okay. And I asked if we
  8    of the compound, in terms of the reporting       8   looked, if it would say anything about you
  9    and the data available in order to do that       9   and ADHD.
 10    type.                                           10            Do you recall that?
 11             One issue here is that                 11       A. Yes.
 12    acetaminophen has been on the market for a      12       Q. And you said it would, right?
 13    long time, and it's an over-the-counter         13       A. Yes.
 14    medicine as opposed to a prescription           14       Q. Okay. Do you hold yourself out
 15    medication. So that there may be data           15   as an expert in ADHD?
 16    available from prescription medications where   16       A. Yes.
 17    you can do certain analyses. When you're        17       Q. Okay. And have you diagnosed
 18    looking at effects on over-the-counter          18   causes of ADHD in your patients?
 19    medication, you may not have access to all      19       A. Yes.
 20    that kind of information to be able to do all   20            (Hollander Exhibit 51 marked
 21    those analyses.                                 21       for identification.)
 22        Q. Did you ask for that                     22   QUESTIONS BY MR. MURDICA:
 23    information here?                               23       Q. I'm just going to mark this as
 24        A. You know, the problem, I guess,          24   51.
 25    here is that the vast majority of individuals   25            Dr. Hollander, do you -- sorry.

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  1    who were taking acetaminophen are not taking     1   Do you recognize that as your bio?
  2    it as part of a prescription product.            2            MR. DOVEL: Objection. Form.
  3         Q. Did you ask for the                      3            THE WITNESS: Well, I recognize
  4    information, if it's available?                  4       that this is a description of me
  5         A. I didn't ask for the                     5       that's on that website.
  6    information, if it's available. However,         6   QUESTIONS BY MR. MURDICA:
  7    unfortunately, I think it would be less          7       Q. All right. And this is your
  8    relevant because the majority of the exposure    8   website, right?
  9    is occurring with over-the-counter usage.        9       A. This is one of my websites,
 10             MR. MURDICA: Okay. It's                10   yes.
 11         12:30. Do you want to take our lunch       11       Q. Do you see anything about ADHD
 12         break?                                     12   on here?
 13             MR. DOVEL: Let's go off the            13       A. Well, I see information here
 14         record and talk about that.                14   about impulsivity and aggression and other
 15             VIDEOGRAPHER: The time right           15   specific impulse control disorders like
 16         now is 12:30 p.m. We are off the           16   gambling. So that ADHD plays a fundamental
 17         record.                                    17   role in all of the impulse control disorders
 18          (Off the record at 12:30 p.m.)            18   and impulsivity and aggression.
 19             VIDEOGRAPHER: The time right           19       Q. Okay. Dr. Hollander, your bio
 20         now is 1:04 p.m. We are back on the        20   on Spectrum Neurosciences doesn't say
 21         record.                                    21   attention-deficit/hyperactivity disorder,
 22    QUESTIONS BY MR. MURDICA:                       22   correct?
 23         Q. Dr. Hollander, welcome back.            23       A. Well, as I recall on the
 24         A. Welcome back.                           24   website, yes. You know, there is a
 25         Q. Are you ready to proceed?               25   description of our expertise with regards to

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  1    attention-deficit/hyperactivity disorder.        1   and that the ADHD and the mechanisms involved
  2        Q. Yeah, and I'm asking                      2   in ADHD are fundamental for impulsivity,
  3    specifically about Exhibit 51 in front of        3   impulse control disorders and aggression.
  4    you --                                           4       Q. Is impulse control a diagnostic
  5        A. Right.                                    5   criteria of ADHD?
  6        Q. -- your bio on your website.              6       A. Well, yes, it's one of the
  7             We can look and look and look,          7   domains within ADHD. So there's the
  8    but we're not going to see ADHD in this text,    8   inattention domain. There's the
  9    correct?                                         9   hyperactivity impulsivity domain, yes. So,
 10        A. No, I see -- I see we're                 10   yes, the impulsivity is one of the domains of
 11    talking about issues around impulsivity,        11   ADHD.
 12    which are fundamentally tied to ADHD. And I     12       Q. Okay. So back to my original
 13    recall that there's a good description,         13   question.
 14    actually, of ADHD and our overall services      14            You, Dr. Hollander, hold
 15    and what we focus on on that particular         15   yourself out to the world as an expert in
 16    website, but I don't see ADHD listed on this    16   ADHD, correct?
 17    particular bio.                                 17            MR. DOVEL: Objection. Form.
 18        Q. Dr. Hollander, what -- you               18            THE WITNESS: Yes, I'm an
 19    mentioned that this is just one of several      19       expert in ADHD and in
 20    websites.                                       20       neurodevelopmental disorders.
 21             What other websites do you             21            I treat, you know, a large
 22    host?                                           22       number of children, adolescents and
 23        A. Well, we also have a website             23       adults with ADHD.
 24    for the autism/obsessive compulsive spectrum    24            I've gotten grants, federal and
 25    disorders program at Albert Einstein College    25       nonfederal grants, on impulsivity,

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  1    of Medicine and the Montefiore Medical           1        which is fundamentally related to
  2    Center, and also the fellowship program as       2        ADHD.
  3    well on autism and obsessive compulsive          3   QUESTIONS BY MR. MURDICA:
  4    spectrum disorders on the Einstein and           4        Q. Your prior testimony in
  5    Montefiore website.                              5   litigation for plaintiffs has been in
  6            And then there's also a website          6   litigation over impulsivity like compulsive
  7    on the Spectrum Neuroscience Research            7   gambling, correct?
  8    Foundation.                                      8        A. Yes, I have offered opinions
  9        Q. Okay. And you just mentioned              9   and testimony around pathological gambling
 10    two websites on autism and OCD, correct?        10   and other impulse control disorders.
 11        A. I mentioned websites on the              11        Q. Right.
 12    autism and OCD spectrum program.                12            And if we looked -- if we
 13        Q. Okay. What would you consider            13   looked at all your prior testimony, we
 14    your main website, Dr. Hollander?               14   wouldn't see any on ADHD, correct?
 15            MR. DOVEL: Objection. Form.             15        A. You know, again, there's a --
 16            THE WITNESS: Well, I guess we           16   there's a -- so impulsivity is one of the
 17        have those two different websites.          17   domains within ADHD, and ADHD is
 18        There's a research-related website,         18   fundamentally related to impulse control
 19        and there's a clinical website.             19   disorders.
 20    QUESTIONS BY MR. MURDICA:                       20        Q. So have you held yourself out
 21        Q. Do you hold yourself out as a            21   to another court before this one as an expert
 22    researcher in attention-deficit/hyperactivity   22   in ADHD?
 23    disorder?                                       23        A. Well, I've held myself out as
 24        A. Well, I -- I'm an expert in              24   an expert in impulsivity and in impulse
 25    impulse control disorders and impulsivity,      25   control disorders associated with ADHD.

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  1        Q. So any symptom of ADHD you're             1   themselves, they weren't grants for ADHD
  2    considering is your expertise in ADHD?           2   specifically, correct?
  3    That's how you get there?                        3       A. Well, the grants for obsessive
  4        A. Maybe you could repeat the                4   compulsive disorder weren't for ADHD, and the
  5    question --                                      5   grants for impulse control disorders weren't
  6        Q. Sure.                                     6   for ADHD.
  7        A. -- because I don't quite --               7       Q. Okay.
  8        Q. You're saying that -- we'll               8       A. They were for compulsive
  9    take, for example, Abilify. You testified        9   disorders or impulsive disorders.
 10    about compulsive gambling, right?               10            (Hollander Exhibit 52 marked
 11        A. I testified about compulsive             11       for identification.)
 12    gambling and other impulse control disorders    12   QUESTIONS BY MR. MURDICA:
 13    as well.                                        13       Q. All right. Let's mark your --
 14        Q. You did not -- we can look at            14   I saw -- the questions I was asking you
 15    the transcript. We'd never see the words        15   earlier, you had your rebuttal report in
 16    "ADHD," right?                                  16   front of you. We're going to mark it. We're
 17        A. I don't think that that's                17   going to mark a copy. You can use whichever
 18    accurate because I do think that I -- in        18   copy you want.
 19    discussing impulse control disorders, I would   19       A. I'm fine with my copy.
 20    have mentioned also the association with        20       Q. Okay. We'll just take it here.
 21    ADHD.                                           21            Okay. Dr. Hollander, you have
 22        Q. To the best of your                      22   in front of you what's been marked as
 23    recollection, did you render opinions in        23   Exhibit 52, which is your rebuttal report.
 24    Abilify or Mirapex regarding                    24            Do you recognize that?
 25    attention-deficit/hyperactivity disorder?       25       A. Yes, I do.

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  1        A. No. In Abilify and Mirapex, I             1       Q. Now, the version you're using
  2    rendered opinions with regards to                2   is a version you brought with you that has
  3    impulsivity.                                     3   your notes on it, right?
  4        Q. Okay. And the grants that                 4       A. Yes, that has my underlines on
  5    you've gotten for obsessive control disorder,    5   it.
  6    if we looked at the grants themselves, they      6       Q. Okay. All right. So one of
  7    weren't grants for ADHD specifically,            7   the things you do in here in conducting your
  8    correct? They were for OCD?                      8   Bradford Hill is you reference Dr. Baccarelli
  9        A. I've also had grants for                  9   several times as your reliance for this
 10    impulse control disorders such as               10   analysis, right?
 11    pathological gambling.                          11       A. That's correct.
 12             So I would say that I have made        12       Q. Okay. When did you first see
 13    important contributions as it relates to both   13   Dr. Baccarelli's report?
 14    compulsivity and impulsivity, and I would say   14       A. I believe I reviewed his report
 15    that I'm an expert as it relates to both        15   prior to my discussion with him.
 16    compulsivity and impulsivity.                   16       Q. And when was your discussion
 17        Q. Okay. Do you remember my                 17   with him?
 18    question?                                       18       A. My discussion with him was
 19        A. Well, it had to do with ADHD.            19   prior to issuing my initial amended report.
 20        Q. Yes.                                     20       Q. And by that you mean your first
 21        A. Perhaps you could read the last          21   substantive report?
 22    question again.                                 22       A. That's correct.
 23        Q. Sure.                                    23       Q. Okay. And in relying on
 24             The grants you've gotten for           24   Dr. Baccarelli, are you deferring to
 25    obsessive -- OCD, if we look at the grants      25   Dr. Baccarelli, or are you saying this is an

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  1    analysis that you, Dr. Hollander, are            1            MR. DOVEL: Objection. Form.
  2    presenting to stand on its own?                  2            THE WITNESS: No. I relied on
  3            MR. DOVEL: Objection. Form.              3       the information in the methods in
  4            THE WITNESS: Well, I've                  4       Dr. Baccarelli's report, but that my
  5       reviewed his report in detail. I              5       report stands on its own in that I
  6       agree with the conclusions of his             6       conducted my own Bradford Hill
  7       report, I utilize his report as               7       analysis of causation, and I offer my
  8       background in preparing my report, and        8       own opinion.
  9       then I offer my opinions in my report.        9   QUESTIONS BY MR. MURDICA:
 10    QUESTIONS BY MR. MURDICA:                       10       Q. Okay. So while you mentioned
 11       Q. All right. So, Dr. Hollander,             11   Dr. Baccarelli several times here, these
 12    you don't need Dr. Baccarelli's report to       12   opinions in here are yours, correct?
 13    render the opinions in Exhibit 52, correct?     13       A. That's correct.
 14            MR. DOVEL: Objection. Form.             14       Q. Okay. Okay. If we turn to
 15            THE WITNESS: Well, I'm --               15   page 8.
 16       Dr. Baccarelli did a comprehensive           16            Do you recall before lunch I
 17       review of all of the available               17   was asking you about temporality?
 18       literature. He did a comprehensive           18       A. Yes.
 19       weighting of each of the different           19       Q. And do you see on page 8 you
 20       articles and then used the specific          20   have your temporality section, and you say
 21       methodology, including his navigation        21   you "ascribe great weight to the element of
 22       guide.                                       22   temporality"?
 23            I reviewed, you know, his               23            Are you on page 8?
 24       writing, and I reviewed his use of the       24       A. Let's see. I'm looking at a
 25       navigation guide. I concur with the          25   section that I have on temporality here.

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  1        work that he's done, and I rely on the       1      Q.    Yep.
  2        information in his report to support         2           If you turn to page 8 on the
  3        my opinions that are offered in my           3   bottom.
  4        report.                                      4       A. Yeah.
  5    QUESTIONS BY MR. MURDICA:                        5       Q. Do you see you have a part F,
  6        Q. Dr. Hollander, are you relying            6   temporality?
  7    on Dr. Baccarelli's conclusions to support       7       A. Yeah.
  8    your opinion here?                               8       Q. Okay. Do you see --
  9        A. I'm relying on Dr. Baccarelli's           9       A. Oh, yes.
 10    report, and I'm relying on his weighting of     10       Q. -- "I ascribe great weight to
 11    each of the individual studies. That's in       11   the element of temporality"?
 12    concordance -- so that is supportive of my      12       A. Yes, I see it.
 13    opinions that are offered in my report.         13       Q. Okay. And this is what we
 14        Q. So if Dr. Baccarelli's got it            14   talked about before. It's really a yes or no
 15    wrong, then you relied on him, and your         15   whether the exposure came before the outcome,
 16    report would not be accurate, correct?          16   right?
 17        A. No, I wouldn't agree with that,          17       A. Yes.
 18    because I did my own independent Bradford       18       Q. So why did you ascribe it great
 19    Hill analysis, which is the standard method     19   weight?
 20    to weight the information, you know, in order   20       A. Well, because if the exposure
 21    to render my opinion.                           21   causes the outcome, then the exposure needs
 22        Q. Okay. So this is what I'm                22   to precede the outcome.
 23    trying to get straight, Dr. Hollander.          23       Q. Right.
 24             Do you need Dr. Baccarelli to          24           And isn't that a yes or no
 25    offer your opinions to the Court here or not?   25   question --

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  1         A. Yeah.                                    1   medicines aren't prescription but over the
  2         Q. -- whether the exposure                  2   counter in terms of being able to get that
  3    precedes the outcome?                            3   kind of data.
  4         A. Yes.                                     4       Q. Well, if it's a prospective
  5         Q. Okay. So why would you give a            5   pregnancy registry that's blinded, it's
  6    yes or no great weight?                          6   administered by researchers, so they have
  7         A. Because it would be hard to              7   that data, correct?
  8    meet causation under a Bradford Hill analysis    8       A. Well, I mean, that's the whole
  9    if the exposure did not precede the outcome.     9   point of cohort studies, right? You want to
 10         Q. Okay. So on the next page, on           10   collect that data prospectively with regards
 11    experiment, you ascribe lesser weight to        11   to exposure, and then you want to follow up
 12    experiment, correct?                            12   the individuals, and then you want to figure
 13         A. That's right.                           13   out what the hazard ratios are to determine
 14         Q. That was not a yes or no                14   the relationship between exposure and
 15    question, right?                                15   outcome.
 16         A. Well, you know, as I mention            16       Q. Right.
 17    here, it's harder to ethically conduct          17            And those aren't
 18    randomized experiments in humans with regard    18   double-blinded, correct?
 19    to, you know, prenatal acetaminophen            19       A. They're not, you know,
 20    exposure, and so you need to look to other      20   randomized, controlled trials contrasting
 21    areas such as animal models as well.            21   acetaminophen to ibuprofen, for example.
 22         Q. Right.                                  22       Q. Wasn't my question.
 23              But there is human data on            23            They're not -- those registries
 24    acetaminophen exposure during pregnancy,        24   that you're talking about are not
 25    right?                                          25   double-blind, correct?

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  1         A. Well, yes. There's                       1             You know what double-blind
  2    epidemiology data.                               2   means?
  3         Q. Okay. So your justification              3        A. I do know what double-blind
  4    for ascribing lesser weight here is              4   means.
  5    essentially that there isn't randomized          5             The information is collected
  6    clinical trials?                                 6   prospectively during pregnancy, and the
  7         A. Right. For ethical reasons, it           7   outcome measures are collected independent of
  8    would be impossible, really, to do those kind    8   those measures. But I guess the subjects are
  9    of randomized clinical trials, for example,      9   aware of whether or not -- you know, so
 10    comparing exposure to acetaminophen versus      10   they're not taking a blinded -- they're not
 11    exposure to ibuprofen, for example, in          11   taking a blinded medication. And it's true,
 12    pregnant women, and then follow them up and     12   you're right. I mean, that's the issue about
 13    look at the relationship between exposure and   13   randomized, controlled trials. You can't
 14    outcome --                                      14   give people either acetaminophen or, let's
 15         Q. You --                                  15   say, placebo to deal with their pain or their
 16         A. -- because of ethical issues.           16   fever and then follow them up. That would be
 17         Q. You know, don't you,                    17   a blinded kind of a trial.
 18    Dr. Hollander, that there are prospective,      18        Q. Right.
 19    double-blinded pregnancy registries, right,     19             And you've done those before,
 20    for this reason?                                20   right?
 21         A. Yes.                                    21        A. I haven't done them with
 22             Although getting back to your          22   regards to maternal exposure, but I do them
 23    earlier question about EB05, for example,       23   all the time in terms of looking at efficacy
 24    it's more challenging when there's a long       24   and safety with different medications.
 25    time lag, and it's more challenging when        25        Q. For example, treating autism

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  1    with marijuana, right?                           1   magnitude but by statistical significance in
  2         A. I have not conducted an autism           2   determining causality."
  3    trial with marijuana. That would be an           3            Do you see those words?
  4    incorrect statement.                             4        A. Yes.
  5         Q. Okay. Are you sure?                      5        Q. You typed those, right?
  6         A. Yes. I've conducted a trial              6        A. That's correct.
  7    with compounds derived from the cannabis         7        Q. Okay. You just disagreed --
  8    plant, which is cannabidivarin, which is not     8   you're arguing with yourself now?
  9    marijuana. It's not medical marijuana, no.       9        A. I'm not arguing with myself,
 10    It's extracting a compound from the plant and   10   and I -- so I'm stating that effect size or
 11    doing a randomized, controlled trial.           11   odds ratio in and of itself, so magnitude of
 12         Q. You've supervised trials trying         12   the effect, is not the only factor in
 13    to -- attempting to treat autism with a         13   considering strength of association.
 14    marijuana derivative, correct?                  14            So even if the magnitude of
 15         A. I am involved in a number of            15   odds ratio or a relative risk is moderate, if
 16    different trials that look at different         16   it reaches statistical significance or if
 17    components that affect both the                 17   it's repeated over and over and over again,
 18    endocannabinoid system and the                  18   then it would be a -- demonstrate a strong
 19    phytocannabinoid system. I have not             19   association.
 20    conducted a trial with medical marijuana.       20        Q. Did I read the words on the
 21              I have conducted a                    21   page in your report on page 8, Exhibit 52,
 22    placebo-controlled trial with cannabidivarin,   22   correctly?
 23    and I'm conducting another placebo-controlled   23        A. Well, I believe you read the
 24    trial with a different compound. And I will     24   words on the page. "I view the strength of a
 25    be conducting another placebo-controlled        25   perceived association not by magnitude but by

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  1    trial with a FAAH inhibitor that affects the     1   statistical significance in determining
  2    endocannabinoid system, but I have not           2   causality."
  3    conducted a trial with medical marijuana.        3            That's correct.
  4         Q. Okay. Dr. Hollander, with                4       Q. Okay.
  5    respect to strength of association, you view     5       A. However, that's not the only
  6    the strength of a perceived association not      6   factor. So statistical significance may be
  7    by the magnitude but by the statistical          7   one factor, but as we've discussed
  8    significance, correct?                           8   previously, consistency, confidence
  9         A. No.                                      9   intervals, replication, may be other factors.
 10         Q. Okay. Why not?                          10            But this is -- this is correct,
 11         A. Because there are different             11   this sentence, as you read it.
 12    factors to contin -- to sort of evaluate and    12       Q. Okay. And so when you answered
 13    to consider in terms of looking at strength     13   that you disagreed with that sentence
 14    of association. Statistical significance may    14   beforehand, you take that back, correct?
 15    be one factor but certainly not the only        15            MR. DOVEL: Objection. Form.
 16    factor.                                         16            THE WITNESS: I would say that
 17         Q. Turn to page 8, please.                 17       it depends on -- it depends.
 18         A. Okay.                                   18   QUESTIONS BY MR. MURDICA:
 19         Q. You see "Strength of                    19       Q. Okay.
 20    Association," part E?                           20       A. So, yes, statistical
 21         A. Yes.                                    21   significance may be more important than
 22         Q. Okay.                                   22   magnitude, but statistical significance is
 23         A. Right.                                  23   not the whole story. That's my answer.
 24         Q. Third sentence down. "I view            24       Q. Okay. On page 11 you say,
 25    the strength of perceived association not by    25   "Ultimately" -- are you on page 11?

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  1        A. I'm on page 11, yeah.                     1        A. I have heard of it before.
  2        Q. First paragraph, last sentence.           2   I've never utilized it on my own.
  3    I want to make sure you wrote this.              3        Q. Have you ever read a study
  4             "Ultimately, I did not have             4   prior to being involved in this litigation
  5    sufficient time to complete a written            5   that utilized a navigation guide?
  6    analysis of each of the studies in sufficient    6        A. In my practice, I frequently
  7    detail."                                         7   conduct a weight of the evidence, and so I do
  8             Did I read that correctly?              8   similar kinds of methods in order to, you
  9        A. You read it correctly.                    9   know, ascribe different kinds of numerical
 10        Q. Okay. Now, Dr. Hollander, why            10   factors to different weight of the evidence.
 11    didn't you have time to read the studies?       11            So, for example, in the
 12             MR. DOVEL: Objection to form.          12   practice guidelines that I've been involved
 13             THE WITNESS: I did have time           13   in, we do a very similar analysis. We do a
 14        to read the studies.                        14   pyramid or a hierarchy where we look at the
 15    QUESTIONS BY MR. MURDICA:                       15   different studies and different approaches.
 16        Q. Okay. Why didn't you have time           16   Then we weight each of those approaches in a
 17    to complete a written analysis of the           17   different way, and then we utilize that
 18    studies?                                        18   information in order to recommend treatments
 19        A. I had time to read the studies,          19   of different conditions.
 20    to process the information, to understand the   20        Q. Do you remember my question?
 21    information in detail.                          21        A. Well, I think your question
 22             What I didn't have time to do          22   is -- one is, did I ever use the navigation
 23    is an approach such as Dr. Baccarelli did       23   guide, and my answer was no.
 24    with a navigation guide where he weighted       24            But I have conducted an
 25    each of the different studies on a number of    25   approach which is similar, weighting

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  1    different criteria. That I -- that I did not     1   different studies on different variables, and
  2    have time to do.                                 2   integrating that into my practice. So the
  3        Q. Dr. Hollander, you were first             3   answer is yes.
  4    retained by the plaintiffs' lawyers here         4       Q. Okay. So that wasn't my
  5    months ago, correct?                             5   question.
  6        A. I think it was around                     6       A. Okay.
  7    February 23rd.                                   7       Q. My question was, prior to being
  8        Q. Right.                                    8   involved in this litigation, have you ever
  9            So you didn't have time between          9   read a publication that utilized the
 10    February and July to complete a written         10   navigation guide?
 11    analysis of the studies?                        11       A. I -- you know, I don't recall
 12        A. I had time to read all of the            12   whether or not I -- you know, I'm familiar
 13    studies. I had time to process the              13   with the term. I may have read a
 14    information of all of the studies. I did not    14   publication, but I don't recall that
 15    have time to weight each study on a number of   15   publication.
 16    different metrics. And in that case, I          16       Q. Okay.
 17    relied on Dr. Baccarelli's navigation guide     17       A. I haven't utilized that
 18    to do that.                                     18   specific navigation guide myself.
 19        Q. Okay. Have you, Dr. Hollander,           19       Q. Okay. Do you know when the
 20    ever used the navigation guide in any of your   20   navigation guide was first created?
 21    publications?                                   21       A. No.
 22        A. No.                                      22       Q. Do you know if it was created
 23        Q. Had you ever heard of the                23   30 years ago? 50 years ago? Five years ago?
 24    navigation guide before you read                24   Any idea?
 25    Dr. Baccarelli's report?                        25       A. I don't know.

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  1        Q. Okay. Also on this page.                  1   Bradford Hill analysis, you used
  2    "Accordingly, I have relied upon the analysis    2   Dr. Baccarelli's weighting of the articles
  3    and assessment of the epi in Dr. Baccarelli's    3   based on the navigation guide, correct?
  4    report."                                         4       A. That's correct. I --
  5             Did I read that correctly?              5       Q. Okay.
  6        A. Yes.                                      6       A. -- I review and rely on his
  7        Q. Okay. So before I asked you if            7   navigation weighting --
  8    you are rendering a causation opinion here       8       Q. Okay.
  9    based on the epidemiology separate and apart     9       A. -- in order for me to do my own
 10    from Dr. Baccarelli. But you say here that      10   Bradford Hill analysis.
 11    you're relying on his analysis and overall      11       Q. Utilizing his data, correct?
 12    assessment.                                     12       A. Using his particular weighting
 13             Correct?                               13   of the data, although I also conduct my own
 14             MR. DOVEL: Objection. Form.            14   review of the data.
 15             THE WITNESS: Well, I mean, I           15       Q. Okay. And the only
 16        think these sentences sort of describe      16   documentation, the only analysis, that we
 17        this. So I reviewed the existing            17   have regarding the data is what you have in
 18        scientific research. I didn't have          18   here because you didn't time to do a separate
 19        time to do a specific navigation guide      19   analysis, correct?
 20        analysis on each of the articles. I         20           And what you testified to
 21        rely upon his analysis and overall          21   today, fair?
 22        assessment using that guide to weight       22            MR. DOVEL: Objection. Form.
 23        each of the different articles.             23            THE WITNESS: Well, that's
 24    QUESTIONS BY MR. MURDICA:                       24       true. I didn't do a navigation
 25        Q. Dr. Hollander, you didn't do             25       analysis on each of the articles.

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  1    your own weighting of the articles; you're       1   QUESTIONS BY MR. MURDICA:
  2    relying on Dr. Baccarelli for that, correct?     2       Q. Okay. In the next paragraph,
  3         A. I didn't include a weighting of          3   you talk about Baker and Ji, right? That's
  4    each of the different articles. I did            4   the next sentence?
  5    include a Bradford Hill analysis, which          5       A. That's correct.
  6    incorporates the data from the analysis, to      6       Q. Okay. And you say, "Both
  7    inform and to guide the opinions that I          7   biomarkers serve as concrete measure of APAP
  8    offer.                                           8   exposure."
  9        Q. So is your testimony here today           9            Right?
 10    that you weighted the individual epidemiology   10       A. That's correct.
 11    studies as part of your Bradford Hill           11       Q. Were you aware that there was
 12    analysis, or you relied on Dr. Baccarelli's     12   an earlier Ji study that also used a
 13    weighting in doing your Bradford Hill           13   biomarker?
 14    analysis?                                       14       A. I believe that I have seen an
 15         A. Well, I'm relying upon his              15   earlier Ji study.
 16    navigation ratings of the epidemiology, but     16       Q. Do you know what it used as a
 17    I'm conducting my own Bradford Hill analysis    17   biomarker?
 18    utilizing the information.                      18       A. Perhaps you can show me that,
 19        Q. Utilizing his ratings, correct?          19   and I can take a look at it.
 20         A. Well, his ratings are one               20       Q. Yeah, we're going to do that.
 21    component. His ratings of the articles give     21   I was just seeing if you -- if you remember.
 22    you different strength weightings of each       22            Do you know what biomarker Ji
 23    individual article, which helps to inform my    23   2020 uses?
 24    Bradford Hill analysis.                         24       A. Yes.
 25        Q. Okay. So in doing your                   25       Q. What's that?

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  1         A. Umbilical cord blood.                    1   index of what was available from the company?
  2         Q. And it says it right there on            2             MR. DOVEL: That's going to
  3    the page, right?                                 3        invade --
  4         A. That's correct.                          4             MR. MURDICA: Well, I'm not
  5         Q. Okay. All right. And then if             5        going to ask for the index.
  6    we turn to page 12, you cite to Alemany,         6             MR. DOVEL: -- work product,
  7    right?                                           7        and so as a result, you're going to
  8         A. Yes.                                     8        have to rephrase that question.
  9         Q. Okay. And you say that Alemany           9             MR. MURDICA: I'm not going to
 10    found consistent positive association between   10        ask for the index. I'm just asking if
 11    prenatal APAP exposure and ADHD and ASD,        11        he asked for it.
 12    correct?                                        12             MR. DOVEL: You're asking about
 13         A. That's correct.                         13        communications. Under the federal
 14         Q. Okay. And we are going to look          14        rules, you're not allowed to do that,
 15    at that one in a minute.                        15        so I'll have to ask you to rephrase.
 16            On page 13, you have a section          16   QUESTIONS BY MR. MURDICA:
 17    titled "JJCI-Produced Documents."               17        Q. Dr. Hollander, do you know how
 18            Let me know when you're on              18   many millions of pages of documents the
 19    page 13. It's at the very bottom.               19   defendants produced in this litigation?
 20         A. Yes.                                    20        A. No.
 21         Q. Okay. You know that JJCI is             21        Q. Okay. Did you look at every
 22    the defendant here, right?                      22   document produced by the defendants in this
 23         A. That's correct.                         23   litigation, to your knowledge?
 24         Q. Okay. And you conclude the              24        A. No.
 25    paragraph on page 14, "Since these company      25        Q. Okay. And you know that,

                                         Page 182                                             Page 184
  1    documents do not consist of any new or           1   right?
  2    unknown primary evidence, I did not ascribe      2             Because you've been involved in
  3    any additional weight to them."                  3   litigation. You know that millions of
  4            Right?                                   4   documents are produced, right?
  5        A. Yes, I see that sentence.                 5        A. Well, it --
  6       Q. Okay. But you wrote that,                  6             MR. DOVEL: Objection. Form.
  7    right?                                           7             THE WITNESS: If what you're
  8        A. Yes.                                      8        saying is that there are millions of
  9       Q. Okay. So your intention here               9        pages of documents, then I wouldn't
 10    was to look at published data, not internal     10        have been able to review those
 11    company documents, right?                       11        millions of pages of documents.
 12        A. No.                                      12   QUESTIONS BY MR. MURDICA:
 13       Q. Okay. What company documents              13        Q. You reviewed what was provided
 14    did you ask for, and how did you get them?      14   to you, correct?
 15            MR. DOVEL: As phrased, that is          15        A. I asked for relevant documents,
 16        going to invade work product. You'll        16   and I reviewed them.
 17        have to have to rephrase that               17        Q. Okay. So you just said, I want
 18        question.                                   18   relevant documents, and that's what you --
 19    QUESTIONS BY MR. MURDICA:                       19   and you reviewed what you were given?
 20       Q. Dr. Hollander --                          20             MR. DOVEL: As phrased, that
 21        A. Yes.                                     21        calls for communications with counsel.
 22       Q. -- did you ask for company                22             MR. MURDICA: Look, I'm really
 23    documents?                                      23        not trying to get into your
 24        A. Yes.                                     24        communications, but I have to ask
 25       Q. Okay. And did you ask for an              25        questions in this area.

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  1            THE WITNESS: Could you                   1   you're looking at?
  2       rephrase that question, please?               2       A. Well, I would review material
  3    QUESTIONS BY MR. MURDICA:                        3   relevant to whatever question or hypothesis
  4       Q. Sure.                                      4   I'm testing.
  5            Your testimony is that you               5       Q. That's public, right? Public
  6    asked for relevant company documents,            6   material, correct?
  7    correct?                                         7       A. Well, I would say generally if
  8            MR. DOVEL: That question --              8   I'm publishing something, the -- well, the
  9            MR. MURDICA: He already                  9   material may be public, although obviously
 10       testified to it.                             10   there may be data that's not public that I
 11            MR. DOVEL: Yes, but that was            11   may review as well, as it relates to the
 12       not in response to a question. As a          12   hypothesis of the question.
 13       result, I'm going to prohibit you from       13       Q. If you're employed by the
 14       asking those questions, which you've         14   manufacturer in some sort, right? In some
 15       not only agreed to in the protocol           15   way?
 16       that was modified, you've also --            16       A. Well, that would be one case.
 17       subject to federal rules, you'll have        17       Q. Okay. And here, you said you
 18       to rephrase.                                 18   don't ascribe weight to the company
 19            MR. MURDICA: Look, I'll try             19   documents, correct?
 20       again, but that's not what our               20       A. No. It says I did not ascribe
 21       agreement was.                               21   any additional weight.
 22    QUESTIONS BY MR. MURDICA:                       22       Q. Okay. You identify forest
 23       Q. Dr. Hollander, when you were              23   plots, correct? That's what we're talking
 24    provided -- after you were provided             24   about in this paragraph?
 25    documents, did you ask any follow-up            25       A. That's correct.

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  1    questions about additional documents from the    1       Q. Okay. And the forest plots
  2    company?                                         2   were some internal company pictorial where
  3             MR. DOVEL: Just as phrased,             3   they put point estimates on a chart with
  4        you're asking about questions -- about       4   confidence intervals, correct?
  5        communications with counsel. You just        5       A. Well, the forest plots are from
  6        didn't put the word "counsel" in your        6   this Project Cocoon, and it's a visual
  7        question.                                    7   representation of the confidence intervals
  8             It's improper. You're going to          8   with regards to different studies looking at
  9        have to rephrase.                            9   exposure and outcome. So there are different
 10    QUESTIONS BY MR. MURDICA:                       10   forest plots for different outcomes.
 11        Q. Dr. Hollander, how many pages            11       Q. And you can go get that data
 12    of company documents did you review in          12   from the studies themselves, and indeed you
 13    preparation of your report and rebuttal         13   looked at the studies themselves, correct?
 14    report?                                         14       A. I have looked at the studies
 15        A. I don't recall.                          15   themselves.
 16        Q. Okay. Was it thousands?                  16            I think one thing that's very
 17        A. I don't think it was thousands.          17   informative, actually, is by looking at the
 18        Q. You don't have any                       18   visual representation of the confidence
 19    recollection?                                   19   intervals for the different studies all put
 20        A. I don't -- I don't think I               20   together, it provides a beautiful overview in
 21    reviewed thousands of documents.                21   terms of the consistency and the direction of
 22        Q. And in your regular work when            22   the findings across multiple different
 23    you're doing analyses to publish in the         23   studies with different outcome measures.
 24    scientific literature, do you get discovery     24       Q. And you could have done that
 25    from manufacturers involved in exposures        25   yourself based on the data, correct?

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  1        A. I think it's possible I could             1   in the sentences above the citation.
  2    have extracted the data from the individual      2       Q. Right.
  3    studies and then prepared a visual chart that    3            These are your words, right?
  4    represents the different confidence intervals    4       A. Yes.
  5    and different outcome measures.                  5       Q. Okay. Did you conduct the
  6             I was appreciative of being             6   literature analysis yourself?
  7    able to review that material.                    7       A. Yes.
  8        Q. All right.                                8       Q. Did you conduct the literature
  9        A. It was informative.                       9   search yourself?
 10        Q. There was no data in what you            10       A. Yes.
 11    reviewed that was new, that you didn't have     11       Q. Okay. How did you do it?
 12    from the literature itself, correct?            12       A. I did that by putting in search
 13        A. Yes. Each of the -- I guess              13   terms relating to exposure and outcome.
 14    each of the visual representations of the       14       Q. And where did you put the
 15    confidence intervals could have been            15   search terms?
 16    extracted from the original data.               16       A. To searchable databases such as
 17        Q. All right. Now, on the next              17   PubMed.
 18    page you have your strength of association      18       Q. Okay. And you did that after
 19    section.                                        19   you issued your initial report and before the
 20        A. Yes.                                     20   rebuttal, correct?
 21        Q. And in the third sentence you            21       A. No.
 22    say, "Importantly, the association between      22       Q. When did you do the PubMed
 23    APAP and exposure and ASD and ADHD has been     23   search?
 24    found consistently in meta-analyses and         24       A. Prior to my initial report.
 25    systemic reviews," correct?                     25       Q. Okay. And did you save the

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  1       A.      Systematic reviews.                   1   PubMed search?
  2       Q.      And systematic reviews.               2        A. No.
  3             And the first study you cite is         3        Q. Okay. Do you remember the
  4    Masarwa 2018, correct?                           4   search terms?
  5         A. Correct.                                 5        A. I remember -- well, let me see
  6         Q. And this came up earlier                 6   if I specified in any of the written material
  7    because you volunteered that this is in your     7   what the search terms were that I used.
  8    book chapter on autism, correct?                 8        Q. In medical literature, that's
  9         A. Correct.                                 9   usually -- when there's a search, that's
 10         Q. Okay. So let's take a look at           10   usually what the authors do, right? They
 11    Masarwa. You know what, I'm going to mark it    11   explain how they searched and what they
 12    in a second. I have a question first.           12   searched and what terms they used?
 13             To your recollection, Masarwa          13        A. Right. You specify what the
 14    supports your point here that there's an        14   databases are, and you specify what the terms
 15    association between APAP exposure and ASD,      15   are, right.
 16    correct?                                        16            I don't see a description of
 17         A. Well, in this paragraph, as             17   the search terms.
 18    it's describing it, it talks about the          18        Q. Okay. And sitting here today,
 19    association between prenatal APAP exposure      19   you don't remember what your search terms
 20    and ASD and ADHD outcomes.                      20   were, right?
 21         Q. Right.                                  21        A. Well, I can tell you what I
 22             So both of them. Masarwa               22   would have entered into it, but I don't
 23    supports your opinion on causation for both     23   recall specifically. And I'm not able to
 24    of them, correct?                               24   find, but I could look for it a little bit
 25         A. Well, both of them are listed           25   more, whether there's a description of the

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  1    search terms.                                    1   table.
  2        Q. Okay. If you end up finding it            2       Q. Can you say that again?
  3    at any point today, let us know.                 3       A. I don't believe that this, as a
  4        A. Okay.                                     4   meta-analysis, is included in the summary
  5             (Hollander Exhibit 53 marked            5   table.
  6        for identification.)                         6       Q. In other words, what you're
  7    QUESTIONS BY MR. MURDICA:                        7   looking at --
  8        Q. In the meantime, I'm going to             8       A. Is a summary table of the
  9    mark this as Exhibit 53.                         9   individual studies as opposed to the
 10             Dr. Hollander, do you now have         10   meta-analysis that utilizes pooled data from
 11    in front of you what's been marked as           11   the individual studies.
 12    Exhibit 53?                                     12       Q. Okay. So first of all, let's
 13        A. Yes.                                     13   mark that as Exhibit 54.
 14        Q. Okay. Do you recognize                   14            MR. DOVEL: Well, you can mark
 15    Exhibit 53 as the 2018 Masarwa study that you   15       the copy, but that's his --
 16    brought up earlier this morning and that we     16            MR. MURDICA: Sure, yeah, we'll
 17    just saw in your rebuttal report?               17       get -- we'll make copies of it.
 18        A. Yes.                                     18            MR. DOVEL: Yeah, that's going
 19        Q. When is the last time you                19       to remain with him. We're not
 20    reviewed this study?                            20       actually going to mark that. We can
 21        A. I guess prior to my rebuttal             21       mark the copy.
 22    report.                                         22            MR. MURDICA: Okay. We'll make
 23        Q. Okay. Do you recall, sitting             23       and mark a copy. Yeah, we'll
 24    here today, if this study -- if this -- this    24       photocopy it.
 25    is a meta-analysis, right?                      25            (Hollander Exhibit 54 marked

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  1        A. Yes.                                      1       for identification.)
  2        Q. Okay.                                     2   QUESTIONS BY MR. MURDICA:
  3        A. It's a systematic review                  3       Q. Okay. Back to Exhibit 53.
  4    meta-analysis and meta-regression analysis of    4            So I -- let me go back to my
  5    cohort studies.                                  5   original question. I think I have your
  6        Q. Sitting here today, do you                6   answer.
  7    recall if Masarwa, in 2018, controlled for       7            But as far as you know,
  8    genetic factors?                                 8   Dr. Hollander, Masarwa 2018 has not
  9        A. Let me take a look.                       9   controlled for genetic factors, correct?
 10        Q. And, Dr. Hollander, I know               10       A. No, I did not say that.
 11    there's a question pending, but you're -- you   11       Q. Oh, I'm sorry. That was my
 12    grabbed something.                              12   question.
 13             What is that? It doesn't look          13       A. Okay.
 14    familiar to me.                                 14       Q. Did Masarwa control for
 15        A. This is a summary table of the           15   genetics?
 16    different individual articles that was          16       A. Well, let's take a look at this
 17    prepared by Andrea Baccarelli.                  17   meta-analysis and see what he does.
 18        Q. So you printed and brought with          18            Well, in the -- in the methods
 19    you today a marked-up copy of                   19   underneath the meta-aggression, they talk
 20    Dr. Baccarelli's summary tables of the          20   about covarying for a whole range of
 21    articles?                                       21   different factors. But I don't believe that
 22        A. Yes.                                     22   they -- this is not a -- well, let's see what
 23        Q. Okay.                                    23   they have here.
 24        A. However, I don't believe that            24            So they -- you know, they
 25    this, as a meta-analysis, is in the summary     25   control for age at follow-up, fever, maternal

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  1    age at birth, smoking, socioeconomic,            1   that as a potential issue and then talks
  2    latitude, duration. And they -- you know,        2   about how that has been controlled, and the
  3    they look at them to understand confounders.     3   findings persist in spite of that.
  4         Q. Dr. Hollander, would you prefer          4            However -- let me just finish
  5    to go off the record and take some time to       5   here.
  6    review it?                                       6            MR. MURDICA: I know, Counsel,
  7              MR. DOVEL: No, we're not going         7       you said you don't want to go off the
  8         to go off the record.                       8       record, but I have a number of studies
  9              THE WITNESS: No, I'm almost            9       to go through, and it might save
 10         there. I've been able to review most       10       everybody time.
 11         of it.                                     11            THE WITNESS: Well, I don't --
 12              Well, they do comment on it.          12       so -- I mean, this meta-analysis does
 13              So first, as I mentioned, one         13       not use a sib-pair approach. There
 14         of the strengths of this is that they      14       are -- you know, there are problems
 15         covary for a long list of factors, and     15       with a sib-pair approach if there are
 16         they find that the association remains     16       mediators and moderators. It just
 17         significant despite covarying for a        17       wipes that out, so it's an
 18         broad range of factors.                    18       inappropriate approach.
 19              Then they talk about -- they          19            However, they do discuss the
 20         mention this Brandlistuen report:          20       potential for genetic factors, and
 21         "Increased risk for neurodevelopmental     21       then they review relevant literature
 22         disorders despite using a sib-matched      22       relating to that. And they say that
 23         analysis design, which would be            23       in that, the findings persist despite
 24         expected to minimize the effect of         24       controlling for that.
 25         maternal characteristics on the            25            But that this study itself,

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  1         observed observation."                      1       they don't -- they control for a large
  2              So they comment on that.               2       number of different factors. And they
  3    QUESTIONS BY MR. MURDICA:                        3       find even for controlling many of
  4         Q. And do you agree with that,              4       these factors, the findings persist,
  5    Dr. Hollander, that a sib-match design was a     5       so...
  6    good -- is a strong design?                      6   QUESTIONS BY MR. MURDICA:
  7         A. Well, I would say that it                7       Q. Dr. Hollander, did you see
  8    depends.                                         8   anything here in Masarwa that controlled for
  9              So it's one approach to try to         9   parental ADHD or ASD?
 10    control for genetic or familial factors. And    10       A. I don't see that they conducted
 11    there is one study that, you know, shows that   11   any -- like a stratification analysis, for
 12    in attempting to do that, there's still a       12   example, on those particular factors.
 13    strong association.                             13       Q. Okay. Dr. Hollander, do you
 14              But there are real problems           14   see anything in Masarwa 2018 that controlled
 15    with the sib-pair approach. And, you know,      15   for paternal age?
 16    the huge problem with that is that it           16       A. Actually, let's take a look at
 17    essentially negates the effects of mediators    17   that because I do...
 18    and moderators. And I'd like to give you a      18             Well, they do control for
 19    little explanation of that.                     19   maternal age.
 20         Q. You can, Doctor, when your              20       Q. Do you remember my question?
 21    counsel asks you a question. But I was --       21       A. Was it paternal age?
 22    let's stick to my original question, which is   22       Q. Yes.
 23    that -- did this meta-analysis control for      23       A. I'm looking at it now, and I'm
 24    genetics?                                       24   seeing if they controlled for paternal.
 25         A. The meta-analysis discusses             25             It's a strong study because

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  1    they used many, many different factors in        1   visual is really strong, actually, for the
  2    their meta-regression.                           2   relative risk ratios for the pooled data.
  3             Let's see.                              3       Q. If you turn to the discussion
  4             No, it looks like they look at          4   section --
  5    maternal age at birth, but I'm not sure that     5       A. Uh-huh.
  6    they included paternal age at birth.             6       Q. -- Dr. Hollander.
  7         Q. Okay. So as far as you could             7       A. Yeah.
  8    tell, Dr. Hollander, they haven't controlled     8       Q. About halfway down it says,
  9    for paternal age, correct?                       9   "However, results should be interpreted with
 10         A. I don't -- I don't see a                10   caution because there was evidence of
 11    listing of paternal age.                        11   heterogeneity between study estimates of the
 12         Q. Okay.                                   12   outcome."
 13         A. I do see the maternal age.              13            Do you see that?
 14         Q. And the data here is                    14       A. Can you direct me to the
 15    observational only, right?                      15   paragraph?
 16         A. Well, it's an observational             16       Q. Sure.
 17    study, but it's pooling different studies       17            Do you see the discussion
 18    that have been conducted, including cohort      18   section?
 19    studies, yeah.                                  19       A. Yeah, I do.
 20         Q. Right.                                  20       Q. It's on page 1822, halfway
 21             And the underlying data is             21   down. "However," on the left column.
 22    observational data, correct?                    22       A. Right.
 23         A. Right.                                  23       Q. That was my question before.
 24         Q. Okay. And notwithstanding,              24            Do you agree with that?
 25    Dr. Hollander, you think this is a strong       25       A. Well, I guess the issue is also

                                          Page 202                                            Page 204
  1    study, correct?                                  1   that -- so this first study, the Brandlistuen
  2         A. It is very strong.                       2   2013 --
  3         Q. Very strong study.                       3       Q. Right.
  4              And all of the things you were         4       A. -- is a relatively small study,
  5    reading were intended to eliminate bias and      5   which is relatively weak. But I would say
  6    confounding, correct?                            6   that all of the other studies show a strong
  7         A. Yeah. They do a lot of work to           7   positive association with confidence
  8    try to eliminate bias and confounding, and       8   intervals that don't cross 1.
  9    they get a strong relationship for exposure      9            So the -- you know, with the
 10    and outcomes, including, you know, age of the   10   exception of that study, there's not a lot of
 11    child on follow-up and duration of exposure.    11   heterogeneity. It looks like it's strong
 12    So they find a -- the dose-response             12   data that's been replicated over and over,
 13    relationship here.                              13   which just grows when you pool the data
 14         Q. Notwithstanding the authors             14   together with the bigger sample size.
 15    warn that there was evidence of heterogeneity   15       Q. Dr. Hollander, the Brandlistuen
 16    between the study estimates of the outcomes,    16   study you just mentioned, that's the one you
 17    right?                                          17   said earlier was a sib-control, correct?
 18         A. Well, there's great                     18       A. Let me take a look, because
 19    heterogeneity with each of the conditions,      19   that's 2013?
 20    and there's a range of different outcomes.      20       Q. Well, you were reading it from
 21              However, you know, what's             21   this article, but, sure.
 22    really remarkable about this is -- so they --   22       A. Because that --
 23    look, they have one, two, three, four, five     23       Q. Let the record reflect that
 24    individual studies, right? And then they        24   Dr. Hollander is going to Dr. Baccarelli's
 25    have an overall relative risk here. And the     25   tables to answer my question.

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  1         A. Okay.                                    1   endogenous endocannabinoid levels in the
  2         Q. Which will be marked as                  2   developing fetal brain. Let's say enhancing
  3    Exhibit 54.                                      3   those endogenous cannabinoid levels work via
  4         A. Let me take a look at that,              4   the CB1, and also that FAAH, you know, the
  5    actually, because that's...                      5   enzyme that, you know, creates this AM404 out
  6              So, I mean, if you see it, it's        6   of APAP, that there are genetic variations.
  7    the -- it's the first one. It's 2013, so         7   Then the effects of APAP would only be
  8    it's earlier. And let's take a look at what      8   recognized in those individuals who have
  9    they have to say with regards to                 9   variations of the CB1 receptor and variations
 10    heterogeneity later on, because...              10   in the FAAH receptor. So -- and that's a
 11              So the -- I mean, this study is       11   family or a genetic impact.
 12    really a strong study because they control      12            If you utilize a sib-pair
 13    for so many different potential confounders.    13   approach, then you'd take away those
 14    They do a sensitivity analysis.                 14   mediators of the CB1 and FAAH genetic
 15         Q. Dr. Hollander, I don't mean to          15   polymorphisms, then you lose the results.
 16    interrupt, but are you talking about Masarwa    16            So the problem there is that
 17    or Brandlistuen?                                17   there's a true association. But if you do a
 18         A. No, I'm talking about Masarwa.          18   sib-pair approach, it's impossible to
 19         Q. Okay. Earlier you testified             19   determine that because you've effectively
 20    that Brandlistuen has a sibling-control         20   taken away the mediators that mediate that
 21    design.                                         21   effect.
 22         A. Uh-huh.                                 22       Q. Right.
 23         Q. You don't recall that?                  23            And if that is in fact
 24         A. I do, actually.                         24   something that happens, that would persist in
 25         Q. Okay.                                   25   whatever sib-pair studies there were for --

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  1        A. Yes.                                      1   because it would be something that persisted
  2        Q. That was my question.                     2   regardless of the study population, correct?
  3        A. Right.                                    3   If they're siblings?
  4        Q. Okay.                                     4       A. Well, that would be a reason
  5        A. I do recall that.                         5   why utilizing a sib-pair approach would --
  6        Q. And you gave testimony about              6   like a -- bias the study towards the null
  7    how there could be a mediator in the             7   rather than away from the null.
  8    sibling-control design. And my question for      8       Q. Okay. If you turn to
  9    you is that if there's a mediator in the         9   page 1824.
 10    sibling-control design of an                    10             Do you see the strengths and
 11    acetaminophen/autism/ADHD study, that would     11   limitations section?
 12    be -- that mediator would be present in         12       A. Yes.
 13    whatever studies utilized sibling-control       13       Q. The second paragraph down,
 14    design, correct? For that same exposure and     14   second sentence, please tell me if I've got
 15    outcome.                                        15   this right. It says, "Only a limited number
 16        A. Well, so, let me see if I can            16   of studies were available for analysis, and
 17    try to interpret this -- the question in        17   all of the studies included were
 18    hand.                                           18   observational design. Most of the studies
 19             So we're talking about the             19   had some risk of bias, and the results
 20    relationship between exposure and outcome,      20   indicated significant heterogeneity."
 21    right? We're talking about some of the          21             Did I read that correctly?
 22    problems with a sib-pair approach.              22       A. You read that correctly.
 23             So let's say that                      23       Q. Okay. And I -- you agreed that
 24    acetaminophen, you know, functions as an        24   they were observational. And do you agree
 25    anandamide reuptake inhibitor, so it enhances   25   that they have risk of bias?

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  1         A. Well, every study has a                  1   strengths and the weaknesses of any
  2    potential risk for bias, and that's why when     2   individual study, and then you want to try to
  3    you design a study and when you analyze the      3   control for any of those potential
  4    data, you need to control for potential bias.    4   confounders or bias.
  5         Q. And you disagree with them here          5            So, for example, if you look at
  6    where they say the results indicated             6   the design of these studies, they collect
  7    significant heterogeneity.                       7   information about exposure during pregnancy,
  8             You don't see it, correct?              8   and then they look at different measures for
  9         A. Well, I really don't see much,           9   outcome many years later.
 10    actually. I see that there's a strong           10            The cohort nature of the
 11    consistency of the findings with these          11   studies, for example, control for things like
 12    studies, with one exception.                    12   recall bias as an example.
 13         Q. Okay. And two sentences                 13            The design of each of the
 14    down -- I had asked you about paternal age --   14   individual studies controls for various types
 15    it says, "In addition, ASD diagnosis is known   15   of bias.
 16    to be strongly related to advancing paternal    16            Now, what they're doing here is
 17    age."                                           17   they're pooling the data from the different
 18             You agreed with that earlier           18   studies. And in addition to doing that, then
 19    toady when I asked you, right?                  19   they're trying to look at other potential
 20         A. That's correct.                         20   sources that could be confounders or bias.
 21         Q. Okay. And it says, "However,            21            And then one of the ways to
 22    none of these studies included paternal age     22   deal with that, in addition to the original
 23    as a covariant."                                23   designs of the study, is then to, in a
 24             You just testified that                24   statistical fashion, try to control for those
 25    that's -- you didn't see it in here, correct?   25   potential confounders by covarying for them.

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  1         A. Well, I've testified that there          1   And they've done that as well.
  2    are -- they've adjusted for multiple             2       Q. And you think they've done a
  3    confounders, so they should be applauded for     3   great job at that, right?
  4    that. But it -- including maternal age. But      4       A. I think they've done an
  5    it's true that they didn't covary for            5   excellent job at that.
  6    paternal age.                                    6       Q. Okay.
  7         Q. Right.                                   7       A. I mean, no study can do endless
  8              And that's one of the things           8   amounts of covary. And you always have to
  9    that you, Dr. Hollander, associate with the      9   read these studies with some appropriate
 10    outcomes of ASD and ADHD, correct?              10   level of detail to look at the strengths and
 11         A. Well, let's go over that again,         11   the limitations. And then the authors need
 12    because I believe that that would actually      12   to discuss the strengths and the limitations.
 13    bias it towards the null rather than away       13            But discussing the strengths
 14    from the null.                                  14   and the limitations don't negate the findings
 15         Q. Okay.                                   15   of the study.
 16         A. So it wouldn't provide a -- it          16       Q. Okay. Dr. Hollander, if you
 17    would not provide for a differential. It        17   can go to the final page where it says,
 18    would be a nondifferential.                     18   "Implications for policy and practice," I
 19         Q. All right. So in your view,             19   have two more questions for you on this
 20    Masarwa's concern about paternal age here is    20   article.
 21    unjustified, correct?                           21       A. Right.
 22         A. No, I think that Masarwa is             22       Q. Halfway down, it says -- do you
 23    doing a good time -- a good job, actually.      23   see where it says, "Our results indicate"?
 24              So when you author an article         24       A. Yes.
 25    like this, you always have to consider the      25       Q. "Our results indicate a small

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  1    increase in the risks for ADHD and ASD in the    1   prospective design of these studies.
  2    offspring of women exposed to acetaminophen      2        The possibility of residual
  3    during pregnancy."                               3   confounding, yeah, I mean, they did --
  4             Did I read that correctly?              4   they did actually -- so they talk
  5        A. Correct.                                  5   about maternal characteristics. They
  6        Q. And do you agree that it's                6   did covary for maternal age.
  7    small?                                           7        It is true that you do want to
  8        A. No. I agree that, you know, if            8   address these different issues, right?
  9    you look at it, they talk about, you know,       9   So, for example, maternal
 10    statistically significant elevated risks that   10   characteristics. And this is
 11    vary depending on the outcome. So they talk     11   something that's come up. It is a
 12    about elevated relative risks that reach        12   good idea to take a look and see
 13    statistical significance.                       13   whether those maternal characteristics
 14             I guess we're getting back to          14   are a factor as a cofounder. Are they
 15    that sentence that you read before in terms     15   related to both the exposure and the
 16    of the magnitude of the effect versus the       16   outcome.
 17    statistical significance.                       17        So studies like Lupattelli have
 18             But if you look at one of the          18   tried to address that where they look
 19    points that I was making is -- if you look at   19   at the maternal characteristics, and
 20    these things and the consistency of the         20   then they try to determine whether or
 21    findings, they're replicated over and over      21   not the association between the
 22    again, and so they're statistically             22   exposure and the outcome persists even
 23    significant. You have odds ratios that are      23   if you control for those maternal
 24    above 1. And then there -- so they're --        24   characteristics.
 25    they're replicated as well, you know.           25

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  1        Q. Okay. The next sentence where             1   QUESTIONS BY MR. MURDICA:
  2    I just read, it says, "However, due to the       2       Q. And, Dr. Hollander, you see
  3    high heterogeneity in the observed               3   that genetic factors are listed as one
  4    association, the potential for exposure and      4   possibility for residual confounding, right?
  5    outcome misclassification and the possibility    5       A. That's right.
  6    of residual confounding" --                      6       Q. And you agreed with me earlier
  7        A. Right.                                    7   that parental ASD and ADHD diagnoses are not
  8        Q. -- et cetera, et cetera,                  8   controlled for here, correct?
  9    "further investigation evaluating the            9       A. I don't believe that it was --
 10    observed link is warranted."                    10   they didn't use that as a -- to covary.
 11        A. Right.                                   11       Q. And if the parents have ASD or
 12        Q. Do you, Dr. Hollander, agree             12   ADHD, that is a genetic factor, correct?
 13    that at this point -- that Masarwa, in 2018,    13       A. It's a -- well, it's a familial
 14    further investigation evaluating the observed   14   factor.
 15    link is warranted?                              15       Q. Sure. Familial factor.
 16             MR. DOVEL: Objection. Form.            16           Okay. Do you see the next
 17             THE WITNESS: Well, I think             17   sentence? "Considering the significant
 18        that the -- so this was published in        18   limitations inherent in the available
 19        2018. They talk about the potential.        19   research, we believe care should be taken to
 20        So, I mean, it's -- so again, you           20   avoid overstating the significance of the
 21        know, there is a -- you want to make        21   results of our analysis because this could
 22        sure that you're -- that you -- that        22   promote unnecessary anxiety among pregnant
 23        you don't have misclassification.           23   women."
 24        There are various ways to prevent that      24       A. I see that.
 25        from happening, for example, such as        25       Q. Do you see that?

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  1            Okay. Did I read that                    1       Q. And I take it, Dr. Hollander,
  2    correctly?                                       2   you don't -- you agree that you shouldn't
  3        A. You read it correctly.                    3   promote unnecessary anxiety among pregnant
  4        Q. And in your practice, you are             4   women by overstating risks, correct?
  5    asked by some of your patients if they should    5       A. No. I think it's part of the
  6    continue their medicine to treat their OCD,      6   risk versus benefit ratio discussion, that's
  7    autism, and other diagnoses like that,           7   correct. So you don't want to cause
  8    correct? While they're pregnant. During          8   unnecessary risk by freaking out the parents,
  9    pregnancy.                                       9   and you want to be able to engage in an
 10        A. Yes, I do have mothers who ask           10   accurate and informative discussion of risks
 11    me questions about whether or not they should   11   and benefits. But to do that, you need to
 12    take medicines during pregnancy, yeah. And      12   have accurate information about the -- both
 13    then we do engage in a risk versus benefit      13   the benefits and the risks.
 14    discussion.                                     14       Q. Okay. Doctor --
 15        Q. Right.                                   15       A. Absolutely.
 16            And they're asking you about            16       Q. Dr. Hollander, in the next
 17    medicines you prescribe, right?                 17   sentence, do you see that these authors, in
 18        A. They may be asking about                 18   2018, say that a causal link between exposure
 19    medicines that I prescribe, but -- or they      19   to acetaminophen and neurodevelopmental
 20    may be asking me about other medicines that     20   disorders --
 21    they could be taking over the counter as        21       A. Right.
 22    well.                                           22       Q. -- cannot be established at
 23        Q. But it's to treat -- they're             23   this point? This is in 2018 they're saying
 24    asking you about medicines to treat the         24   this.
 25    symptoms of the conditions that you're          25           Do you see that?

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  1    treating them for, correct?                      1       A. I see that. And they're --
  2         A. No, not necessarily. I mean,             2   they are engaging in a risk versus benefit
  3    they're asking me about risk in terms of         3   kind of analysis where they're saying you
  4    offspring, and they're asking me about risk      4   don't want to promote unnecessary anxiety; on
  5    versus benefit of them taking various kinds      5   the other hand, that this is important
  6    of medicines during pregnancy. And they want     6   information, and so additional work should be
  7    to engage in a discussion about the accurate     7   done to do a causal analysis, yes.
  8    risks versus the benefits of taking any of       8       Q. Okay. And do you agree with
  9    the compounds versus the potential -- the        9   them that as of this article in 2018, a
 10    negative outcome of having a child with ASD     10   causal link between exposure to acetaminophen
 11    or ADHD.                                        11   and neurodevelopmental disorders cannot be
 12        Q. Okay. So you're talking about            12   established?
 13    any medications at all, as if you were their    13            MR. DOVEL: Mr. Murdica, is
 14    obstetrician, right, Doctor?                    14       that beyond the scope of this phase,
 15         A. Well, I'm saying that in my             15       do you think, or not? What do you
 16    practice I have people coming to me all the     16       think?
 17    time, and I engage in a risk versus benefit     17            MR. MURDICA: I think it's a
 18    discussion with regards to different things     18       causation question.
 19    that they're taking because there may be        19            MR. DOVEL: Is it specific
 20    benefits to the mother, there may be risks to   20       causation or general causation? How
 21    the fetus. And to make an informed decision,    21       would you categorize that?
 22    I think that the clinicians and the patients    22            MR. MURDICA: I would
 23    and the families need to have accurate and      23       categorize that as how that
 24    up-to-date information in order to engage in    24       contributes to his body of knowledge
 25    that conversation.                              25       on causation. If he agrees that this

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  1    isn't enough right now.                       1      wanted to see whether it persisted
  2          MR. DOVEL: So we can ask all            2      even when they controlled for various
  3    your witnesses about the same subject.        3      kind of factors. It did persist.
  4          MR. MURDICA: Sure.                      4      They recognize that this is sort of
  5          MR. DOVEL: Okay.                        5      widely used, but they're getting a
  6          THE WITNESS: Well, I'm saying           6      signal, and they're suggesting that
  7    that the authors are being                    7      people should really do all the work
  8    appropriately cautious and                    8      to establish causality in order to be
  9    conservative. And what they're saying         9      able to change the risk versus benefit
 10    here is that careful inspection of           10      discussion and the labeling relating
 11    policies -- and I guess they also mean       11      to this product.
 12    package inserts as well, patient             12   QUESTIONS BY MR. MURDICA:
 13    leaflets, because there's unsupervised       13      Q. So in your analysis,
 14    and widespread use of acetaminophen,         14   Dr. Hollander, this study, this Masarwa 2018
 15    and it's claimed to be a safe,               15   study, wasn't enough to make you determine
 16    nonprescription medication.                  16   that there's a causal relationship between
 17          However, they're showing a             17   acetaminophen and ASD and ADHD, correct?
 18    strong and significant association           18           MR. DOVEL: Objection. Form.
 19    that persists, despite various kinds         19           THE WITNESS: Well, I'm saying
 20    of ways to measure or to address             20      that this is strong evidence. I
 21    confounders or sources of -- sources         21      utilized this in, you know, performing
 22    of bias that persist despite all of          22      my analysis in causation. So it's one
 23    that.                                        23      piece of strong evidence. It's not
 24          So it's a signal that's of             24      the only evidence.
 25    concern, and that more work needs to         25

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  1       be done in order to reach a causal         1   QUESTIONS BY MR. MURDICA:
  2       analysis.                                  2       Q. Okay. Dr. Hollander, can
  3    QUESTIONS BY MR. MURDICA:                     3   you --
  4       Q. And my question for you,                4           MR. DOVEL: If you're going to
  5    Dr. Hollander, is if you agree with that.     5       move to another topic, we should take
  6       A. Well, I would say --                    6       a break.
  7            MR. DOVEL: Let me insert an           7           MR. MURDICA: Sure.
  8       objection.                                 8           MR. DOVEL: Let's go off the
  9            Objection. Form.                      9       record.
 10            You can respond.                     10           VIDEOGRAPHER: The time right
 11            THE WITNESS: So I would say          11       now is 2:29 p.m. We are off the
 12       that in my causal analysis, you know,     12       record.
 13       I was able to look at the results of      13        (Off the record at 2:29 p.m.)
 14       this study along with multiple other      14           VIDEOGRAPHER: The time right
 15       meta-analytic and systemic reviews and    15       now is 2:40 p.m. We are back on the
 16       individual studies. I was also able       16       record.
 17       to review the animal literature.          17   QUESTIONS BY MR. MURDICA:
 18            And then I was able to use a         18       Q. Welcome back, Dr. Hollander.
 19       standardized methodology to be able to    19       A. Thank you.
 20       review all of that to determine a         20       Q. Are you ready to proceed?
 21       causal relationship. So I agree that      21       A. Yes, I am.
 22       they didn't do that here.                 22       Q. Okay. Dr. Hollander, we
 23            What they did is they took a         23   discussed the concept of heterogeneity in the
 24       series of individual epidemiology         24   context of Exhibit 53, the Masarwa 2018
 25       studies, they pooled the data, they       25   study, and the authors noted heterogeneity.

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  1    You maybe didn't see it that way.                1   to these neurodevelopmental disorders,
  2             But here's my question. Can             2   there's a lot of heterogeneity in terms of
  3    you tell us how you defined heterogeneity in     3   the clinical symptom domains.
  4    the context of a meta-analysis?                  4       Q. Dr. Hollander --
  5         A. I guess -- well, heterogeneity           5       A. Yes.
  6    means different presentations, different         6       Q. -- in the context of
  7    components.                                      7   meta-analyses generally, does heterogeneity
  8             So I guess they look -- they            8   describe differences in the studies in terms
  9    look at these five studies over and over         9   of the methods of data observation and
 10    again from different perspective, and they're   10   collection and things like that?
 11    all cohort studies. You know, they differ in    11       A. Well, I think you have to
 12    terms of the year that they were conducted      12   interpret it within the context that the word
 13    and they differ in terms of the outcome.        13   is used.
 14             So, you know, some of these            14            So here they're talking about
 15    things look at things like hyperactivity.       15   heterogeneity in terms of the relative risk
 16    Some of them look at conduct disorder. Some     16   for neurodevelopmental outcomes, and they
 17    of them look at ASD. Some of them look at       17   also describe that there are differences in
 18    ADHD.                                           18   terms of the design, the setting, the
 19             I would say that there's               19   populations. So then they also talk about
 20    heterogeneity with it -- as it relates to the   20   the different tools as well.
 21    outcome -- the outcome or the domains of        21            So I guess you can have
 22    interest, and I would say that there's some     22   heterogeneity as it relates to the results.
 23    variation as it relates to the risk ratios as   23   You can have heterogeneity as it results
 24    well.                                           24   {sic} to the design of the individual
 25         Q. Okay. So your definition in             25   studies. You could have heterogeneity in

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  1    the context of Exhibit 52 is that                1   terms of the outcome.
  2    heterogeneity is difference in the outcome.      2        Q. Okay. And since you disagreed
  3    Some studies looked at ADHD; some studies        3   with the authors on the heterogeneity, I was
  4    looked at ASD.                                   4   just asking what your definition is.
  5             Is that -- is that your                 5            So if that's -- if you just
  6    testimony?                                       6   gave us your best answer, that's good enough
  7        A. Well, there are, you know, a              7   for me.
  8    whole range of different kinds of outcomes       8        A. Well, so let me -- let me put
  9    that are looked at across these different        9   it this way, that if -- so actually, even in
 10    studies. I guess we could take a look and       10   the context here, they're referring to
 11    see what's the context or how they use that     11   heterogeneity in different ways. So they're
 12    word "heterogeneity" here.                      12   talking about -- so they're saying all of the
 13        Q. Well, Doctor, I'm actually               13   studies tended towards increased risk for
 14    asking you. How do you use -- what's your       14   neurodevelopmental outcomes, but then they're
 15    definition of heterogeneity?                    15   talking about significant heterogeneity,
 16        A. Heterogeneity --                         16   which they say can be explained by
 17             MR. DOVEL: Let me insert an            17   differences. And then they, you know -- they
 18        objection.                                  18   talk about things like design, setting,
 19             Objection. Form.                       19   population.
 20             You can respond.                       20            So -- they actually are -- you
 21    QUESTIONS BY MR. MURDICA:                       21   know, they're not saying that there are --
 22        Q. Okay.                                    22   because they're -- even in this sentence,
 23        A. Okay. Well, I would use                  23   they are saying all of the studies show
 24    heterogeneity as a variation in presentation,   24   increased risk for neurodevelopmental
 25    a variation in outcome or -- so as it relates   25   outcomes. So I guess I agree with them in

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  1    that respect, yeah.                              1   pregnancy, correct?
  2        Q. Okay. So are you -- are you               2       A. Well, I engage in a risk versus
  3    broadening your definition of heterogeneity      3   benefit discussion with regard to
  4    compared to how you were answering before our    4   prescription and nonprescription medicines --
  5    break?                                           5       Q. Right.
  6         A. Well, I'm -- I'm -- I've looked          6       A. -- with my patients.
  7    at the article. I'm trying to understand         7       Q. And you've done that with
  8    their use of the term, and I'm seeing that       8   respect to your patients and acetaminophen,
  9    they better define the term "heterogeneity"      9   correct?
 10    in the discussion section, and then they talk   10       A. I have.
 11    about it there, yeah.                           11       Q. Okay. And you tell your
 12        Q. Dr. Hollander, have you ever             12   patients now not to take acetaminophen,
 13    conducted a meta-analysis?                      13   correct?
 14         A. Well, I read meta-analyses and          14       A. No. I say that there are risks
 15    interpret meta-analyses all the time. I'm       15   and benefits of taking any medication during
 16    not sure that I have conducted a                16   pregnancy.
 17    meta-analysis where I've taken a series of      17       Q. Okay. Do you tell your
 18    published studies and then I've pooled the      18   patients if -- if you have a patient that's
 19    data and published it as a meta-analysis.       19   pregnant and has a migraine, do you -- and
 20        Q. So then would it be fair to              20   they say, Dr. Hollander, can I take
 21    assume that you've never tried to analyze a     21   acetaminophen, what do you say?
 22    group of studies to determine whether the       22       A. Well, I did offer an opinion
 23    data was homogeneous or heterogenous, right?    23   with regards to that in my initial expert
 24         A. No. Because in my reading of            24   report, which is that I would say that for a
 25    the meta-analysis, I would be able to address   25   woman experiencing pain, I would tell them

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  1    that.                                            1   that there are potential benefits and
  2        Q. So I want to make sure I got              2   potential risks, but for the use of pain, the
  3    that answer right.                               3   risks may outweigh the benefits, and that I
  4            Your testimony is that you have          4   would limit the amount of medication; that
  5    analyzed different published data sets to        5   they should take the absolute smallest number
  6    determine if they're heterogeneous or            6   of doses for the shortest period of time and
  7    homogenous?                                      7   to consider other alternatives.
  8        A. No, I didn't say that.                    8       Q. Okay. So for one of your
  9        Q. Okay.                                     9   pregnant patients experiencing migraine
 10        A. I said that I haven't myself             10   during pregnancy, you would -- you would say
 11    conducted meta-analytic studies but that I      11   that the risks outweigh the benefits,
 12    read and interpret them all the time.           12   correct?
 13        Q. Okay.                                    13       A. Well, I would inform her of
 14            Earlier, before our last break,         14   information with regards to increased risk of
 15    you were talking about giving advice on         15   neurodevelopmental outcomes, and I would say
 16    medication intake to pregnant women,            16   that the risk -- there's a dose-response
 17    particularly pregnant patients of yours.        17   relationship, so that increasing dose and
 18            Do you recall that?                     18   increasing duration would further exacerbate
 19        A. Yes. Either women who were               19   those risks.
 20    pregnant or women who were considering          20            And then I would examine the
 21    becoming pregnant.                              21   potential benefits and then see if the woman
 22        Q. Okay. And despite not being              22   could do without, that they would be aware of
 23    board certified in obstetrics, you offer your   23   what the potential risks are, and then
 24    advice on any range of over-the-counter or      24   consider other strategies as well.
 25    prescription medication for your patients in    25       Q. What other strategies are there

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  1    to treat migraine in pregnancy?                  1   and then I would look at all of the
  2        A. Well, there are other                     2   prescription options. Then I would review
  3    prescription and nonprescription medicines       3   the literature, or I would review what
  4    that can be used for migraine.                   4   category they are, the risks, the benefits
  5        Q. What would you recommend over             5   for each of those alternatives. And I would
  6    acetaminophen, Doctor?                           6   also even consider other nonprescription
  7        A. Well, so this is a key issue              7   medicines as well.
  8    here in this particular case. I think one of     8            And I think that it's important
  9    the things that I find concerning was that       9   to have a -- you know, an absolute and a
 10    mothers were counseled that it was unsafe for   10   relative risk versus benefit for the
 11    them to take nonsteroidal anti-inflammatory     11   different medicines and classes of medicines
 12    medicines such as ibuprofen and aspirin         12   in order to engage in that discussion with
 13    because of the peripheral effects of those      13   patients.
 14    medicines. And so they were encouraged to       14       Q. So you would see what
 15    take acetaminophen because acetaminophen        15   Hippocrates says, the program, right?
 16    didn't have those peripheral effects.           16       A. Well, I like Epocrates, but --
 17             The problem is that                    17       Q. Epocrates. You would see what
 18    acetaminophen has central effects, and the      18   Epocrates says?
 19    central effects were not well-characterized     19       A. Well, that would be one way to
 20    with regards to neurodevelopmental outcome.     20   explore the other alternatives.
 21             So that I would inform them            21            The other would be to engage in
 22    about the potential risks for taking            22   a discussion: Well, all right, so here is
 23    acetaminophen during pregnancy, and also in     23   the data with ibuprofen, for example. Here
 24    terms of dose and duration. And I would         24   are what are the known risks for ibuprofen.
 25    caution about the use of that in situations     25   Here's the data for acetaminophen. Here are

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  1    where it's not essential, and I would            1   the known risks for acetaminophen. Let's
  2    consider other alternatives.                     2   have a discussion and see how this applies to
  3             When I reviewed the literature          3   you as an individual.
  4    with regards to ibuprofen, I was surprised to    4        Q. Do you know what Epocrates says
  5    see, actually, that the literature is ex --      5   about acetaminophen right now?
  6    very modest with regards to the potential        6        A. Well, I haven't -- actually,
  7    risks or outcomes with regards to ibuprofen,     7   I'm not -- it would be good to take a look at
  8    for example, with regards to kidney and          8   that. You know, as I mentioned before,
  9    amniotic fluid and trying to balance the         9   it's widely assumed by clinicians and
 10    risks and the benefits.                         10   patients and their families that
 11             I would not encourage my               11   acetaminophen is a Category B medicine, but
 12    patients to not take nonsteroidal and           12   that may not be the case given the labeling,
 13    encourage them to take acetaminophen. I         13   the more recent prescription versions, where
 14    would encourage them not to take                14   it's no longer listed as a Category B.
 15    acetaminophen unless absolutely necessary.      15        Q. You said you were going to go
 16    For example, for high fever.                    16   to Epocrates. That was your answer, right?
 17        Q. Right.                                   17        A. I -- no, I said that that might
 18             And do you remember my                 18   be one way that I would look into other
 19    question, Doctor? It was what, for your         19   alternatives.
 20    pregnant patients with migraine --              20        Q. Name one alternative to
 21        A. Yeah.                                    21   acetaminophen, other than ibuprofen, for
 22        Q. -- during the pregnancy, what            22   migraine during pregnancy for one of your
 23    else would you recommend they take other than   23   patients.
 24    acetaminophen?                                  24        A. There are various prescription
 25        A. And I would go on to Epocrates,          25   medicines for migraine, so -- there are a

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  1    number of prescription medicines for             1           You know, do you not,
  2    migraine, so I would go on -- I would            2   Dr. Hollander, that pregnancy categories were
  3    determine the risks and benefits for those       3   abolished in 2015?
  4    prescription medicines for migraine, and then    4       A. I do know that those are --
  5    I would weight it, and then I'd have a           5   well, not active, but I do know that -- and
  6    discussion with the patient.                     6   they don't necessarily apply to
  7        Q. Topiramate is one prescription            7   over-the-counter medicines as well. But I do
  8    medication for migraine, correct?                8   know that there are warnings with regards to
  9        A. Topiramate is one prescription            9   pregnancy and lactation for prescription
 10    medicine for migraine.                          10   medicines.
 11        Q. Would you give your -- would             11       Q. Right.
 12    you recommend your patient take topiramate      12           My question was, you were
 13    over acetaminophen during pregnancy for         13   referencing pregnancy categories. You know
 14    migraine?                                       14   those haven't been used since 2015, correct?
 15        A. No, I don't think that I would           15       A. I know that that was modified,
 16    go to topiramate as an alternative.             16   yes.
 17        Q. Okay. It's one of the only               17       Q. Do you disagree with anything I
 18    medications indicated for migraine, correct?    18   just said? Because you didn't give me a
 19        A. No. There are other medicines            19   clean answer.
 20    that are also indicated for migraine.           20       A. Well, I mean, I think even
 21        Q. Not a ton of them, right?                21   before that time they didn't necessarily
 22             MR. DOVEL: Objection. Form.            22   apply to over-the-counter. So they only
 23             THE WITNESS: There are a               23   applied to prescription medicines.
 24        number of prescription medicines, and       24       Q. Okay. Doctor, you know that
 25        there are traditional medicines that        25   the American College of Obstetricians and

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  1        are used for prophylaxis against             1   Gynecologists recommend during pregnancy that
  2        migraine, so there are several               2   a woman with migraine should, in fact, take
  3        alternatives.                                3   acetaminophen. As of today, that's the
  4    QUESTIONS BY MR. MURDICA:                        4   recommendation, correct?
  5        Q. You know -- you know some of              5       A. That's a mistake.
  6    the migraine medications are known               6       Q. Okay. But you know that that's
  7    teratogens, correct?                             7   the case, and you just disagree with it,
  8             MR. DOVEL: I'm not getting              8   right?
  9        time to put my objections in here, so        9       A. I disagree with it, and I
 10        if you could just give me a chance so       10   believe that that organization will modify
 11        we don't overlap the court reporter.        11   those recommendations over time as they
 12             THE WITNESS: Thank you.                12   incorporate epidemiology and animal model
 13             MR. DOVEL: Objection. Form.            13   data.
 14    QUESTIONS BY MR. MURDICA:                       14       Q. Have you, in your practice,
 15        Q. You know that some of the                15   recommended against the ACOG recommendation
 16    medications specifically indicated for          16   to any of your patients who were pregnant?
 17    migraine are teratogens, correct?               17       A. I have recommended to my
 18        A. Well, I do know that. I do               18   patients who were pregnant or considering
 19    know, for example, that valproate is a          19   getting pregnant that they -- that it was not
 20    classic medicine that actually has              20   safe to use acetaminophen and that they would
 21    antimigraine effects and that also is a         21   be at increased risk.
 22    medicine that causes neurodevelopmental         22            So, yes, I've -- I have not
 23    disorders.                                      23   adopted their suggestions because I feel that
 24        Q. You said something about                 24   that would be potentially harmful to my
 25    pregnancy categories earlier.                   25   patients.


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  1        Q. Okay. Does your practice -- do            1   of 2023?
  2    you have a medical practice with other           2       A. Yes.
  3    doctors?                                         3       Q. Okay. After February of 2023?
  4        A. Yes.                                      4       A. Yes.
  5        Q. Okay. Do they know that you're            5       Q. Okay. So between February and
  6    recommending against medical organization        6   June of 2023, you did your Bradford Hill,
  7    guidelines to your patients?                     7   correct?
  8        A. So, you know, doctors need to             8       A. That's correct.
  9    inform themselves of risks and benefits and      9       Q. And that's when you first
 10    engage in those kind of discussions with        10   determined that there was a causal
 11    their patients. They want accurate              11   relationship between acetaminophen and ADHD
 12    information.                                    12   and ASD, correct?
 13        Q. All right.                               13       A. That's correct.
 14        A. Yeah, so we would turn to                14       Q. Okay. We were talking about
 15    available information to have a discussion      15   Exhibit 52, Masarwa 2018, for quite a while
 16    with our patients, and we would not just        16   before the last break.
 17    adopt a recommendation from an organization,    17           You remember that discussion?
 18    particularly if we disagree with it.            18           MR. DOVEL: 52 or 53?
 19        Q. Okay. Right.                             19           MR. MURDICA: 53. Sorry, 53.
 20             And you didn't come to your            20           MR. DOVEL: Before we go on, do
 21    conclusion about acetaminophen and ASD and      21       you have his documents? Let's --
 22    ADHD until you were paid by plaintiffs'         22           MS. JOHNSTON: I do, yeah.
 23    lawyers to look at it, correct? This is all     23   QUESTIONS BY MR. MURDICA:
 24    new?                                            24       Q. Are you ready to proceed,
 25             MR. DOVEL: Objection. Form.            25   Doctor?

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  1             THE WITNESS: No, that's not             1        A. Yes, I am.
  2        correct. So --                               2        Q. Okay. If you look back at your
  3    QUESTIONS BY MR. MURDICA:                        3   amended -- or your rebuttal report on
  4        Q. Okay.                                     4   page 15 --
  5        A. -- as I mentioned, I -- after             5        A. Yes.
  6    evaluating all of the data, including            6        Q. -- for me.
  7    epidemiology data and animal model data, and     7            Okay. This is how we got onto
  8    what -- and performing a Bradford Hill           8   the topic of Masarwa.
  9    analysis, I formed an opinion with regards to    9            You see on page 15, Masarwa is
 10    causation.                                      10   your first listed study where you say
 11        Q. Right.                                   11   association between APAP exposure and ASD and
 12        A. And then I utilized that                 12   ADHD has been found consistently in
 13    opinion in terms of my discussions with my      13   meta-analyses and systemic reviews --
 14    patients.                                       14   systematic reviews, right?
 15        Q. Right.                                   15        A. Correct.
 16             And that opinion on causation          16        Q. Okay. Now, I looked through
 17    you just formed when you did Bradford Hill      17   your report, and I don't see any other
 18    last month, correct?                            18   Masarwas.
 19        A. I did that prior to my initial           19            Is that right?
 20    report.                                         20        A. Well, I can take a look and see
 21        Q. Okay. When did you do that?              21   if -- you mean --
 22    When did you do the Bradford Hill?              22        Q. Well, do you --
 23        A. Prior to my initial amended              23        A. -- Masarwa in a different year
 24    report.                                         24   or --
 25        Q. Okay. So prior to June                   25        Q. Yeah. Right.


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  1            Do you recall seeing any                1       A. Yeah, I recall seeing it.
  2    other -- in all the work that you did to        2       Q. You read everything in your
  3    prepare for this, do you recall seeing any      3   reliance list?
  4    other Masarwas?                                 4       A. Yeah, I relied on all this
  5        A. It's possible, but I don't               5   information.
  6    recall.                                         6       Q. I asked you, did you read
  7        Q. Okay. So you don't -- because            7   everything in the reliance list?
  8    I didn't see it in here.                        8       A. I reviewed it. I didn't read
  9        A. Okay.                                    9   every word in every article, but I did review
 10        Q. You don't know that two years           10   these articles and incorporate them into my
 11    later Masarwa did an analysis on the biases    11   opinion.
 12    on --                                          12       Q. Okay. So you didn't -- you
 13        A. Oh, I'm sorry, I do -- you              13   didn't cite Masarwa 2020 in your opinion; you
 14    know, I do know it, and I did cite it in my    14   quoted Dr. Faraone.
 15    report.                                        15           But my question is this,
 16        Q. Okay. And what page is that?            16   regardless, Dr. Hollander, do you recall what
 17        A. I cited it on page 24.                  17   Masarwa 2020 determined?
 18        Q. Okay. So, Doctor, you know --           18       A. Well, I can -- I can tell you
 19    on page 24.                                    19   what Faraone was quoting from the Masarwa
 20            Oh, which report are you               20   2020.
 21    looking at?                                    21       Q. Well, Dr. Hollander, you quoted
 22        A. The rebuttal report. It's               22   that because you disagree with Dr. Faraone,
 23    under A, Surveys in Lieu of Clinical           23   correct?
 24    Diagnoses.                                     24       A. I do disagree with Dr. Faraone.
 25        Q. Your --                                 25       Q. Okay. So sitting here today,

                                           Page 246                                          Page 248
  1        A. And then I'm actually citing             1   you don't -- you don't know what Masarwa 2020
  2    the Faraone report at 67.                       2   says, right?
  3        Q. Okay. Oh, right. You're                  3        A. Well, the issue at hand is
  4    quoting Faraone?                                4   differential versus nondifferential
  5        A. Yeah.                                    5   misclassification. So misclassification that
  6        Q. Yeah, that's not -- that's a             6   affects both cohorts, so in terms of outcome,
  7    quotation of Faraone's report.                  7   really doesn't have an effect. So the issue
  8        A. Right.                                   8   is really whether there's a differential bias
  9        Q. Okay. So your report -- do you           9   or a nondifferential bias.
 10    know what Masarwa 2020 says?                   10        Q. And did you -- did you do that
 11        A. Well, I can -- know what it             11   analysis and make that determination with
 12    says as it relates to Faraone quoting that.    12   respect to Masarwa 2020?
 13        Q. Right.                                  13        A. Well, I can do that with
 14             You didn't go and get it              14   regards to any study.
 15    yourself, correct?                             15        Q. Right.
 16        A. Well, I'm not sure if I --              16            And did you do that before you
 17    well, let's take a look at the materials       17   rendered your opinions here?
 18    cited list.                                    18        A. Well, let's take a look at my
 19             Yeah, I cited both the 2018           19   rebuttal report here.
 20    study, and I also cited the 2020 study.        20        Q. Let me know what page you're
 21        Q. That's in your list of reliance         21   on.
 22    materials, correct?                            22        A. I'm on page 24.
 23        A. That's right.                           23            Right. Okay.
 24        Q. Right.                                  24        Q. Okay. So did you do an
 25             Do you recall reading it?             25   analysis on Masarwa 2020, and if so, what was

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  1    your conclusion?                                1   aspects to the follow-up or outcome measure.
  2        A. Well, I did an analysis on all           2             So one aspect could be
  3    of the available literature with regards to     3   utilizing valid and reliable scales. Another
  4    differential and nondifferential                4   way to do that would be to examine medical
  5    misclassification.                              5   records for diagnostic codes.
  6        Q. And misclassification as to              6             Medical records for the
  7    what?                                           7   diagnostic codes or the well-validated
  8        A. So what Dr. Faraone is                   8   outcome measures that are administered are
  9    contending that Masarwa said is that he's       9   done without the knowledge of the exposure.
 10    suggesting that caregiver-reported             10   So they're not influenced -- so they're
 11    questionnaires could -- or even health care    11   independent variable from the exposure
 12    provider diagnoses could somehow have a        12   variable, both in terms of temporality,
 13    nondifferential misclassification if the       13   because the exposure variable is collected at
 14    provider knows about the parent's use of       14   the time of pregnancy, and the outcome
 15    acetaminophen.                                 15   measure is collected over time in this kind
 16        Q. Okay. And you disagree with             16   of longitudinal kind of follow-up.
 17    Dr. Faraone on that, correct?                  17             And then the other point is
 18        A. Oh, yeah, I do. I do disagree.          18   that there are various ways to kind of get
 19        Q. Okay. And is that why Masarwa           19   that outcome measure. The outcome measure
 20    2020 is not cited in your statement            20   can be based on validated scales, or the
 21    affirmatively?                                 21   outcome measures could be based on clinical
 22        A. Well, I did mention that it is          22   diagnoses.
 23    in my materials relied upon list.              23             But there's -- that's a --
 24        Q. Right. Sorry, I'm talking --            24   that's a nondifferential classification,
 25    I'm talking about your rebuttal report. Your   25   because any kind of bias that could happen

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  1    report.                                         1   would be independent of the cohort.
  2             MR. DOVEL: Objection. Form.            2       Q. Dr. Hollander, do you know that
  3    QUESTIONS BY MR. MURDICA:                       3   Masarwa 2020 determined that unmeasured
  4         Q. Dr. Hollander, you didn't --            4   confounding caused their results in 2018 and
  5         A. Yes.                                    5   it was not a valid correlation?
  6         Q. You didn't find Masarwa 2020 to         6       A. Well, I know that unmeasured
  7    be important enough to cite, correct?           7   confounding is always a potential concern.
  8             And in fact, you disagreed with        8   So that means that it's possible that some
  9    Dr. Faraone's citation of it?                   9   variable that hasn't been considered is
 10         A. Well, I do disagree, yes.              10   influencing the relationship between the
 11         Q. Okay. I'm going to mark --             11   exposure and the outcome, right? So there's
 12         A. And I can explain a little bit         12   un -- unknown variable.
 13    more about --                                  13            There are other ways to deal
 14         Q. Go ahead. Explain it, please.          14   with that, such as the use of negative
 15         A. So that, look, these are cohort        15   controls. So a negative control would take
 16    studies, right? So you have exposures being    16   away that as a potential risk because the
 17    assessed at one time point. And then you       17   negative control would be looking at it at
 18    have a prospective study where then            18   the different time points.
 19    individuals go on to develop the disorder,     19            So you get the same -- if you
 20    let's say ADHD, over time, right?              20   get the -- if you get the finding in the
 21             The reporting of the diagnosis        21   pregnancy and follow-up time but you don't
 22    over time is not influenced by the             22   get it when these -- when the variable is
 23    classification of the exposure, which is       23   before or after, then that would suggest that
 24    systematically assessed for during the         24   the unmeasured confounder -- confounders
 25    pregnancy period, and then there are two       25   aren't influencing the relationship.

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  1         Q. Dr. Hollander, don't you think           1   findings of Masarwa 2018 for bias, correct?
  2    it's important that when you're rendering a      2       A. Correct.
  3    causation opinion that you consider an           3       Q. Okay. I'd like you to turn to
  4    author's own determination that their            4   the final page.
  5    meta-analysis was biased?                        5            And by the way, do you recall
  6         A. Well, I'd be glad to review              6   reading this before today?
  7    that article with you now, but I can tell you    7       A. I have seen it before.
  8    that probably the best way to deal with the      8       Q. Okay. So to the extent it's
  9    unmeasured confounders is by using a -- you      9   not in your report, that was a choice you
 10    know, a negative control. That's probably       10   made, right?
 11    the best way to deal with that.                 11            MR. DOVEL: Objection.
 12         Q. And do you recall Masarwa using         12       Foundation.
 13    a negative control?                             13            THE WITNESS: I mean, again, I
 14         A. I'm not sure that he did, but           14       see it in -- in my -- it's mentioned
 15    there are a number of other examples of the     15       in my rebuttal report and in materials
 16    use of negative controls which show that the    16       considered.
 17    relationship between exposure and outcome       17   QUESTIONS BY MR. MURDICA:
 18    persists even after the negative controls.      18       Q. In your rebuttal report, it's a
 19         Q. And I'm -- we're talking about          19   quotation from Dr. Faraone's report, right?
 20    Masarwa, Dr. Hollander.                         20       A. Correct.
 21         A. Okay.                                   21       Q. Okay. So my question was, to
 22              (Hollander Exhibit 55 marked          22   the extent this is not in your report, that
 23         for identification.)                       23   you didn't raise it, that was a choice. You
 24    QUESTIONS BY MR. MURDICA:                       24   reviewed this before you rendered your
 25         Q. Okay?                                   25   report, correct?

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  1             Let's mark this as Exhibit 55.          1           MR. DOVEL: Objection. Form.
  2       A.     Right.                                 2   QUESTIONS BY MR. MURDICA:
  3       Q.     She needs to put a sticker on          3       Q. Can you answer my question,
  4    there.                                           4   Doctor?
  5             Dr. Hollander, you should now           5       A. I'm trying to -- well, I'm
  6    have in front of you what's been marked as       6   saying that it is addressed in the rebuttal
  7    Exhibit 55.                                      7   report.
  8             Do you see it?                          8       Q. Okay.
  9        A. Yes.                                      9       A. In fact, I respond to this in
 10        Q. Okay. Do you see that to be by           10   the rebuttal report.
 11    a Reem Masarwa?                                 11       Q. Whatever you included or didn't
 12        A. Yes.                                     12   include in your report was a choice, because
 13        Q. Do you see that it's dated               13   your testimony is that you reviewed this
 14    2020?                                           14   before your report, correct?
 15        A. Yes.                                     15       A. Yes.
 16        Q. Do you recognize this as the             16       Q. Okay. Turn to page 316,
 17    same author of Exhibit 53?                      17   conclusions, please.
 18        A. Yes. The same author but a               18       A. Uh-huh.
 19    different publication.                          19       Q. First sentence. "The observed
 20        Q. Okay. And this publication is            20   association between acetaminophen use during
 21    a bias review of the prior publication,         21   pregnancy and increased risk for ADHD in the
 22    Exhibit 53, correct?                            22   offspring is likely the result of bias. This
 23        A. Yes, they're examining that              23   systematic error appears to be predominantly
 24    specific issue.                                 24   driven by unmeasured confounding and exposure
 25        Q. They're examining the specific           25   misclassification."


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  1             Did I read that correctly?              1       A. Well, it looks to me like
  2         A. You read it correctly.                   2   pages 309 to 317 are listed in my materials
  3        Q. So you, Dr. Hollander, knew               3   considered --
  4    that the authors made this conclusion and        4       Q. Okay.
  5    just testified for an hour about how             5       A. -- list.
  6    important and how strong Exhibit 53, Masarwa     6       Q. So as far as you know, you did
  7    2018, is, correct?                               7   not go and look at the supplemental materials
  8              MR. DOVEL: Objection. Form.            8   for Exhibit 55, correct?
  9              THE WITNESS: Well, I did               9       A. I'd be happy to look at them
 10         mention that the Masarwa study was         10   now if you --
 11         strong, and I also addressed the issue     11       Q. Okay. And that's fairly common
 12         here of what -- the unmeasured             12   for studies like this, that the authors, so
 13         confounders.                               13   that they don't clog up the journal space,
 14    QUESTIONS BY MR. MURDICA:                       14   they provide their data in supplemental
 15        Q. So to -- for Dr. Hollander,              15   tables you can get online, right?
 16    Exhibit 55 doesn't change any of the opinions   16       A. Well, there are different
 17    and testimony you offered about Exhibit 53;     17   reasons to put material -- list supplemental
 18    is that fair?                                   18   material. You know, one is there are
 19         A. I think it doesn't change my            19   other -- it's material that sort of provides
 20    opinions, and the reason for that is that       20   additional evidence from the study but
 21    the -- this issue has been addressed by the     21   doesn't directly relate to the question, you
 22    use of the negative exposures. You can --       22   know, at hand, so it's not critical. There's
 23    you can take that into account by doing that    23   always an issue in terms of reducing the
 24    other way to assess it.                         24   space of the number of articles. So --
 25        Q. Dr. Hollander, I'm asking you            25       Q. But at --

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  1    about Masarwa 2018.                              1       A. -- you know, material is put in
  2        A. Right.                                    2   supplemental material sometimes because it's
  3        Q. You testified at length about             3   not part of the specific primary question
  4    Masarwa 2018 and its importance to your          4   being tested.
  5    opinions, and my question is this,               5       Q. And my only point, Doctor, if
  6    Dr. Hollander.                                   6   you -- would you agree with me that it's
  7        A. Right.                                    7   fairly common to have supplemental
  8        Q. You considered what's in front            8   materials --
  9    of you, Masarwa 2020, before you offered that    9       A. Yeah.
 10    testimony, correct?                             10       Q. -- for publications?
 11        A. That's right.                            11       A. I would agree.
 12        Q. Okay. Do you -- you can see              12            (Hollander Exhibit 56 marked
 13    that these authors are from Montreal,           13       for identification.)
 14    primarily from McGill University.               14   QUESTIONS BY MR. MURDICA:
 15             Are you familiar with that             15       Q. Okay. Let's mark this as
 16    institution?                                    16   Exhibit 56.
 17        A. Yes, I am.                               17            Doctor, you now have in front
 18        Q. Do you have any reason to                18   of you what's been marked as Exhibit 56.
 19    criticize the authors or their institution?     19            Do you see it?
 20        A. No. I think that's a strong              20       A. Yes.
 21    institution.                                    21       Q. Okay. Do you agree that you
 22        Q. Okay. I'm going to mark -- by            22   haven't seen this before today?
 23    the way, is the -- are the supplemental         23       A. This comes from the
 24    materials to Masarwa 2020 listed on your        24   supplemental material from this --
 25    reliance list?                                  25       Q. Yeah, my --

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  1        A. -- 20 --                                  1   was the bias that caused the results in
  2        Q. I'm making a representation to            2   Masarwa 2018 that you were very excited
  3    you, and if you did the comparison of what's     3   about.
  4    studied, I'm sure you can -- you could agree     4             Do you see that change in
  5    with me. But my representation to you is         5   E-Figure 2 on Exhibit 56?
  6    this is the supplemental tables for Masarwa      6        A. Well, I see E-Figure 2 in
  7    2020.                                            7   Exhibit 56, and I see that they have the
  8        A. Uh-huh. Let me take a look.               8   unadjusted. And then what they're trying to
  9        Q. Doctor, the question that was             9   do is deal with one unmeasured confound,
 10    pending is whether you believe you've ever      10   which is parental ADHD, right? And so they
 11    seen this before.                               11   have the unadjusted, and then they have the
 12        A. I don't know whether I've -- I           12   bias corrected.
 13    don't think I've reviewed this in detail.       13             And I see that for one, two,
 14        Q. Okay. I'd like to direct you             14   three, four, five studies, when you correct
 15    to the fourth page.                             15   it, the risk ratio goes down somewhat. And
 16             Do you see E-Figure 2, Doctor?         16   then I see in two studies it doesn't go down,
 17        A. E Table 2?                               17   or it -- or it goes up.
 18        Q. E-Figure 2. Go one more. Go              18        Q. And do you see, Doctor,
 19    one or two more pages. One more page from       19   number 2, the second study? That's Liew,
 20    there. Right in front of you. E-Figure 2.       20   right? That was the very large cohort study.
 21        A. Okay.                                    21   That was what was driving the meta-analysis.
 22        Q. It's titled "Unadjusted Advised          22             Do you recall that?
 23    Corrected Risk Ratios for Unmeasured            23             MR. DOVEL: Objection. Form.
 24    Confounding Parental ADHD."                     24             THE WITNESS: Well, let's take
 25             Do you see that?                       25        a look and see if that was what was

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  1        A. Yes.                                      1       driving it. In order to make any
  2        Q. Okay. So do you see the little            2       statement about that, I need to go
  3    chart?                                           3       back.
  4        A. Yes.                                      4             Can I have the --
  5        Q. And we know you like -- we know           5   QUESTIONS BY MR. MURDICA:
  6    you like charts because you were talking         6       Q. Sure, Doctor.
  7    about the JJCI plots before, right?              7       A. -- the original?
  8        A. Well, I do like visual figures            8       Q. I thought you had it in front
  9    that represent the data, yes.                    9   of you.
 10        Q. And so you see what happens              10       A. Oh, here we go.
 11    when Masarwa went and corrected for the         11             Well, I don't really see that,
 12    parental ADHD, which is a marker of the         12   to tell you the truth. So I'm looking at --
 13    genetic influence of ADHD, the correlation      13   I guess you're referring to Figure 2 because
 14    disappeared.                                    14   this is the risk ratio for these six cohorts
 15             And you see the -- you see the         15   for attention-deficit/hyperactivity disorder,
 16    asterisk way below the dots, unadjusted and     16   right?
 17    biased corrected?                               17             And I'm looking at the Liew
 18        A. Well, I would disagree with one          18   article, and I'm looking at -- no, I mean,
 19    component that you said, again, which is that   19   that's not driving the -- it's right in the
 20    you said the parental ADHD represents the       20   middle of the overall. So that's not one of
 21    genetics. So I don't agree with that. That      21   the studies that has the higher relative risk
 22    represents the familial, right?                 22   and is driving the overall risk ratio.
 23        Q. Okay. Doctor, if you match up            23       Q. Dr. Hollander, is that -- your
 24    Exhibit 56 with Exhibit 55, you will see that   24   belief is that what drives a meta-analysis is
 25    the parental ADHD influence, when corrected,    25   the risk ratio? And that's what drives a

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  1    study's influence on the meta-analysis, not     1   along with the risk -- with the risk ratio
  2    the number of participants?                     2   that determines the ultimate point estimate
  3        A. No, I think -- well, they both           3   in the meta-analysis, correct?
  4    can influence it. So it's both --               4        A. That's correct. But if you
  5        Q. Right.                                   5   look at the risk ratio or the point estimate
  6        A. -- the sample size and the risk          6   and the confidence intervals, it doesn't
  7    ratio.                                          7   matter how -- if anything, if it's larger or
  8        Q. Right.                                   8   smaller, it's actually dragging the risk
  9             And we're going to look at             9   ratio down rather than pulling it up.
 10    other meta-analyses and --                     10        Q. Okay.
 11        A. Yeah, but you're -- what you're         11        A. So it -- but I'm responding to
 12    saying is just not right. If you look at it,   12   your comment, which it was the -- you said
 13    the Liew -- so -- all right. So when you --    13   that the Liew study was what was dragging the
 14        Q. That's --                               14   risk ratio up, and that's just not the case.
 15        A. -- correct for unmeasured               15        Q. I didn't say -- okay, Doctor,
 16    confounding, which is parental ADHD in         16   I -- the meta-analysis in 2018 determined
 17    number 2, which is the Liew, and then you      17   that it was positive and statistically
 18    look at it here, the Liew study is actually,   18   significant, correct?
 19    if anything, pulling the overall risk ratio    19            Overall, the meta-analysis
 20    down rather than driving it up. Because it's   20   conclusion found a positive and statistically
 21    somewhat below that.                           21   significant association, correct?
 22        Q. It's your belief,                       22        A. Well, that's correct. And also
 23    Dr. Hollander, that each of the risk ratios    23   a relationship between, you know, age at
 24    is considered equally and they're just         24   follow-up and exposure, yeah.
 25    averaged, right?                               25        Q. So, Dr. Hollander, do you not

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  1        A. No.                                      1   understand that if the largest study is
  2        Q. Okay.                                    2   attenuated --
  3        A. No. I think you're right, and            3        A. Uh-huh.
  4    so sample size plays a role.                    4        Q. -- by parental ADHD, that could
  5        Q. Okay. Well, you just said I'm            5   take away, and in fact did take away, the
  6    wrong, now you're saying I'm right. So you      6   statistical significance of the meta-analysis
  7    need to pick one.                               7   overall? And the point estimate for that
  8        A. Well, if you look at the --              8   individual study doesn't matter.
  9    look at the risk ratio.                         9             MR. DOVEL: Objection. Form.
 10             MR. DOVEL: Just let me insert         10             THE WITNESS: No. Again, I
 11        an objection.                              11        disagree because --
 12             THE WITNESS: Yeah.                    12   QUESTIONS BY MR. MURDICA:
 13             MR. DOVEL: That question --           13        Q. Okay. If you don't understand
 14        are you sure you want that question to     14   it, that's fine.
 15        stand? I mean, it's unintelligible.        15             MR. DOVEL: The witness was
 16             You can respond.                      16        responding.
 17    QUESTIONS BY MR. MURDICA:                      17             MR. MURDICA: I just want to
 18        Q. Dr. Hollander, it is not your           18        get it on the record.
 19    testimony that a meta-analysis is done by      19             MR. DOVEL: You cut him off.
 20    averaging the point estimates of the studies   20        I'd appreciate if you let him finish
 21    in a meta-analysis, correct?                   21        his answer.
 22        A. That's correct.                         22             THE WITNESS: I think that you
 23        Q. Okay. Because it's a                    23        were making the statement that the
 24    combination influenced by the number -- the    24        overall risk ratio was biased because
 25    N, the number of participants in the study,    25        of this unmeasured confounder,

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  1        parental ADHD, and it was the Liew           1   positive association throughout all of the
  2        study, number 2, that accounted for          2   studies.
  3        that.                                        3       Q. Okay.
  4              But I'm telling you based on           4       A. The other thing I would say,
  5        Figure 2 that the -- if you look at          5   again, is that there are then other ways to
  6        it, the relative risk for the Liew           6   deal with this issue of unmeasured
  7        study is only 1.29.                          7   confounders or parental illness.
  8    QUESTIONS BY MR. MURDICA:                        8       Q. Do you --
  9        Q. Okay.                                     9       A. So that this is -- I guess this
 10        A. Whereas the relative risk for            10   is one way to deal with that.
 11    the Streissguth study and the Thompson study    11            But I think that what I've said
 12    and the Stergiakouli study are all well above   12   also is that there are other approaches that
 13    that.                                           13   can deal with these unmeasured confounders
 14              So I disagree that that's             14   where the relationship between exposure and
 15    what's -- I disagree that this impact on the    15   outcome persists.
 16    Liew study is what is driving the elevated      16       Q. Okay. And we're still talking
 17    relative risk here.                             17   about Masarwa. I understand your testimony.
 18        Q. Okay. And, Doctor,                       18       A. Okay.
 19    respectfully, we're not talking about the       19       Q. So let me ask two more
 20    relative risk. We're talking about the          20   questions --
 21    statistically significant findings in the       21       A. Okay.
 22    meta-analysis.                                  22       Q. -- on Masarwa.
 23              Do you understand that?               23       A. All right.
 24        A. Okay. That's a different                 24       Q. Do you disagree with the
 25    issue.                                          25   author's own determination that their 2018

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  1       Q.     Right. Okay.                           1   study was biased, and that's why they found a
  2             So understanding that issue --          2   statistically significant correlation?
  3        A. Okay.                                     3       A. Well, I do agree that when they
  4        Q. -- do you understand that the             4   adjust for this unmeasured confounder,
  5    Liew study being confounded by parental ADHD     5   there -- the risk ratios are lower.
  6    could undo the positive finding in the           6       Q. Okay. And the reason you chose
  7    meta-analysis that was statistically             7   not to explain that in your report is what?
  8    significant?                                     8       A. Because I also talk about other
  9        A. I understand that.                        9   ways to deal with unmeasured confounders for
 10        Q. Okay. Do you have any basis to           10   parental effects.
 11    disagree between Exhibit 55 and 56 that         11       Q. Okay. So it was a choice,
 12    that's what -- whether you -- that that's       12   that when you cited Masarwa 2018, to not
 13    what Masarwa determined?                        13   include Masarwa 2020 right after that with a
 14        A. Well, first of all, you know,            14   footnote that said, but this effect
 15    again, I'm getting back to -- even if you're    15   disappeared when accounting for bias, right?
 16    looking at the adjusted versus the              16       A. Well --
 17    uncorrected, the risk ratio is still in the     17            MR. DOVEL: Objection. Form.
 18    same direction throughout. So it's still a      18            THE WITNESS: I'm not -- I
 19    positive relationship, whether it's             19       would say that it's -- when you --
 20    unadjusted or whether it's bias corrected.      20       when you adjust for it, the findings
 21        Q. And your testimony on that,              21       are less robust but continued to have
 22    Dr. Hollander, you're saying it's still         22       a positive association.
 23    positive, but it's not statistically            23   QUESTIONS BY MR. MURDICA:
 24    significant, correct?                           24       Q. Right.
 25        A. Yeah, the -- you still have a            25            But you didn't put that in your

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  1    report, correct?                                 1   today? Or was the -- your rebuttal report
  2        A. I didn't put that in my report.           2   the last time you looked at them?
  3        Q. Okay. Let's go to page 15,                3       A. No. I looked at some of these
  4    please, of your amended report. I'm sorry,       4   studies prior to this. I'm not sure that I
  5    12.                                              5   looked at all of them prior to this.
  6            All right. Are you on page 12            6       Q. Okay. We're going to mark this
  7    of your supplemental report, Doctor?             7   as Exhibit 57.
  8        A. My rebuttal --                            8            MR. MURDICA: My colleague
  9        Q. Sorry, your -- I apologize.               9       tells me we've been going about an
 10        A. -- or my initial report?                 10       hour. This next study is going to
 11        Q. Your rebuttal report.                    11       take a while.
 12        A. Okay.                                    12            Do you want to take a
 13        Q. I led you astray there. My               13       five-minute break now?
 14    apologies.                                      14            MR. DOVEL: Yeah, let's take
 15        A. Okay. Okay.                              15       ten minutes?
 16        Q. Okay. Do you remember I asked            16            MR. MURDICA: Okay.
 17    you some questions about Alemany --             17            VIDEOGRAPHER: The time is
 18        A. Yes.                                     18       3:38 p.m. We are off the record.
 19        Q. -- which is listed on page 12?           19        (Off the record at 3:38 p.m.)
 20            And then, in fact, if you turn          20            VIDEOGRAPHER: The time right
 21    to page 15, which we were just discussing       21       now is 3:54 p.m. We are back on the
 22    about Masarwa, you'll see that you list         22       record.
 23    Alemany as another consistent meta-analysis     23            (Hollander Exhibit 57 marked
 24    along with Masarwa?                             24       for identification.)
 25        A. I see that on page 15, that --           25

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  1         Q. Yes.                                     1   QUESTIONS BY MR. MURDICA:
  2         A. -- Alemany is listed along with          2       Q. Dr. Hollander, are you ready to
  3    Masarwa.                                         3   proceed?
  4         Q. Right.                                   4       A. Yes, I am.
  5              And you relied on Alemany on           5       Q. Okay. We just marked
  6    page 12 as well because it was an                6   Exhibit 57, and I'm going to ask you
  7    exceptionally large group of participants        7   questions about that in a second.
  8    according to you, right?                         8            In the middle of the last
  9         A. Let's take a look because --             9   session, we handed you back the charts that
 10         Q. Sure.                                   10   Dr. Baccarelli did on the article summaries,
 11         A. Well, not only that it was a            11   and that now has an exhibit marker on it.
 12    large group of participants, 73,000             12   And it should say 54 -- well, there's
 13    mother-child pairs, but also that it was data   13   probably a copy that's 54.
 14    from six different European population-based    14            Here is my question.
 15    birth cohorts, yeah.                            15   Exhibit 54, Dr. Hollander, is really -- it's
 16         Q. Okay. So we're going to mark            16   really two documents, right? One document is
 17    this in a second, but when is the last time     17   a -- or three. One document is ASD studies,
 18    you looked at the Alemany study?                18   one is ADHD, and one is other?
 19         A. I don't -- well, I don't have           19       A. That's correct.
 20    a -- I'm not sure. I know that I looked at      20       Q. Okay. And if you look at the
 21    it prior to preparing my rebuttal, but I        21   first document, the -- at the -- well, I
 22    can't recall if I looked at it after that       22   don't know if it's the first. If you look at
 23    time.                                           23   the ASD document --
 24         Q. Okay. Did you look at these             24       A. Okay.
 25    studies in preparation for your testimony       25       Q. -- there is, what, five or six

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  1    studies on it?                                  1            THE WITNESS: Well, I believe
  2        A. Yes.                                     2       that prior to 2021 there was lots of
  3        Q. Okay. And if you look at the             3       both epidemiology evidence and both
  4    ADHD document, there's more, right?             4       animal model evidence to inform
  5        A. 16, I think.                             5       causation.
  6        Q. Okay. Somewhere in the order             6   QUESTIONS BY MR. MURDICA:
  7    of 16.                                          7       Q. Okay.
  8             And back to the ASD. Of the --         8       A. But I agree with you that
  9    of the six, one of them is Alemany, which is    9   that's what the first sentence says.
 10    the meta-analysis, Exhibit 57, that we're      10       Q. Right.
 11    about to look at, right?                       11            So sitting here today,
 12        A. Yes.                                    12   Dr. Hollander, do you know more than these
 13        Q. Okay. All right. You can put            13   researchers who actually do research on
 14    that back aside.                               14   acetaminophen knew in 2021?
 15             And to your knowledge, I assume       15            MR. DOVEL: Objection. Form.
 16    you trusted Dr. Baccarelli did a good job      16            THE WITNESS: Well, one
 17    identifying the studies that are relevant to   17       advantage that I have is I've been
 18    acetaminophen and ASD and acetaminophen and    18       able to look at data that included not
 19    ADHD, correct?                                 19       only epidemiology data but also animal
 20        A. Yes, he did.                            20       model data. And I don't believe that
 21        Q. Okay. So you don't have -- you          21       Alemany, with other authors of
 22    don't have any dispute with the studies that   22       epidemiology studies, looked into the
 23    he included on those charts, right?            23       animal model data and/or the plausible
 24        A. No.                                     24       biological mechanism issues.
 25        Q. Okay. Back to Exhibit 57.               25

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  1             This is one of the -- this is          1   QUESTIONS BY MR. MURDICA:
  2    the meta-analysis, right?                       2       Q. Okay. And did you contact any
  3        A. Yes. It's a meta-analysis of             3   of the authors of any of these studies that
  4    six different cohorts.                          4   you're relying on, or that Dr. Baccarelli is
  5        Q. Okay. And this is -- the                 5   relying on, to discuss that?
  6    outcome here is ASD and ADHD, right?            6       A. I haven't had conversations
  7        A. Correct.                                 7   with the authors of these studies.
  8        Q. All right. And this is                   8       Q. Okay. Have you attempted to
  9    Alemany, which you've cited in your report a    9   reach out to any of them?
 10    couple times, right?                           10       A. No, I haven't attempted --
 11        A. That's correct.                         11       Q. Okay.
 12        Q. Okay. And the first sentence            12       A. -- to reach out to the authors
 13    of the abstract is that "The potential         13   of any of these studies.
 14    etiologic role of early acetaminophen          14       Q. So whether or not they looked
 15    exposure on ASD and ADHD is inconclusive."     15   at potential mechanisms or animal data is --
 16             Correct?                              16   would be complete supposition on your part,
 17        A. That's what the first sentence          17   correct?
 18    says.                                          18       A. Well, I would say that they
 19        Q. Okay. And what's the date of            19   don't -- they don't discuss it, so they
 20    this?                                          20   don't -- they do not discuss the epidemiology
 21        A. 2021.                                   21   findings within the context of either the
 22        Q. Okay. Do you disagree with              22   plausible biological mechanisms or animal
 23    that statement that Alemany made for this      23   model data.
 24    meta-analysis as of 2021?                      24       Q. You're pretty sure about that?
 25             MR. DOVEL: Objection. Form.           25       A. Well, I don't recall seeing

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  1    that. Well, actually, no. Let me -- I'm          1   correct?
  2    sorry, let me modify what I said, because        2       A. Well, even -- I think that
  3    even in this article they do -- they do refer    3   their statement about it being inconclusive
  4    to plausible biological mechanisms, including    4   is not a definitive statement --
  5    the endocannabinoid system and BDNF and          5       Q. Okay.
  6    oxidative stress --                              6       A. -- because it's introducing the
  7         Q. So --                                    7   issue.
  8         A. -- and endocrine disruptors.             8       Q. So sitting here in 2023,
  9         Q. So when you just testified that          9   Dr. Hollander is interpreting what they could
 10    they didn't look at potential mechanisms or     10   have meant in plain writing in 2021, correct?
 11    animal models, that was not based on fact,      11            MR. DOVEL: Objection. Form.
 12    correct?                                        12            THE WITNESS: Well, if you look
 13              MR. DOVEL: Objection. Form.           13       at the last -- so that's the first
 14              THE WITNESS: Well, I would say        14       sentence in the abstract.
 15         that these authors did include a           15            And then I would direct you to
 16         discussion of the plausible biological     16       the last sentence in the abstract,
 17         mechanisms within their discussion.        17       which says, "These results replicate
 18    QUESTIONS BY MR. MURDICA:                       18       previous work and support providing
 19         Q. Right. So back to my original           19       clear information to pregnant women
 20    question, which was on the first sentence of    20       and their partners about potential
 21    the abstract.                                   21       long-term risks of acetaminophen use."
 22              Do you, Dr. Hollander, are you        22            So that's their conclusion.
 23    sitting here saying you know more than they     23   QUESTIONS BY MR. MURDICA:
 24    did in 2021 to gauge the available data to      24       Q. Right.
 25    say that they're wrong, that it's               25            Dr. Hollander, I was just

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  1    inconclusive when they write this at this        1   asking about the first sentence, which says,
  2    point?                                           2   "The potential etiologic role is
  3        A. Well --                                   3   inconclusive." That was the first sentence
  4              MR. DOVEL: Objection -- let me         4   of their abstract.
  5        just get my objection.                       5            So when they set out on this,
  6              Objection. Form.                       6   do you doubt that they believed that when
  7              THE WITNESS: Okay. So, I               7   they set upon doing this work?
  8        mean, if you look at the structure of        8       A. Well, I'm suggesting that
  9        the abstract, they're -- essentially         9   they're using the initial sentence as an
 10        the first sentence is setting up the        10   introduction to introduce why would it be
 11        issue, and then they discuss the aim.       11   valuable to do the study. And then I --
 12              So they're setting up the             12       Q. Right.
 13        issue, well, what's the etiologic           13       A. Then what their beliefs are, I
 14        role? And then to address that, we          14   think, are captured in the last sentence.
 15        aim the study.                              15       Q. Right.
 16              So I think it's providing a           16            Doctor, do you have any doubt
 17        little bit of context and then talking      17   that when they wrote the first sentence, they
 18        about the aims.                             18   didn't mean what they said?
 19    QUESTIONS BY MR. MURDICA:                       19            MR. DOVEL: Objection. Form.
 20        Q. Right.                                   20            THE WITNESS: I don't know
 21        A. I don't think that the first             21       whether they meant what they said.
 22    sentence is a definitive conclusion.            22   QUESTIONS BY MR. MURDICA:
 23        Q. I agree.                                 23       Q. Okay.
 24              In fact, it says --                   24       A. I think that they were
 25    Dr. Hollander, it says it's inconclusive,       25   introducing a reason why this would be a

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  1    valuable study.                                  1             Well, yeah, I talk all about
  2              I think they were trying to            2   this. I mean, it's one of the world's
  3    provide some rationale to both the readers       3   largest birth cohorts.
  4    and to the editors of the journal on why this    4        Q. Right.
  5    article might be of interest.                    5             But you've allegedly taken and
  6        Q. And when is the last time you             6   done an expert analysis here, and you can't
  7    reviewed this one?                               7   tell us who did the studies on the Danish
  8        A. I think I last reviewed this              8   National Birth Cohort?
  9    prior to my -- I think prior to my initial       9             MR. DOVEL: Objection. Form.
 10    expert report.                                  10             THE WITNESS: Well, I can. I'd
 11        Q. Okay. So it's been a month and           11        be glad to --
 12    a half since you last looked at it?             12   QUESTIONS BY MR. MURDICA:
 13        A. It's possible.                           13        Q. But you don't know it off the
 14        Q. Did you look at the                      14   top of your head?
 15    supplemental materials for this study?          15        A. I can take a look at my report,
 16        A. I don't recall.                          16   and I can take a look at my summary tables
 17        Q. Okay. And you see that this              17   here.
 18    analyzes the cohorts that existed at the time   18        Q. Okay. The summary tables that
 19    in 2021, right?                                 19   Dr. Baccarelli did? Exhibit 54?
 20        A. Yes. And, I mean, it looks               20        A. That he summarized aspects of
 21    like it analyzed these cohorts from, you        21   different studies, yeah.
 22    know, starting -- that were collected between   22        Q. All right. Don't worry about
 23    1991 and 2008.                                  23   it. I'll ask you something else.
 24        Q. And one of the things they               24             One of the advantages of the
 25    looked at -- you're familiar with the DNBC,     25   DNBC is that they also can check and see --

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  1    right?                                           1   they can look by hospital diagnosis, right?
  2         A. Yes, I am.                               2       A. That's correct.
  3         Q. And what does that stand for?            3       Q. Because with the exception of
  4         A. It's the Danish National Birth           4   the DNBC, all of the other cohorts were done
  5    Cohort, I believe.                               5   by report. Report by the mother or family or
  6         Q. Right.                                   6   something like that, right?
  7              And who studied that?                  7       A. Well, that is an advantage of
  8         A. Let's see. There have been --            8   that particular national birth cohort, yeah.
  9    there have been more than one publication        9       Q. Okay. And did you -- did you
 10    resulting from that cohort --                   10   look what happened to the effect when they
 11         Q. There have.                             11   checked the DNBC versus hospital diagnosis
 12         A. -- so...                                12   instead of just maternal report?
 13         Q. All right. So you're looking            13       A. Are you referring to the
 14    back at Exhibit 54 --                           14   Alemany paper, or are you --
 15         A. I'm looking at the summary --           15       Q. Yeah, I'm talking about
 16         Q. -- Dr. Baccarelli's chart?              16   Alemany, yeah.
 17         A. Yeah. I mean, I could get to            17       A. Okay. Well, so let's -- if you
 18    it, if you like, by going through my report,    18   like, we can examine that.
 19    which tells, you know, which cohorts as well.   19       Q. Yeah, I can help you. It's on
 20         Q. Well --                                 20   page 998.
 21         A. But there are -- there's more           21       A. Okay.
 22    than one publication that utilized that.        22       Q. Let the record reflect that
 23         Q. One of --                               23   Dr. Hollander is looking at Dr. Baccarelli's
 24         A. Well, here it is in my report,          24   exhibit summary and not Exhibit 57.
 25    actually.                                       25            MR. DOVEL: That is a false

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  1    statement, and I'd like the examiner             1   this says here.
  2    to withdraw that statement.                      2       Q. Okay. If I could direct you
  3         THE WITNESS: Yeah, I'm                      3   to -- so I think you were talking about
  4    looking --                                       4   something else. We can do that first,
  5         MR. MURDICA: Oh, I'm sorry,                 5   Doctor.
  6    he's looking at both. I apologize. I             6            Dr. Hollander, when Alemany --
  7    thought you were looking at the --               7   because there's six birth cohorts here,
  8         MR. DOVEL: He's not looking at              8   right --
  9    both. I'd still like you to correct              9       A. No.
 10    your statement.                                 10       Q. -- and DNBC was only one.
 11         MR. MURDICA: Okay. Well, I                 11            When Alemany did an analysis of
 12    don't know what you were looking at             12   taking out the DNBC, then it was no longer
 13    then. You were looking at                       13   statistically significant.
 14    Exhibit 57 --                                   14            That's what you were saying,
 15         MR. DOVEL: If you don't know               15   correct?
 16    what he's looking at, don't put it on           16       A. Well, so they're comparing,
 17    the record, sir.                                17   like you're saying, so they're getting
 18         MR. MURDICA: Okay. I believe               18   similar results using the hospital diagnosis.
 19    he was looking at Exhibit 54.                   19   Then they're also looking at it in boys, and
 20         THE WITNESS: Well --                       20   they're looking at it in girls. So they're
 21         MR. MURDICA: They were on top              21   changing this thing around to see if it has
 22    of each other.                                  22   any meaningful change.
 23         THE WITNESS: No, you asked me              23       Q. Right. Okay.
 24    to examine the Alemany.                         24            So back to my original
 25                                                    25   question.

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  1    QUESTIONS BY MR. MURDICA:                        1       A. Yeah.
  2        Q. I am. That's what I'd like you            2       Q. You see when they did the
  3    to look at. Page 998 will give you the           3   hospital diagnosis, the statistical
  4    answer, but you can look at whatever you want    4   significance of the effect in boys and girls
  5    to.                                              5   disappeared, correct?
  6        A. Okay.                                     6       A. Well, I mean, the first
  7             So I'm not sure whether or not          7   statement that they're saying is -- so
  8    your -- well, let's take a look at this one.     8   children exposed to acetaminophen were
  9    Hang on a second.                                9   19 percent more likely to have ASC symptoms
 10             Well, so they examined the             10   within the borderline or clinical range than
 11    results, and they look at this, you know,       11   nonexposed. So increased odds ratio.
 12    both with the DNBC and then without the DNBC,   12            And then they get similar
 13    without the hospital diagnosis. And they        13   results using the hospital diagnosis.
 14    look at, I guess, the odds ratios in boys and   14       Q. Okay. And then when they
 15    girls, with and without that cohort.            15   stratify by sex --
 16        Q. Okay. You understand that the            16       A. Right.
 17    first analysis was the DNBC by maternal         17       Q. -- using the hospital
 18    report, and then it was verified in a second    18   diagnosis, neither sex is statistically
 19    analysis by hospital report, hospital           19   significant, correct?
 20    diagnosis, correct?                             20       A. Well, no. When they -- so
 21        A. That's correct.                          21   stratifying by sex, prenatal acetaminophen
 22        Q. Okay. And when they did the              22   was associated with ASC symptoms among boys,
 23    hospital diagnosis, the statistically           23   odds ratio of 1.28, with confidence interval
 24    significant result disappeared, correct?        24   of 1.12 to 1.46.
 25        A. I'm not sure that that's what            25       Q. Where are you looking?

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  1        A. I'm looking under the prenatal            1   spectrum disorder and ADHD?
  2    acetaminophen exposure and ASC symptoms. So      2       A. I would say that there's a high
  3    this is the first, second, third sentence        3   concordance between the two. And so very
  4    there on the left side.                          4   large-scale studies that have looked at that
  5        Q. Right. Yeah.                              5   issue have actually found like a --
  6        A. So there --                               6   concordance rates of up to 98 percent.
  7        Q. And we were talking about                 7            So very large genetic studies
  8    hospital diagnosis, Dr. Hollander.               8   these days, like the SPARC database, their
  9        A. Right. And then using the                 9   key is they want to include huge numbers of
 10    hospital diagnosis, a similar effect was        10   people in order to really get a handle on
 11    observed where you get an increased odds        11   these genetic factors. And they don't --
 12    ratio, 1.14 in boys and 1.15 in girls,          12   they no longer require like a hospital-based
 13    although, yeah, it doesn't reach statistical    13   diagnosis, so they go on maternal report.
 14    significance there.                             14            But then they can look at the
 15              But it's --                           15   concordance rate between the maternal report
 16        Q. That was my question.                    16   and the hospital records, and it's very, very
 17              When using hospital diagnosis,        17   high, actually.
 18    the boys and the girls are -- both are not      18            So I think they're
 19    statistically significant, correct?             19   complementary approaches. I think that
 20        A. Yeah, but except you're getting          20   basically you get findings in similar
 21    a difference in sample size, right?             21   directions. That's good. And then that's
 22        Q. Right. Because you're                    22   suggesting different methods getting similar
 23    taking -- you're looking at one half and then   23   findings.
 24    the other, right?                               24            Yeah, a lot of the statistical
 25        A. Yeah.                                    25   significance is -- can be affected by the

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  1        Q. Okay. And did you -- did                  1   sample size.
  2    you -- were you provided the transcript of       2        Q. Okay. Right. You said a lot
  3    Dr. Louie from this past Saturday?               3   there that I didn't ask about --
  4        A. No.                                       4        A. Okay.
  5        Q. Okay. So you don't know what              5        Q. -- but let me -- let me ask you
  6    he said at all, right?                           6   another question.
  7        A. No.                                       7            We know the cohort here. We
  8        Q. Do you know who he is?                    8   know DNBC is the cohort we're talking about.
  9        A. Yes.                                      9   So you're talking about concordance or
 10        Q. Did you talk to him before your          10   discordance among hospital diagnoses versus
 11    testimony today?                                11   maternal report in other settings.
 12        A. No, I didn't speak with him.             12            I'm talking about this.
 13        Q. Okay. Do you agree that a                13        A. Right.
 14    hospital diagnosis is more accurate than a      14        Q. DNBC --
 15    maternal report when looking at the outcome     15        A. Right.
 16    of autism spectrum disorder and ADHD?           16        Q. -- when you -- when you reduce
 17        A. No. I would say that they are            17   it to hospital diagnosis, it changes the
 18    complementary approaches, and that if you get   18   statistical significance in boys and girls,
 19    a positive signal using both different          19   correct?
 20    approaches, then that's stronger than just      20        A. Well, I think if you read the
 21    doing either one separately.                    21   sentence, it says there's a similar effect,
 22        Q. Okay. So my question for                 22   although the level of statistical
 23    Dr. Hollander is, is hospital diagnosis more    23   significance differs.
 24    accurate and less biased than using maternal    24            So there -- you're basically in
 25    report when studying an outcome like autism     25   a similar direction, but --

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  1        Q. But you lose the significance,            1   Liew studied?
  2    correct, Doctor?                                 2        A. Yeah, let's take a look and
  3        A. Yeah.                                     3   then I --
  4        Q. Okay. Now, if you look at A,              4       Q. If you have to look at your
  5    Table A, right below, do you remember when we    5   report to know that, that's fine.
  6    were talking before about the Masarwa            6        A. No, I recall that, but I'd like
  7    meta-analysis?                                   7   to take a look because truthfully there's
  8        A. Yes.                                      8   more than one Liew study, right?
  9        Q. And we were talking about Liew.           9       Q. Did they study different
 10    And we were talking about the effect that it    10   populations, Doctor?
 11    had, that bias in Liew had, on the overall      11        A. Let's take a look.
 12    statistical significance of the Masarwa         12             Okay. So you were referring
 13    medical -- meta-analysis.                       13   back to the Masarwa article? Here.
 14             Do you remember that?                  14       Q. Well, I'm really talking
 15        A. I do remember that.                      15   about --
 16        Q. Okay. And you told me that               16        A. Yeah.
 17    Liew -- originally, before you agreed with      17       Q. -- Table A.
 18    me, you said that, well, Liew wasn't a high     18        A. Okay.
 19    enough odds ratio and point estimate to         19       Q. And what's really driving this
 20    change it, right?                               20   is the DNBC, correct?
 21             And I said, well, don't you            21        A. Well, that's by far the largest
 22    have to consider the number -- the              22   sample size. So you are correct here. Their
 23    population?                                     23   weighting is high.
 24             So I want you to look at               24             And it would go back to the
 25    Table A.                                        25   issue with Liew, which was 2014, right? So,

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  1        A. Uh-huh.                                   1   I mean, you were -- yes, that is the largest
  2        Q. And do you see that there's a             2   sample size, yeah. Okay.
  3    weight given to each study? Each cohort.         3      Q. Okay. So you now get the point
  4    It's very tiny.                                  4   I was trying to make before with regard to
  5        A. A random effects model, right.            5   Masarwa, correct?
  6    Yeah.                                            6           MR. DOVEL: Objection. Form.
  7        Q. Right.                                    7           MR. MURDICA: He knows what I'm
  8             Do you see there's a weight             8      talking about.
  9    column?                                          9           THE WITNESS: Well, I do know
 10        A. Yes.                                     10      that you were reporting that it --
 11        Q. How much weight does the DNBC            11      that -- the issue is, yeah, I mean,
 12    get?                                            12      that study is the largest study, so it
 13        A. It gets a lot. It gets 47                13      has a big impact overall on the
 14    percent.                                        14      meta-analysis because the sample size.
 15        Q. It's almost half of the                  15           But I -- the point that I was
 16    meta-analysis, right?                           16      making, A, was with regards to the
 17        A. Yeah.                                    17      risk ratio, it didn't pull it up
 18        Q. And why is that, Doctor?                 18      again.
 19        A. There's a lot of people there.           19           And, you know, with regards to
 20        Q. How many?                                20      that study also -- well, actually...
 21        A. It's 61,430.                             21   QUESTIONS BY MR. MURDICA:
 22        Q. Out of roughly 70,000, right?            22      Q. Doctor --
 23        A. Yeah. Well --                            23      A. Yeah. Okay.
 24        Q. Does it refresh your                     24      Q. -- because of the effect --
 25    recollection that the DNBC is actually what     25      A. Yeah.

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  1        Q. -- that the DNBC has on the               1   statistically significant with their point
  2    data --                                          2   effect, correct?
  3        A. Yeah.                                     3       A. Well, it -- I mean, you're
  4        Q. -- because it's such an                   4   right, in this case the DNBC is pulling up
  5    important piece, when they pull it out in        5   the -- rather than pulling it down.
  6    this analysis, which is right above the          6       Q. Right.
  7    table --                                         7            So if you take it out --
  8        A. Yeah.                                     8       A. Yeah.
  9        Q. -- the whole meta-analysis                9       Q. -- of course it's not going to
 10    loses its statistical significance, correct?    10   be statistically significant --
 11        A. You want to direct me to the             11       A. Right.
 12    figure that doesn't include that?               12       Q. -- since none of the individual
 13        Q. Yeah, it's literally the very            13   studies are, right?
 14    line above that Table A, that teeny tiny        14            Okay.
 15    writing you were looking at.                    15       A. Well, you're going to have a,
 16        A. Oh, the one out analysis.                16   you know, a lower overall -- so that's what
 17        Q. Yeah.                                    17   they're saying here, is that the association
 18        A. Okay. Well, it doesn't                   18   was attenuated, but it still remains positive
 19    surprise -- so it's saying the association      19   even when you take it out. You still have a
 20    was attenuated but remained positive when --    20   12 percent increased risk, but that the --
 21    so that, again, it doesn't surprise me given    21   yeah, the --
 22    that 47 percent of the sample size of the       22       Q. But it's not --
 23    weighting comes from that study.                23       A. -- statistical significance
 24        Q. Right. If --                             24   goes away.
 25        A. But -- okay.                             25       Q. Okay. All right.

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  1        Q. If the study driving the                  1             And, Dr. Hollander, is there
  2    meta-analysis is pulled out, it can affect       2   any reason that you can think of why
  3    the ability to reach statistical                 3   acetaminophen should be -- would be causal in
  4    significance, correct?                           4   boys but not girls in terms of the outcomes
  5        A. Yeah, except that I guess one             5   of ASD and ADHD?
  6    of the points that I would make here is like     6       A. Well, I mean, as you know, like
  7    here you have a -- in the DNBC, you know, you    7   the overall risk in boys is much higher than
  8    have a more positive effect on the relative      8   in girls, right, whether it's 4 to 1 or
  9    risk here compared to some of the other          9   whether it's 3 or 2 to 1. So there are
 10    studies.                                        10   factors that increase the risk in boys versus
 11        Q. You're talking about the 1.19?           11   girls.
 12             What are you referring to?             12       Q. From a teratology perspective,
 13    What positive effect on the relative risk?      13   if acetaminophen has anything at all to do
 14        A. You know, if you look at the             14   with the development of ASD or ADHD in
 15    confidence interval intervals here.             15   offspring, would it differentially affect
 16        Q. Can you direct me to the one             16   boys and girls?
 17    you're talking about?                           17       A. It certainly could, yeah.
 18        A. Well, look at A.                         18       Q. Why?
 19        Q. A. Oh, ALSPAC? 1.08 --                   19       A. Well, because gender could be a
 20        A. So ALSPAC has a lower                    20   mediating or moderating factor, right? So
 21    confidence interval than the DNBC. The GASP     21   there could be some endocrine kind of factors
 22    has a -- it's got a broader confidence          22   that are moderators or potentially even
 23    interval, but the point effect is lower.        23   mediators.
 24        Q. In fact, Dr. Hollander, none of          24       Q. Okay. Have you considered
 25    these studies, except the DNBC, are actually    25   that? Do you have an expert opinion on that?

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  1         A. Well, endocrine factors are              1   maternal report is better or worse than an
  2    listed -- yeah, I do have an opinion. That's     2   outcome measure using a diagnosis?
  3    one of the plausible mechanisms.                 3        A. Well, the -- yeah. So the
  4         Q. Okay. And so --                          4   question would be, is there more likely to be
  5         A. Acetaminophen might exert its            5   a differential bias as a result of using a
  6    effects.                                         6   screening tool as opposed to a differential
  7         Q. So in that theory,                       7   bias as opposed to using a hospital
  8    Dr. Hollander, would there be more -- would      8   diagnosis, for example, right?
  9    more boys or girls have autism or ADHD           9            Because if there's a -- if
 10    allegedly caused by acetaminophen?              10   there's no differential bias, then it doesn't
 11         A. You know, I guess it depends            11   make any difference.
 12    whether or not either endocrine factors or --   12       Q. So the answer, Dr. Hollander,
 13    could, you know, influence -- you now have      13   is that all things being equal, you would
 14    all these gene by acetaminophen effects, and    14   rather have the diagnosis, correct?
 15    you have all of these genetic by                15        A. I think it's good to be able to
 16    acetaminophen effects. It could be that you     16   get similar findings with regards to outcome
 17    have gender.                                    17   using different methods. So it's great if
 18              In fact, people look at gender        18   you can see similar findings both with a
 19    as a covariant -- I mean, in a lot of the       19   hospital diagnosis and with a screening tool.
 20    studies where they covary for gender, they're   20       Q. If you could only have one or
 21    not -- you know, the results persist even       21   the other, Dr. Hollander, would you rather
 22    when you covary for sex. So in many studies,    22   have a diagnosis or a screening tool maternal
 23    the effects persist despite covarying for       23   report?
 24    gender.                                         24        A. Well, so that's a challenge,
 25         Q. Dr. Hollander, are you offering         25   you know, in epidemiology studies, is that

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  1    an opinion here today that acetaminophen is      1   you want to get a big sample size. It's
  2    sex-selective in terms of the outcome of ASD     2   costly, for example. Sometimes it's a --
  3    based on exposure during pregnancy?              3   costs more to do a study where you're getting
  4        A. No, I'm not offering that                 4   a clinician diagnosis as opposed to either an
  5    opinion.                                         5   electronic medical record or a scale kind of
  6        Q. Okay. Are you offering the                6   diagnosis. It's more costly.
  7    opinion today that APAP is sex-selective in      7            But I think one point that I'm
  8    terms of the outcome of ADHD based on            8   making is that it doesn't have a differential
  9    exposure during pregnancy?                       9   effect. So if there's a -- some type of bias
 10        A. I'm not offering that opinion            10   introduced using a scale as opposed to a gold
 11    now today. I mean, look, if you look at         11   standard diagnosis, as long as it's not a
 12    this, they are finding similar findings         12   differential bias, it wouldn't bias the
 13    whether it's boys or girls.                     13   results towards or away from the null.
 14             Obviously when you start to            14       Q. Did I ask about costs,
 15    look at the differences then -- and they're     15   Dr. Hollander?
 16    not -- they're not seeing any statistical       16       A. Well, cost is a factor in a
 17    evidence of a difference between boys and       17   design -- if you're going to do an epi --
 18    girls, so they're not doing that. But when      18   like I say, with cost it -- yes, I -- let me
 19    you're looking at it in each gender, yeah,      19   put it that way. If you have unlimited time
 20    then you're lowering the sample size, and       20   and unlimited funds, then it's probably a
 21    that's affecting statistical significance.      21   good idea to get clinician diagnoses.
 22        Q. Okay. Dr. Hollander, back to             22       Q. Okay. If you'd turn to the
 23    the sources of data.                            23   next page and look at Table 4, please.
 24             Do you think a study using a           24       A. Uh-huh.
 25    screening tool for the outcome based on         25       Q. Do you see now that the authors

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  1    have stratified the data by sex for both         1        Q. You have no mechanism otherwise
  2    autism and ADHD separately?                      2   to explain why there's a difference. You're
  3        A. Yes.                                      3   saying this is just a statistical anomaly,
  4        Q. And they've looked at just                4   correct?
  5    about an even number of boys and girls for       5        A. Well, no. So that's one
  6    both autism and ADHD. And roughly, each --       6   option, is that you're dealing with a smaller
  7    boys with autism, girls with autism, boys        7   sample size.
  8    with ADHD, girls with ADHD, it's roughly         8              I guess I tried to offer an
  9    35,000 per group, right? The number of --        9   opinion with regards to whether or not there
 10        A. Yes, approximately.                      10   could be, you know, other factors that could
 11        Q. Okay. And if you look at the             11   mediate or moderate the effect.
 12    boys for autism and ADHD, both of them are      12        Q. Right.
 13    statistically significant, correct?             13             And I asked you if you had an
 14        A. Well, it looks like there's a            14   expert opinion sitting here today --
 15    statistically significant finding for the ASC   15        A. Yeah.
 16    symptoms and the ADHD symptoms.                 16        Q. -- on what those factors were
 17        Q. Okay. And if you look at                 17   and the mechanism by which they occur, and
 18    girls, there is not, correct?                   18   you said you do not, correct?
 19        A. Looks like there's a positive            19        A. Well, no. All I said, that
 20    association but that it doesn't reach --        20   it fits in with this idea of certain hormonal
 21    well, actually -- but that -- yeah, it looks    21   factors, but I wasn't offering a specific
 22    like it doesn't reach statistical               22   opinion.
 23    significance there.                             23        Q. Okay. Did you look at the
 24        Q. Right.                                   24   supplemental materials related to this study?
 25             And one of the factors that you        25        A. I don't recall.

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  1    think about when you do Bradford Hill is an      1      Q.      Is it on your reliance list?
  2    overall concordance, a does this make sense      2      A.      Let's take a look.
  3    factor, right?                                   3            I think that it's hard to
  4        A. Do you mean coherence --                  4   determine because I don't see the specific
  5        Q. Yes --                                    5   page numbers. So it may not be determinable.
  6        A. -- or do you mean --                      6            (Hollander Exhibit 58 marked
  7        Q. -- coherence.                             7       for identification.)
  8        A. Okay.                                     8   QUESTIONS BY MR. MURDICA:
  9        Q. This would not pass the                   9       Q. I'm going to mark the
 10    coherence test, correct, Doctor?                10   supplemental materials as Exhibit 58.
 11              Because it doesn't make sense,        11            Dr. Hollander, you should now
 12    as you just testified, for there to be a        12   have in front of you what's been marked as
 13    difference between boys and girls.              13   Exhibit 58.
 14        A. I don't think that I testified           14            Based on your review -- do you
 15    that it doesn't make sense for there to be a    15   have Exhibit 58 in front of you?
 16    difference between boys and girls.              16       A. Yes, I do.
 17        Q. Okay. What is your expert                17       Q. Based on your review of the
 18    opinion about why there's a difference          18   first page of Exhibit 58, does this appear to
 19    between boys and girls if it's -- that is       19   be supplementary material to the Alemany
 20    coherent with the data?                         20   article which is Exhibit 57?
 21        A. Well, one, again, is that --             21       A. Well, it does say supplementary
 22    you know, the obvious reason is that            22   material, and it does relate to the title of
 23    you're -- if you're cutting the sample size     23   the article, and it does include the similar
 24    in half, then, you know, your power goes        24   authors, so it does appear that this is the
 25    down. So that's probably the biggest reason.    25   supplementary material to the article.

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  1         Q. Okay. And if you would turn to           1   verify that before you answer.
  2    the fifth page, which says, "Methods S2," and    2       A. Well, it does say that -- oh, I
  3    it's a description of the acetaminophen          3   see. One moment.
  4    prenatal exposure assessment.                    4            Yeah. Well, these were
  5         A. Yeah.                                    5   classified as ever-exposed if they reported
  6         Q. Okay. Now, we were just                  6   having taken any dose of acetaminophen in the
  7    talking, and you saw in the Alemany article      7   defined prenatal exposure period. Otherwise
  8    there's six birth cohorts, right? And these      8   they were classified as nonexposed. So,
  9    are the -- and these are a more descriptive      9   yeah.
 10    version of the six that you saw the acronyms    10       Q. Right.
 11    for in the Alemany article.                     11            You agree with me that for the
 12             Fair?                                  12   purposes of this meta-analysis, Alemany
 13         A. Yes. This is a description of           13   counted them as exposed if they ever took one
 14    each of the different cohorts.                  14   single pill of acetaminophen at some point
 15         Q. Okay. And one of the features           15   during the exposure period, correct?
 16    of all the cohorts is that no one asked, and    16       A. Well, that's what it says in
 17    the mothers did not report, the exact day in    17   the methods section, yes.
 18    pregnancy that acetaminophen was used or for    18       Q. Okay. You don't have any
 19    exactly how long for each use, correct?         19   reason to doubt that that's what Alemany did
 20         A. Well, if you look at the                20   when they wrote this in their supplemental
 21    methods here -- so, for example, in the         21   materials, right?
 22    ALSPAC cohort, the mothers get a                22       A. No.
 23    questionnaire at 18 and 32 weeks.               23       Q. Okay. Now, if you look at --
 24         Q. Right.                                  24   and I think you just did -- the -- with the
 25             The mothers are getting                25   exception of one, these cohorts all counted

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  1    questionnaires, and they're not saying, I        1   exposures starting one month before becoming
  2    used acetaminophen on days 3 through 17 and      2   pregnant, correct?
  3    days 90 through 94 of my pregnancy, correct?     3       A. No.
  4         A. Well, it differs a little bit            4       Q. Okay.
  5    per cohort, right?                               5       A. So it says here mothers were
  6         Q. Sure.                                    6   asked if they had taken medications from the
  7         A. So the first one, you know,              7   month before becoming pregnant, in the GASPII
  8    again has this questionnaire at 18 and 32.       8   and the INMA, or beginning of pregnancy, in
  9              The DNBC cohort gets a                 9   the RHEA. So there's a difference depending
 10    telephone interview at the 12th and the 30th    10   on the study.
 11    week and postpartum.                            11       Q. My question was, with the
 12              And then there are -- there is        12   exception of one, these cohorts counted
 13    a list of different medicines. So then...       13   exposures starting one month before becoming
 14         Q. Doctor, I'd like to you --              14   pregnant, correct?
 15         A. Each cohort has a -- slightly           15           Are you looking on page --
 16    different methods in terms of exposure.         16       A. I'm looking at exposure in the
 17         Q. The way that Alemany counted            17   methods section of the manuscript.
 18    them, Doctor -- and feel free to take a look    18       Q. Ah. Okay. Well --
 19    at the six descriptions because it's only a     19       A. Because in that, it doesn't say
 20    page and a half -- is that if acetaminophen     20   that.
 21    was ever used during the pregnancy at any       21       Q. And that's why, when
 22    time, it was -- they were counted as users      22   epidemiologists are looking at literature,
 23    for the purpose of the meta-analysis,           23   they look at the supplemental tables, so they
 24    correct?                                        24   can figure out the full methods in the data,
 25              And you can take a minute to          25   right?

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  1        A. Well, it's possible that some             1       the witness --
  2    information may be included in the               2            MR. MURDICA: Well, what you
  3    supplemental material that's not included in     3       understand or not doesn't really
  4    the main manuscript.                             4       matter.
  5        Q. All right. Well, why don't we             5            MR. DOVEL: Excuse me. Excuse
  6    look at the supplemental material and I'll       6       me.
  7    ask my question again.                           7            He was in the middle of
  8             With the exception of one,              8       answering a question --
  9    these cohorts counted exposures starting one     9            MR. MURDICA: This is my --
 10    month before becoming pregnant, correct?        10       you're interrupting my question. You
 11        A. All right. Let's review that             11       just be quiet over there.
 12    again because that's not what it says in the    12            MR. DOVEL: He was in the
 13    methods.                                        13       middle of answering the question, and
 14             Well, no --                            14       then you posed another one before he'd
 15        Q. Okay.                                    15       finished. And the record would be
 16        A. -- I mean, that's not what it            16       fraudulent to suggest otherwise.
 17    says at DNBC. Mothers are classified as         17            MR. MURDICA: You're funny.
 18    users of acetaminophen during pregnancy if      18   QUESTIONS BY MR. MURDICA:
 19    they've taken any dose of acetaminophen at      19      Q. Dr. Hollander --
 20    any time up during pregnancy.                   20            MR. DOVEL: I try to amuse.
 21             So it doesn't say anything             21            MR. MURDICA: Good job.
 22    about taking it prior to -- one month prior.    22   QUESTIONS BY MR. MURDICA:
 23    So that's not true with regard to the DNBC.     23      Q. Dr. Hollander --
 24        Q. Okay. Are you sure, Doctor?              24       A. Well, I would say, look, in
 25        A. I'm reading it here from the --          25   here there's two inconsistent statements.

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  1        Q. Supplemental materials?                   1   I'm sorry. So there's a statement here, but
  2        A. Yeah. Mothers were classified             2   then it seems to contradict at the end.
  3    as users of acetaminophen during pregnancy if    3   So --
  4    they had taken any dose of acetaminophen at      4       Q. Dr. Hollander, didn't you --
  5    any time up during pregnancy.                    5       A. -- I'm seeing a lot of
  6              And if you look at the methods         6   inconsistencies here.
  7    also, it doesn't say that with regards to the    7       Q. The DNBC is the basis of all
  8    DNBC cohort. So that's not -- that's not a       8   the data that you're opining your causation
  9    correct statement with regard to that cohort.    9   opinion on, right?
 10        Q. Okay, Doctor.                            10       A. No.
 11        A. This also --                             11            MR. DOVEL: Objection. Form.
 12        Q. Look up three -- look three              12   QUESTIONS BY MR. MURDICA:
 13    sentences up. Then look at the rest of them.    13       Q. Do you not know the details
 14              Did you consider any of this          14   around the DNBC and how it was studied?
 15    before you rendered your opinions,              15       A. I see that there's
 16    Dr. Hollander?                                  16   contradictory information here, both in terms
 17              MR. DOVEL: Just one second.           17   of methods of the article as well as
 18        He was in the middle of answering           18   contradictory statements even within the
 19        another question.                           19   summary here.
 20              Are you going to withdraw the         20       Q. Right.
 21        earlier question?                           21            But didn't --
 22              The record is very muddy. I           22       A. Supplementary material.
 23        don't know what question is being           23       Q. But you realize that you're
 24        answered.                                   24   putting these opinions out to the Southern
 25              I'll state for the record that        25   District of New York, a federal court --

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  1        A. Uh-huh.                                   1       Q. Just let me know when you're
  2        Q. -- and you didn't even bother             2   satisfied that I'm right about what I tried
  3    to go understand the DNBC?                       3   to start asking you about 15 minutes ago.
  4             MR. DOVEL: Objection. Form.             4       A. Okay. Let's take a look.
  5             THE WITNESS: Yeah, I think              5            MR. MURDICA: Let the record
  6        that's an incorrect statement on many        6       reflect that the doctor is looking at
  7        different levels.                            7       Exhibit 57 and not Exhibit 58 right
  8    QUESTIONS BY MR. MURDICA:                        8       now.
  9        Q. Okay.                                     9            THE WITNESS: Well, I'm
 10        A. But, yes, A, this is an                  10       reviewing the manuscript that you're
 11    important study. B, I considered the study      11       referring to to be able to put it into
 12    in my opinions.                                 12       context, what you're putting in front
 13             It's not the only study that I         13       of me in terms of the supplementary
 14    included within my opinions, so it's --         14       material.
 15        Q. The DNBC cohort is a                     15            Okay.
 16    foundational --                                 16   QUESTIONS BY MR. MURDICA:
 17        A. It's a --                                17       Q. Okay. So do you now agree with
 18        Q. -- cohort for everything you're          18   me that with the exception of the RHEA
 19    opining on.                                     19   cohort, all the cohorts counted exposure, if
 20        A. It's an important cohort, yes.           20   there was exposure, one month before becoming
 21        Q. Okay. So you know now that the           21   pregnant or conceiving?
 22    DNBC and all of the others here, except for     22       A. Well, again, between one month
 23    RHEA, counted exposure starting four weeks      23   prior to and the end of pregnancy.
 24    before pregnancy or four weeks before           24       Q. Right.
 25    conception, correct?                            25            So in -- for the purposes of

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  1             MR. DOVEL: Objection. Form.             1   Alemany, if a mother took one pill of
  2             THE WITNESS: I don't see that,          2   acetaminophen 29 days before becoming
  3        actually.                                    3   pregnant, the child was counted as exposed to
  4    QUESTIONS BY MR. MURDICA:                        4   acetaminophen, correct?
  5        Q. Okay.                                     5       A. Well, not for all of the
  6        A. And I'm not seeing -- I don't             6   cohorts, but I guess that's a possibility for
  7    see that in the GASPII cohort either.            7   some of these.
  8        Q. Okay.                                     8       Q. For ALSPAC, DNBC --
  9        A. So I think that's -- it                   9       A. Right.
 10    doesn't -- that's not right.                    10       Q. -- GASPII, Generation R and
 11        Q. Okay.                                    11   INMA cohort, that was counted as an exposed
 12        A. So I disagree.                           12   pregnancy, correct?
 13        Q. All right. Well, let's read              13       A. It's possible that somebody
 14    the second sentence. I'll let you read it.      14   could be classified and fall into that
 15             "Mothers were classified" -- go        15   category.
 16    ahead, you can read it out loud.                16       Q. Right.
 17        A. Okay. "Mothers were classified           17           And did you factor that into
 18    as users of acetaminophen during pregnancy if   18   your analysis, Dr. Hollander?
 19    they had taken any dose of acetaminophen at     19       A. Well, I would factor it into my
 20    any time up to week 32 of pregnancy or the      20   analysis because --
 21    month before becoming pregnant."                21       Q. Would or wouldn't? I'm sorry.
 22             All right. You're right. It            22       A. I would.
 23    does say it in that sentence.                   23       Q. Okay.
 24        Q. Okay.                                    24       A. Because the dose-response
 25        A. Let's take a look.                       25   relationship is clear from a number of

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  1    studies, including those studies that used       1       Q. Okay. Dr. Hollander, if you
  2    biomarkers.                                      2   would turn to Table S2 in Exhibit 58, please.
  3             So, first, with biomarkers,             3       A. Let's see. What page is that
  4    when you're able to assess dosage during the     4   on?
  5    second or third trimester or in studies that     5       Q. 17. Sorry, I should have given
  6    look at duration, you have a clearcut            6   you a page number.
  7    exposure response.                               7            You ready?
  8             So although I guess it's                8       A. Yes.
  9    theoretically possible that somebody would be    9       Q. Okay. If you look -- and I'm
 10    classified, it doesn't -- it's not -- it's      10   going to ask you questions about the DNBC.
 11    not consistent with the idea of a               11            Do you recall earlier we talked
 12    dose-response finding, and it's not             12   about that they did a -- they did parental
 13    consistent with a finding of dosing over        13   questionnaire and then they also looked at
 14    time.                                           14   medical diagnosis, right?
 15        Q. And, Dr. Hollander, we're only           15       A. Correct.
 16    getting to these one at a time --               16       Q. Okay. And if you look on the
 17        A. Yeah.                                    17   far right for both groups, the children that
 18        Q. -- and it seems that as each             18   end up with autism had mothers who had mental
 19    one, you realize that there's problems you      19   health issues during pregnancy at double the
 20    didn't appreciate, you start pointing to the    20   rate of the children that were normal,
 21    others. And we're going to get to them.         21   correct?
 22             But did you consider in Alemany        22       A. I see that.
 23    that an exposure counted even if there was      23       Q. Right.
 24    one pill of acetaminophen and even if it        24            And that -- based on the
 25    wasn't during pregnancy?                        25   questions I asked you earlier, you recognize

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  1               MR. DOVEL: Objection. Form.           1   depression, maternal mental health, as, I
  2               THE WITNESS: I guess that gets        2   think you said, a factor associated with the
  3         to the issue of whether or not there        3   outcomes of autism and the outcomes of ADHD,
  4         could be a misclassification of             4   correct?
  5         exposure.                                   5       A. Well, the issue was -- gets to
  6    QUESTIONS BY MR. MURDICA:                        6   whether or not there's some kind of a genetic
  7         Q. Okay. And, Doctor --                     7   confounding.
  8         A. And I guess there are different          8            However, it only has an effect
  9    ways to assess misclassification of exposure.    9   on the relationship between the exposure and
 10         Q. Right.                                  10   the outcome if that results in a behavior
 11              And --                                11   that directly influences the exposure.
 12         A. And I think -- so maybe this            12       Q. Dr. Hollander, had you looked
 13    Alemany study may not address that potential    13   at this data and the doubling here in the --
 14    the same way that some of the other studies     14   in the population that ended up with autism
 15    do.                                             15   in terms of maternal mental health?
 16         Q. Okay. Dr. Hollander, do you             16       A. Yes, I'm familiar with that.
 17    know how the symptoms were assessed in          17       Q. Okay. And did you know that
 18    Alemany and whether they followed the DSM?      18   that was the case, that there was a doubling
 19         A. Well, it looks like it's a              19   in the DNBC?
 20    little bit different because they're using      20       A. It -- it's essentially the same
 21    terminology such as autism spectrum             21   issue that you had alluded to before with the
 22    conditions. So -- and the issue has to do       22   Masarwa 2020 paper as well --
 23    with whether there's misclassification of       23       Q. Okay.
 24    exposure and/or whether there's                 24       A. -- which is the issue of
 25    misclassification in terms of outcome.          25   genetic confounding, right?

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  1         Q. Right. And --                            1   to get the effect.
  2         A. And it's the same issue again            2       Q. And, Doctor --
  3    as -- so if that genetic confounding or that     3       A. And it would still be an effect
  4    maternal behavior directly affects the           4   of the exposure. It would be an effect of
  5    exposure, then it's relevant. Otherwise,         5   the exposure being mediated through that
  6    it's not. Because the -- if you look at the      6   genetic variation.
  7    maternal mental health behavior, it certainly    7       Q. And, Dr. Hollander, if you're
  8    could be a mediator or a moderator of the        8   being fair, it could also be vice versa,
  9    effect of the exposure and the outcome.          9   could it not?
 10         Q. Okay.                                   10       A. How would that be the case?
 11         A. So if you take it away, then            11       Q. The way I just explained it.
 12    you take away the effect.                       12       A. Let me see if I can try to
 13              So, you know, we know that            13   understand that. So --
 14    these things are gene-by-environment            14       Q. Have you seen data that women
 15    interactions. This is only an issue if it       15   with depression are more likely users of
 16    directly affects the behavior at question,      16   acetaminophen?
 17    which is the taking of the medicine. And you    17       A. I have seen publications that
 18    can -- you wouldn't want to take away the       18   talk about behavioral factors as it relates
 19    familial or the genetic factors if they         19   to acetaminophen use.
 20    directly affect, again, the mediators and       20       Q. And --
 21    moderators.                                     21       A. So like the Lupattelli study.
 22              So the genetic effects affect         22   So they suggested that, you know, neuroticism
 23    how the APAP produces the outcome, or it        23   or openness, which are two traits in the
 24    moderates the levels of APAP, then you          24   mothers, you know, could potentially have an
 25    wouldn't want to be able to take that away.     25   effect on APAP usage.

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  1    In fact, you would need that                     1            But the effect was actually
  2    gene-by-environment interaction in order to      2   really small, and so those individuals
  3    get the outcome.                                 3   interpreted it by saying, look, there's a
  4        Q. If patients -- if mothers with            4   relationship. It's very small. It wouldn't
  5    mental health issues --                          5   work as a confounder to wipe out the
  6        A. Right.                                    6   association, so you can't blame it on the
  7        Q. -- take acetaminophen more than           7   APAP-taking aspect of the mother.
  8    mothers without mental health issues, it         8            Again, that sort of gets back
  9    could be mental health, in fact, that's the      9   to the blame-the-mother approach as well,
 10    mediator that attenuates the acetaminophen      10   that somehow, you know, these women with
 11    association you're seeing, correct?             11   mental health problems are more likely to be
 12        A. Well, it could be that the               12   taking APAP. But it's not an issue if the
 13    mental health issues are associated with --     13   genetic and familial factors associated with
 14    and again, I get back to my example of the      14   the mental health problems mediate the
 15    cannabinoid-1 receptor or the FAAH. So let's    15   expression or the effect of APAP on the
 16    say that women with mental health problems      16   outcome.
 17    have genetic polymorphisms for the CB1          17       Q. Dr. Hollander, you're blaming
 18    receptor. They have genetic polymorphisms       18   the mother as well if you are blaming APAP
 19    for FAAH.                                       19   because the mother took the APAP, right?
 20             If APAP exerts its effects             20            Have you considered that when
 21    through the endocannabinoid system but there    21   you talk to your patients about causation?
 22    are familial, genetic factors, then it's not    22            I'll ask another question.
 23    a confounder. It's actually a mediator of       23       A. Well --
 24    the effect for the compound. So it's that       24            MR. DOVEL: Just a second. He
 25    gene by environment -- you need that in order   25       wants to answer.

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  1             THE WITNESS: Well --                    1            MR. DOVEL: Time for a break
  2             MR. MURDICA: Hey, listen, you           2       when you get a chance.
  3        don't tell me when he wants to answer.       3   QUESTIONS BY MR. MURDICA:
  4        He wasn't answering. You don't help.         4       Q. Okay. Have you seen the
  5             MR. DOVEL: No, he was                   5   Bandoli study, Doctor?
  6        answering. He was answering.                 6       A. It doesn't come to my mind
  7             MR. MURDICA: Go ahead,                  7   immediately --
  8        Dr. Hollander.                               8       Q. Okay.
  9             MR. DOVEL: The record will              9       A. -- but I'd be glad to look at
 10        show he was answering.                      10   that.
 11             MR. MURDICA: He wasn't.                11            MR. MURDICA: Sure, we'll take
 12             THE WITNESS: Actually, you             12       a break.
 13        know what I am blaming is I'm --            13            VIDEOGRAPHER: The time right
 14    QUESTIONS BY MR. MURDICA:                       14       now is 5 p.m. We are off the record.
 15        Q. The lack of a microphone?                15         (Off the record at 5:00 p.m.)
 16        A. I'm blaming the risk versus              16            VIDEOGRAPHER: The time right
 17    benefit discussion as it relates to the APAP.   17       now is 5:15 p.m. We're back on the
 18    So that's what I'm blaming.                     18       record.
 19        Q. Dr. Hollander, are you aware             19   QUESTIONS BY MR. MURDICA:
 20    that maternal depression is highly related to   20       Q. Welcome back, Dr. Hollander.
 21    increased APAP use?                             21            Are you ready to proceed?
 22        A. I'm aware that there can be              22       A. Yes, I am. Thanks.
 23    some familial or maternal factors that          23       Q. Okay. All right.
 24    influence APAP use but that those factors are   24            Dr. Hollander, are you ready to
 25    relatively small. And you'd have to have a      25   proceed?

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  1    really big impact in order to wipe out the       1      A.     Yes, I am.
  2    association between the exposure and the         2      Q.     Okay. Welcome back.
  3    outcome, and that just doesn't happen.           3           Dr. Hollander, one of your --
  4         Q. And that's based on what,                4   one of the aspects of your opinion is that
  5    Doctor?                                          5   because ADHD and autism, in your view, share
  6         A. Well, that's based on the                6   a symptom, that being hyperactivity, that
  7    Lupattelli study where she addressed that        7   anything that causes hyperactivity is a cause
  8    specific question.                               8   of both autism and ADHD, correct?
  9         Q. Okay.                                    9       A. No.
 10         A. She talked about maternal               10       Q. Okay. Could you please turn to
 11    traits and whether those maternal traits        11   page 32 of your report?
 12    influenced the APAP-taking behavior. And        12       A. This is the original report or
 13    then she related it to different kinds of       13   the rebuttal report?
 14    exposures like SSRIs.                           14       Q. Sorry, the rebuttal report.
 15              In her analysis of that, she          15       A. Yeah. Okay.
 16    felt that the -- that could be -- play more     16       Q. Okay. On page 32, on the
 17    of a role with certain kinds of exposures and   17   bottom paragraph, it says, "Here,
 18    less of a role with other exposures.            18   hyperactivity is a symptom domain that is a
 19         Q. Are you familiar --                     19   core feature of ADHD and an associated domain
 20         A. So she determined that that             20   of ASD. If acetaminophen exposure during
 21    could be a potential confounder as it relates   21   pregnancy causes hyperactivity in ASD and
 22    to determining relationship between SSRIs and   22   ADHD individuals, and if hyperactivity is a
 23    neurodevelopmental outcomes, but that it        23   common feature of ADHD and ASD, then
 24    wasn't a -- it wasn't a role with regards to    24   acetaminophen causes ADHD and ASD."
 25    APAP use and neurodevelopmental outcomes.       25           Did I read that correctly?

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  1         A. Yes.                                     1   "ASD" on page 32, do you want to correct the
  2         Q. Okay. Do you want to make any            2   words in those two sentences or leave them
  3    corrections to the words in those sentences,     3   as-is?
  4    or do you stand by those words?                  4       A. Well --
  5         A. Well, I -- maybe I can talk a            5       Q. I'm giving you a chance.
  6    little about -- so the basic idea is we're       6       A. Right.
  7    looking at symptom domains that present          7           And what I'm -- so what I'm
  8    across both neurodevelopmental disorders. I      8   suggesting is I might modify hyperactivity to
  9    was using hyperactivity as an example of a       9   include hyperactivity/impulsivity.
 10    symptom domain that cuts across both            10       Q. You --
 11    disorders. I wasn't suggesting in any way       11       A. As a --
 12    that it -- that was the key symptom domain      12       Q. -- don't mean -- Dr. Hollander
 13    that relates the two together.                  13   is not here to tell the Court and the world
 14              And in fact, really what I see        14   that anything that has a -- anything that
 15    is that, you know, my work has been in          15   causes hyperactivity causes autism and ADHD,
 16    compulsivity and impulsivity, and both          16   correct? That is not your testimony?
 17    conditions share features of compulsivity and   17       A. Could you repeat that question
 18    impulsivity.                                    18   again?
 19              So if I could say it, the             19       Q. Sure.
 20    compulsivity, both of the disorders have        20           Are you here to tell the world
 21    impairment in set shifting, the ability to,     21   that something associated with hyperactivity
 22    you know, let go of stimuli and then refocus    22   means it causes autism and ADHD?
 23    on other issues. That set shifting deficit      23       A. No.
 24    or executive function deficit is like a key     24       Q. Okay. You're not -- you're not
 25    feature in terms of the, you know,              25   saying that if acetaminophen is associated

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  1    attentional issues in ADHD.                      1   with hyperactivity, then it must also cause
  2             And clearly individuals with            2   ASD and ADHD, correct?
  3    ASD also have difficulties in term of set        3        A. No, I'm not saying that.
  4    shifting.                                        4        Q. Okay. And impulsivity is not a
  5             The impulsivity, which tightly          5   feature of ADHD, right?
  6    overlaps with the hyperactivity, is also a       6        A. Well, it is. The
  7    feature -- the impulsivity -- the                7   hyperactivity/impulsivity domain, yeah.
  8    impulsivity/hyperactivity is one domain, and     8        Q. Is it a feature of all ADHD?
  9    then the impulsivity is a major component as     9        A. It's a feature of those who
 10    an associated symptom in ASD.                   10   have the combined type or the hyperactive
 11             And I would -- and I would             11   type.
 12    relate the compulsivity and impulsivity that    12        Q. Okay. So not every --
 13    I'm describing to the frontostriatal            13        A. Not the inattentive type.
 14    circuitry and the frontolimbic circuitry        14        Q. Okay. And is hyperactivity a
 15    that's impacted in both disorders.              15   feature of everyone diagnosed with ADHD?
 16        Q. Do you remember my question?             16        A. No. It's a symptom of those
 17        A. Well, I think your question had          17   who have the hyperactivity/impulsivity
 18    to do with whether or not hyperactivity was a   18   subtype, not just those who just have the
 19    symptom domain or feature of both disorders.    19   inattention subtype.
 20        Q. No.                                      20        Q. Okay. If you turn to page 22
 21             My question --                         21   of your rebuttal report, please, Doctor.
 22        A. Yeah.                                    22            I want to focus you on the last
 23        Q. -- Doctor, is, do you -- the             23   sentence. Let me know when you're there.
 24    two sentences that we read together that        24   I'll read it, and you tell me if I read it
 25    begins with "here" and ends with the word       25   correctly.

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  1            Do you see the last sentence             1   59, and we'll mark Barch as 60.
  2    that begins "to the contrary"? Page 22 of        2            Okay. Dr. Hollander, you now
  3    your rebuttal.                                   3   have in front of you a document that's been
  4        A. Could you read the sentence               4   marked as Exhibit 60 by author Deanna Barch.
  5    above that? Because somehow it's not --          5            Do you see that?
  6        Q. Yeah.                                     6       A. Yes.
  7            It's the paragraph that starts,          7       Q. Is this what you were
  8    "In addition" -- that doesn't look right         8   referencing in your rebuttal report with the
  9    because you have a sub-footnote there.           9   Barch citation?
 10        A. Oh, I see. I gotcha here.                10       A. I believe so, yes.
 11        Q. Well -- oh, you have a                   11       Q. Okay. Dr. Hollander, can you
 12    different version than I do.                    12   point us to where this article says anything
 13        A. I don't think so.                        13   about attention-deficit/hyperactivity
 14        Q. I'm looking here. You're on              14   disorder or autism spectrum disorder?
 15    23. Huh. Go -- oh --                            15       A. Well, I mean, this is taking
 16        A. "In addition."                           16   the approach -- again, we're highlighting
 17        Q. Huh. I have to admit, I'm                17   that symptom domains can be transdiagnostic
 18    puzzled.                                        18   and can map onto underlying brain circuitry.
 19        A. Or this "in addition" back               19       Q. We can agree, though, that that
 20    here? Baccarelli --                             20   article doesn't say ASD or ADHD, correct?
 21        Q. Oh, specificity is -- ah, right          21       A. Well, it certainly applies to
 22    here. "To the contrary."                        22   ASD and ADHD. I think in this particular
 23        A. Okay. Gotcha. Sorry.                     23   editorial they talk a little bit how these
 24        Q. Okay. It does seem -- the                24   symptom domains cut across things like
 25    pages are not matched up. All right. We'll      25   schizophrenia or bipolar disorder, or they

                                         Page 342                                             Page 344
  1    mark that and try to figure it out later.        1   talk about bipolar disorder and major
  2    We'll take a copy of it.                         2   depression. So they use different examples.
  3             Dr. Hollander, you state, "To           3            But the concept is -- can be
  4    the contrary, as I have discussed in great       4   certainly -- the concept can be applied and
  5    detail in my initial report, it is widely        5   is appropriate to the transdiagnostic symptom
  6    accepted that neurodevelopmental disorders,      6   domains that cut across ASD and ADHD and map
  7    including ASD and ADHD, share important          7   onto their underlying brain circuitry and
  8    neurogenetic physiological, structural and       8   neurogenetic factors.
  9    psychological traits, Barch 2020, period."       9       Q. Dr. Hollander, it doesn't say
 10             Did I read that correctly?             10   that. You were citing Barch 2020 as
 11          A. Yes.                                   11   background, not specific to ASD and ADHD,
 12          Q. Okay. Now, is Barch a                  12   correct?
 13    publication that you're familiar with?          13       A. It's talking about a
 14          A. Yeah, it's a publication that          14   transdiagnostic approach to neuropsychiatric
 15    I've considered in my materials considered      15   disorders.
 16    list.                                           16       Q. Okay. And you can have --
 17          Q. Okay. And Barch stands for the         17       A. Yeah.
 18    proposition that ASD and ADHD share important   18       Q. Dr. Hollander, you can have
 19    neurogenetic, et cetera, traits, right?         19   symptoms but not have a disorder, correct?
 20          A. Correct.                               20       A. Well, yes. I mean, you can
 21             (Hollander Exhibits 59 and 60          21   have symptoms and symptom domains and not
 22          marked for identification.)               22   have a disorder.
 23    QUESTIONS BY MR. MURDICA:                       23       Q. Right.
 24          Q. Okay. Mark Barch -- we're              24           You would only be given a
 25    going to mark that report that's different as   25   disorder in the diagnostic manual if the

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  1    symptoms caused marked distress or interfered    1   particular confounder.
  2    with functioning; otherwise they're just         2       Q. And your testimony now is that
  3    symptoms. Right?                                 3   Ji 2020 encapsulates Ji 2018, so you didn't
  4        A. That's correct.                           4   need to cite it, right?
  5        Q. All right. Now, one of the                5       A. I believe so.
  6    things that you've mentioned a couple times      6       Q. Okay. By the way, the
  7    are biological marker studies, right? And        7   transdiagnostic theory you have on ASD and
  8    you cite Ji and Baker in your --                 8   ADHD is based on the shared feature of
  9        A. Baker and Ji, yeah, biomarkers.           9   hyperactivity, right?
 10        Q. Right, biomarkers.                       10       A. No.
 11            And you think those are                 11       Q. Okay. The transdiagnostic
 12    important, right?                               12   theory that you have connecting ADHD and A --
 13        A. Well, they're a more -- they're          13   ASD doesn't replace the DSM, correct?
 14    a more direct measure of exposure.              14       A. It doesn't re -- no, it
 15        Q. Okay. And I noticed you cited            15   complements the DSM. So it's -- it's a -- it
 16    Ji 2020, but did you review the earlier Ji      16   maps on more closely to the underlying, you
 17    study on maternal plasma?                       17   know, circuitry or genetic, cellular --
 18        A. Let me see. It's possible that           18   because it -- it's more closely related to
 19    I reviewed more than one of the Ji studies.     19   the underlying defect, and the diagnosis is
 20    Let me just...                                  20   more distal to the underlying defect.
 21            I think I -- I think if they            21       Q. Dr. Hollander, is hyperactivity
 22    used similar cohort or approach, that I might   22   a symptom of anything other than ASD and
 23    have not cited every one of them, yeah.         23   ADHD?
 24        Q. So which is it? You didn't --            24       A. Yes. I mean, hyperactivity can
 25    you didn't cite it?                             25   be a symptom. It can be a symptom in other

                                          Page 346                                            Page 348
  1       A.     Well, I did cite it.                   1   conditions.
  2       Q.     Oh.                                    2        Q. So your transdiagnosis theory
  3       A.     I cited the Ji 2020 article.           3   of --
  4             So are you referring to a               4        A. And --
  5    different year?                                  5        Q. Sorry.
  6        Q. I am.                                     6        A. And it -- and it can -- and it
  7        A. Yeah, which year are you --               7   can vary in severity as well. So it's a
  8        Q. 2018.                                     8   symptom domain.
  9        A. Right. Okay.                              9        Q. Okay. So you agree that
 10        Q. Did you cite that?                       10   hyperactivity is a symptom of much more than
 11        A. No, because if the 2018 -- I'm           11   just ASD and ADHD, correct?
 12    sorry. If the 2020 includes a similar           12        A. Yeah, as a -- as a -- well,
 13    cohort, then I would cite the larger or more    13   first of all, so the notion of the
 14    comprehensive of the studies.                   14   transdiagnostic is that the domain cuts
 15        Q. Okay. But with Masarwa, you              15   across different conditions.
 16    cited 2018 and not the more current 2020,       16        Q. Right.
 17    right?                                          17        A. That's the sort of definition,
 18        A. Well, again, the -- so the               18   and it's not restricted to.
 19    20 -- the Masarwa -- the 2018 was the           19             So, for example, I looked at
 20    meta-analysis. The 2020 examined one            20   compulsivity like OCD, right? I saw that
 21    particular issue of bias or confounding but     21   there were a group of other disorders that
 22    wasn't the original meta-analysis. So --        22   shared underlying features. So they had
 23        Q. Okay.                                    23   similar clinical symptoms. They had similar
 24        A. -- I cited the meta-analysis,            24   familial factors of transmission. They had
 25    not the article that tested for one             25   similar underlying brain circuitry. And as a

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  1    result of that, the DSM was reorganized to       1   particular timing that affects the underlying
  2    include a new chapter called obsessive           2   circuitry of development would create those
  3    compulsive and related disorders.                3   symptoms expressed across different
  4             And the reason that that                4   conditions.
  5    chapter in the DSM was organized was because     5       Q. Dr. Hollander, is IQ a symptom
  6    there was a common transdiagnostic symptom       6   domain for ASD?
  7    domain that cut across all of the different      7       A. No.
  8    conditions that are now listed in the DSM-5.     8       Q. Is IQ a symptom domain for
  9        Q. Okay. Dr. Hollander, if                   9   ADHD?
 10    acetaminophen causes a symptom domain like      10       A. No.
 11    hyperactivity, shouldn't it cause, by your      11       Q. According to Dr. Hollander,
 12    logic, every -- not just autism and ADHD, but   12   does acetaminophen cause major congenital
 13    anything for which hyperactivity is a           13   malformation?
 14    symptom?                                        14       A. No.
 15        A. Well, again, you know, these             15       Q. According to Dr. Hollander,
 16    conditions are pretty heterogeneous, and they   16   does acetaminophen cause neural tube defects?
 17    include multiple different symptom domains.     17       A. Usually no.
 18    Those symptom domains, you know, can cut        18       Q. Does acetaminophen ever cause
 19    across different conditions.                    19   neural tube defects, according to
 20             There are other symptom domains        20   Dr. Hollander?
 21    as well that can co-occur or shape the          21       A. No. It causes more subtle
 22    expression of the disorder.                     22   kinds of symptoms than major neural tube
 23        Q. According to Dr. Hollander --            23   defects.
 24        A. And that -- well, I'm sorry,             24       Q. Okay. And you --
 25    just let me finish.                             25   Dr. Hollander, you just testified that the

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  1              So that APAP, or acetaminophen,        1   timing is important and the dose is
  2    can be a causal factor in causing a symptom      2   important.
  3    domain. That doesn't mean, you know, that        3            What is the important timing
  4    it's the only factor causing that symptom        4   for causation on autism?
  5    domain. And clearly there can be other           5       A. Well, I mean, the best estimate
  6    factors or combinations that come together to    6   is exposure during the second and third
  7    get the full expression of the condition.        7   trimester.
  8              So -- but it -- if APAP                8       Q. Okay. And when -- according to
  9    exposure affects, through the process of         9   Dr. Hollander, when is the timing to treat --
 10    neurodevelopment, a key brain circuitry, and    10   to cause ADHD?
 11    if that brain circuitry regulates that          11       A. The second and third trimester.
 12    symptom domain, then impacting that brain       12       Q. Okay. So it's the same.
 13    circuitry would be associated with the          13            According to Dr. Hollander,
 14    development of that symptom domain across       14   what does acetaminophen cause other than ADHD
 15    other conditions.                               15   and autism?
 16              However -- but here's the             16       A. Well, I mean, it can cause
 17    however also. It also depends on like the       17   liver failure. So, I mean, it really depends
 18    timing of the exposure and the dose of the      18   on the dosage and the timing.
 19    exposure, because you may impact -- you may     19       Q. Okay.
 20    create a -- you may impact or dysregulate a     20       A. It could cause skin reactions.
 21    particular circuit at a particular time of      21   I mean, it really depends on the dosage and
 22    exposure or dosage of the exposure but not      22   the timing.
 23    affect that circuitry with a different type     23       Q. Dr. Hollander, when a pregnancy
 24    of an exposure.                                 24   is exposed to acetaminophen in the second and
 25              But that exposure at a                25   third trimester -- second or third trimester,


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  1    what outcomes in the fetus can acetaminophen     1   that acetaminophen allegedly interferes with
  2    cause, according to Dr. Hollander, other than    2   that signaling in the fetus?
  3    ASD and ADHD?                                    3       A. Well, that -- I mean, it kind
  4        A. Well, I mean, it can impair               4   of gets to the experiment issue. And there
  5    circuits such as frontostriatal circuits and     5   were ethical issues in terms of dosing women
  6    frontolimbic circuits that can present with      6   with acetaminophen and then doing imaging on
  7    set switching, executive function-type           7   the offspring, so that hasn't been conducted.
  8    problems and impulsivity/hyperactivity.          8            But I guess animal models would
  9        Q. And, Dr. Hollander, you have no           9   be a good way to be able to do that
 10    direct human evidence of that. Your             10   experiment, actually, and that's what's been
 11    testimony you just -- you just gave is based    11   done.
 12    on animal studies, correct?                     12       Q. And my question was on human
 13        A. No.                                      13   data.
 14        Q. Okay. What direct human                  14            The only direct human evidence
 15    evidence do you have on impairing those exact   15   you're relying on for what we're talking
 16    circuits?                                       16   about right now was the subset of Baker that
 17        A. Well, the Baker study used               17   had the MRIs, correct?
 18    functional MRI as a measure of outcome. So      18       A. Well, I am relying on that.
 19    they used a direct measure of exposure,         19   That's what comes to my mind now.
 20    meconium, to determine the dose-response        20            I guess I'm also relying on all
 21    relationship, and they used a direct measure    21   of the other, you know, outcome measures that
 22    of outcome, which is functional MRI. And        22   were used, whether they were diagnostic
 23    they determined that there was a relationship   23   outcome measures or scales, and then my
 24    between exposure and hyperactivity and          24   understanding of the correlation between
 25    hypoactivity of those circuits.                 25   those different measures and other

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  1         Q. Dr. Hollander, other than --             1   neuroimaging measures.
  2    how many patients were -- received an MRI in     2            So there's a -- there's a lot
  3    Baker?                                           3   of information about underlying brain
  4         A. I'll have to take a look at it           4   circuitry and these clinical conditions
  5    to get the exact number.                         5   linked to these diagnoses, and there's a lot
  6         Q. Was it a lot?                            6   of information relating to circuits that are
  7         A. Well --                                  7   involved in the -- you know, cognitive
  8              MR. DOVEL: Objection. Form.            8   features that are assessed by these outcome
  9              THE WITNESS: I -- it would             9   measures. So I'm also relying on that
 10         have been a subgroup of the overall        10   literature as well.
 11         amount. So there were 345 subjects         11        Q. Dr. Hollander, on Exhibit 54,
 12         overall in the study, and a subgroup       12   which are Dr. Baccarelli's tables that you're
 13         of that received a functional MRI.         13   relying on, the only -- if you look through
 14    QUESTIONS BY MR. MURDICA:                       14   them, the only measure that you rely on for
 15         Q. Right.                                  15   direct evidence of circuitry in the brain is
 16              And it's not your testimony           16   the Baker subset, not any of the other
 17    that the subjects who had their meconium        17   studies, correct?
 18    sampled was direct human evidence of            18        A. Well, I would -- I would have
 19    interference with those pathways, right?        19   to repeat myself again in that many of these
 20         A. No. All that was doing was              20   outcome measures that have been tested in
 21    it's a more direct measure of the exposure.     21   these different cohorts have also been
 22         Q. Okay. Other than the MRIs on            22   studied and correlated with in neurocognitive
 23    however many subjects were -- had an MRI        23   features and brain circuitry.
 24    measurement in Baker, do you have -- are you    24            However, in the studies that
 25    relying on any other direct human evidence      25   link exposure and outcome directly, yeah, the

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  1    only -- my understanding, the only measure       1   acetaminophen exposure can cause ADHD and
  2    that currently exists in terms of like           2   autism in the child, right?
  3    functional brain circuitry is the Baker          3       A. Yeah. Exposure to
  4    study.                                           4   acetaminophen can be a causal factor in the
  5         Q. And other than ADHD and ASD --           5   development of ASD and ADHD and other
  6    this is how we got on this topic -- what else    6   neurodevelopmental disorders.
  7    can acetaminophen cause in the fetus?            7       Q. Okay. And did you see when you
  8         A. Well, it can also be associated          8   looked at Ji, the earlier Ji study, that --
  9    with other neurodevelopmental problems.          9   and it was a biomarker. It was maternal
 10         Q. Okay. And have you done an              10   plasma.
 11    analysis on those? A causal analysis?           11            Did you see that Ji found an
 12         A. Yes. I have discussed that,             12   association with one of the outcomes but not
 13    and then I also have relied on                  13   the other? Do you remember that?
 14    Dr. Baccarelli, who has also done a separate    14       A. I think I recall that, yes.
 15    navigation weight-of-the-evidence analysis      15       Q. Okay. And that is not
 16    for neurodevelopment, and also has organized    16   concordant, right?
 17    that material as it relates to exposure and     17            That does not fit your theory
 18    other neurodevelopmental outcomes.              18   for acetaminophen to cause one of ADHD and
 19         Q. Is acetaminophen selective at           19   autism and not the other, correct?
 20    all for neurodevelopmental outcomes, or does    20            MR. DOVEL: Objection. Form.
 21    it cause all -- all neuro -- all bad            21            THE WITNESS: I guess I'd have
 22    neurodevelopmental outcomes, I guess I should   22       to look at the manuscript in order to
 23    say?                                            23       be able to offer an opinion --
 24         A. No, I wouldn't say that it              24   QUESTIONS BY MR. MURDICA:
 25    doesn't cause everything as it relates to --    25       Q. Sure.

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  1    and as I mentioned again, it doesn't -- so it    1       A. -- relating to that.
  2    can affect the liver and it can affect the       2       Q. Sure. And I'm going to mark it
  3    skin. So it doesn't only affect                  3   in a second.
  4    neurodevelopment, although in the setting of     4            But did you consider discordant
  5    maternal usage, it can be associated with        5   results in your analysis between the two
  6    different neurodevelopmental outcomes.           6   outcomes?
  7             It's not associated with neural         7       A. Yes.
  8    tube defects. It's not associated with           8       Q. Okay. And to the extent there
  9    severe mental retardation.                       9   were discordant results, it didn't impact
 10             It is associated with these            10   your conclusion on causation as to both,
 11    more subtle symptoms that cut across ASD and    11   correct?
 12    ADHD and other neurodevelopmental disorders,    12            MR. DOVEL: Objection. Form.
 13    and is manifest by executive function set       13            THE WITNESS: Well, I
 14    switching problems as well as impulsivity and   14       acknowledged the discordant results.
 15    hyperactivity.                                  15       I formed my opinion based on the
 16        Q. But you go beyond the symptoms,          16       totality of the evidence.
 17    right? You're saying -- Dr. Hollander is        17   QUESTIONS BY MR. MURDICA:
 18    here telling the world that acetaminophen       18       Q. Okay. And you've definitely
 19    causes essentially every adverse neurological   19   seen Ji 2018 before today, right?
 20    outcome in the fetus when the mother is         20       A. I believe so, yes.
 21    exposed during the second or third trimester    21            (Hollander Exhibit 61 marked
 22    of pregnancy, correct?                          22       for identification.)
 23        A. No.                                      23   QUESTIONS BY MR. MURDICA:
 24        Q. Okay. But for sure,                      24       Q. Okay.
 25    Dr. Hollander is telling the world that         25       A. Well, let me just take a look

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  1    and just make sure that I -- hold on one         1   ready to acknowledge that the outcome for
  2    second in terms of materials considered.         2   ADHD and ASD are discordant when they studied
  3             Yeah, that's -- it is included          3   maternal cord blood. Sorry, maternal plasma.
  4    in my materials considered, both the 2018 and    4           It might help you, Doctor, if
  5    the 2020.                                        5   you look at Table 2 on page 7 of 15.
  6        Q. You now have in front of you              6           Are you ready for a question,
  7    what's been marked as Exhibit 61.                7   Doctor?
  8            Do you see it?                           8        A. Could I have one more minute --
  9        A. Yes.                                      9        Q. Yeah.
 10        Q. Do you recognize that as a               10        A. -- to just put this into
 11    study by Yuelong Ji?                            11   context and understand it?
 12        A. Yes.                                     12        Q. Because I don't want to get
 13        Q. Do you see that it's not the             13   into a spat about time, but this is in his
 14    2020 study that you have cited in your          14   reliance materials.
 15    report?                                         15        A. Okay. Okay.
 16        A. Well, I see that it's the 2018           16        Q. Okay. Dr. Hollander, you
 17    study that's cited in my materials              17   reviewed this before today, right?
 18    considered.                                     18        A. Yes, I have.
 19        Q. Right.                                   19        Q. Okay. And you chose not to
 20            This is not the Ji 2020 study,          20   include it in your rebuttal report, right?
 21    right? They're different.                       21        A. I wonder if I -- I mean, I've
 22        A. It's a different publication.            22   seen this and thought about the issues. Let
 23        Q. This is a maternal biomarker             23   me just make sure that I haven't cited it at
 24    study, though, right?                           24   all in my rebuttal, so...
 25        A. Well, it's part of the Boston            25            MR. DOVEL: If you're worried

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  1    birth cohort, so it's the same birth cohort.     1       about time, why ask that question?
  2         Q. Do you know the difference               2       You know whether it's in his rebuttal
  3    between Ji 2018 and Ji 2020?                     3       or not.
  4         A. Well, I can tell you that                4            You want him to spend time
  5    the -- this report is 1,180 children in the      5       looking through it?
  6    Boston birth cohort, and the Ji 2020 is -- so    6            MR. MURDICA: I think he should
  7    the -- I mean, they're measuring different       7       know what's in his reports and not, so
  8    things, so the -- you know, the Ji is looking    8       I got to ask the question.
  9    at -- the 2020 is cord blood fetal blood, and    9            MR. DOVEL: Okay.
 10    the 2018 is as you mentioned.                   10            THE WITNESS: Okay. Well,
 11         Q. Right.                                  11       so --
 12             So, Dr. Hollander, they are            12   QUESTIONS BY MR. MURDICA:
 13    different, right? They're different             13       Q. Okay. So you've reviewed it.
 14    biomarkers?                                     14   You reviewed it before today, right,
 15         A. They're different biomarkers.           15   Dr. Hollander?
 16         Q. Yeah.                                   16       A. I have seen it before, and I've
 17             And in your rebuttal report,           17   done a quick review of it now.
 18    when you listed the biomarker studies, you      18       Q. And you'll take -- well, I will
 19    only cited Ji 2020 and Baker, correct?          19   represent to you that it's not in your report
 20         A. In my rebuttal in the section           20   or your rebuttal report or your amended
 21    in biomarkers, yes, I included those two.       21   report. So at some point if that's true, you
 22         Q. And that's because the results          22   decided that you didn't need to cite it,
 23    of this don't fit your theory, right?           23   right?
 24         A. No, not necessarily.                    24       A. Right. I don't think it is
 25         Q. Okay. Let me know when you are          25   informative with regards to -- so, I mean,

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  1    the two points I would make. One is, there       1   QUESTIONS BY MR. MURDICA:
  2    was no effect in the ASD.                        2       Q. Without having to go back and
  3             The second is, this is                  3   read it, you don't know sitting here right
  4    suggesting that there's some kind of a           4   now --
  5    maternal factor associated with usage, right?    5       A. I don't recall it off -- I
  6    Because it's occurring in maternal blood         6   mean, you're asking me to comment on the
  7    postpartum.                                      7   findings of this article.
  8             So it gets back to the same             8       Q. Right.
  9    issue there as to whether or not, you know,      9       A. So I'd be able to comment on
 10    there's some kind of a maternal or genetic or   10   the findings of the article, but I need to be
 11    familial factor that influences the usage       11   able to read it.
 12    that relates to the outcome.                    12       Q. Right.
 13         Q. Okay. Dr. Hollander, one of             13            It was on your review
 14    the reasons you just said you didn't include    14   material -- your materials reviewed before
 15    it is because there's no significant finding    15   you rendered your opinions here, correct,
 16    as to ASD, correct?                             16   Doctor?
 17         A. Well, there is no finding with          17       A. It is listed in the materials
 18    regards to ASD. I see that.                     18   considered.
 19             I see that there are some              19       Q. Okay. For Ji 2020, Doctor, you
 20    findings as it relates to different models in   20   know that the cord -- the biomarker was cord
 21    terms of acetaminophen burden.                  21   blood, right?
 22         Q. If you look at Table 2, Doctor,         22       A. That's correct.
 23    there's nothing significant under any model     23       Q. And the cord blood was
 24    with respect to ASD or other DD, right?         24   reflecting what was in the cord blood burden
 25         A. On that table, yeah.                    25   as of birth, right? The time of birth?

                                          Page 366                                            Page 368
  1       Q.      Those are the outcomes, right?        1       A. It reflects fetal blood supply
  2             This is -- it's titled "The             2   at the time of birth.
  3    association between maternal acetaminophen       3       Q. Right.
  4    metabolites and the risk of ADHD diagnosis,      4            And that was one snapshot in
  5    ASD diagnosis or other developmental delay       5   time at the time of birth, correct?
  6    diagnosis in offspring."                         6       A. It's one -- yes, it's collected
  7             Right?                                  7   at one time period. It's not collected
  8        A. But the -- I mean, the issue              8   throughout the pregnancy.
  9    here is a particular plasma biomarker that's     9       Q. Right.
 10    measured a few days after delivery.             10            And that one day, the couple
 11        Q. Okay. So to you, to                      11   hours before birth, is not the only window
 12    Dr. Hollander, this biomarker study is not      12   where the fetus is susceptible to
 13    informative on whether acetaminophen causes     13   influenced-cause ASD and ADHD, correct?
 14    autism and ADHD in offspring, correct?          14       A. Well, that -- that's correct.
 15        A. Well, it's addressing whether            15       Q. Okay.
 16    or not there's a particular familial or         16       A. I mean, the fetus would be
 17    genetic confounder that could be a factor in    17   susceptible to exposure before that one-day
 18    terms of understanding the relationship         18   window.
 19    between APAP and ADHD.                          19       Q. And the only measure in Ji 2020
 20        Q. Dr. Hollander, do you know why           20   is that one-day window at birth, correct?
 21    there were discordant findings between ADHD     21       A. That's -- that's one measure,
 22    and ASD?                                        22   right.
 23             MR. DOVEL: Objection. Form.            23       Q. Okay. And in your report,
 24             THE WITNESS: Well, let's see           24   you're not critical of that one measure as a
 25        if the authors address that.                25   biomarker. In fact, you think it's very

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  1    important, that one measure at the time of       1   actually. And if a compound can be effective
  2    birth, correct?                                  2   in an animal model of autism, well, then that
  3         A. Well, it does show a                     3   would be important to then give you support
  4    dose-response relationship as it relates to      4   to consider a trial on humans.
  5    acetaminophen exposure during pregnancy.         5       Q. Dr. Hollander, tell us what the
  6         Q. Okay. And Ji 2018 --                     6   scent marking test is.
  7         A. Yeah.                                    7       A. The scent marking test?
  8         Q. -- you've disregarded because            8       Q. Yes.
  9    it's one snapshot of exposure in the             9       A. I'm not sure what you're
 10    peripartum period, correct?                     10   referring to in terms of the scent marking
 11         A. Yeah. Well, it's not an                 11   test.
 12    exposure during pregnancy.                      12       Q. Okay. Are you familiar with
 13              MR. MURDICA: Okay. I'd like           13   the rodent animal study for -- that's scent
 14         to take a break so that I can save my      14   marking for neurodevelopmental outcomes?
 15         last 15 minutes and figure out exactly     15       A. I think I do in terms of sort
 16         what we're going to do with it. Just       16   of -- yeah.
 17         need five minutes.                         17       Q. Okay.
 18              Thank you, Doctor. I'll be            18       A. It's not a -- that's not a
 19         right back.                                19   standard model that I rely on in terms of
 20              THE WITNESS: Okay.                    20   sort preclinical testing for compounds for
 21              VIDEOGRAPHER: The time right          21   therapeutic trials.
 22         now is 5:59 p.m., and we're off the        22       Q. Dr. Hollander, in the scent
 23         record.                                    23   marking test, would increase or decrease of
 24          (Off the record at 5:59 p.m.)             24   scent be -- of scent marking be evidence of
 25              VIDEOGRAPHER: The time right          25   autism?

                                         Page 370                                              Page 372
  1        now is 6:07 p.m. We're back on the           1       A. I'm not familiar with that
  2        record.                                      2   particular test. I could posit a guess, but
  3    QUESTIONS BY MR. MURDICA:                        3   I'm not sure.
  4        Q. Dr. Hollander, are you ready to           4       Q. Okay. Are you familiar with
  5    proceed?                                         5   the pup ultrasonic vocalization test?
  6        A. Yes, I am.                                6       A. Yes.
  7        Q. Okay. You mentioned earlier               7       Q. Okay. And why don't you tell
  8    about conducting animal studies.                 8   us how that test is conducted.
  9             Do you remember that testimony?         9       A. Well, that's a kind of test
 10        A. I mentioned animal studies.              10   where you separate, I guess, a pup from the
 11    I'm not sure what you're referring to --        11   mother, and then the pup protests with
 12        Q. Dr. Hollander -- oh, sorry.              12   ultrasonic vocalizations.
 13             I thought that you said that           13       Q. Okay. And would --
 14    you've conducted animal studies before.         14   Dr. Hollander, would an increase or a
 15        A. I have, yeah.                            15   decrease in vocalization be evidence of
 16        Q. All right. Not on                        16   autism?
 17    acetaminophen, right?                           17       A. I guess a decrease in the
 18        A. No.                                      18   vocalizations would be associated with an
 19        Q. But you've conducted animal              19   impairment in the social domain.
 20    studies and observed -- and observed            20       Q. Okay. So your answer to that
 21    behaviors in the rodents that you ascribe to    21   is decrease in vocalization?
 22    different neurodevelopmental outcomes, right?   22       A. Yes. If there's an impairment
 23        A. Yes. I mean, animal studies              23   in vocalizations when you separate the pup
 24    are important because they were a way for me    24   from the mother, that would suggest social
 25    to select compounds for therapeutic trials,     25   deficits which would be associated with

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  1    autism model. So it looks at a particular        1       Q. It's the only piece of evidence
  2    symptom domain within -- relevant to autism.     2   you have in a human being, correct?
  3        Q. Okay. And, Dr. Hollander, are             3             MR. DOVEL: Objection. Form.
  4    you familiar with the whole board explanation    4             THE WITNESS: Well, it's a --
  5    test? Exploration test?                          5       it's a piece of evidence in human
  6        A. Well, I'm familiar with things            6       beings that shows a strong relative
  7    like the open field exploration test.            7       risk between oxidized glutathione and
  8        Q. Okay. How about the marble                8       ASD, that it is a study that's
  9    burying test? Are you familiar with that?        9       underpowered. And so when you start
 10        A. That, I'm familiar with.                 10       to adjust for some confounders, the
 11        Q. Okay. In your rebuttal report            11       relative risk persists, but the
 12    at page 35, you are talking about the Carey     12       statistical significance goes away.
 13    study.                                          13             (Hollander Exhibit 62 marked
 14             Do you see that on page 35?            14       for identification.)
 15        A. Ji claimed the Carey study was           15   QUESTIONS BY MR. MURDICA:
 16    not addressed, is that what you're referring    16       Q. Okay. Let's see if that's
 17    to?                                             17   true. We're going to mark this as
 18        Q. Yeah, that's part of it. Yep.            18   Exhibit 62.
 19    In there.                                       19       A. Well, and I guess maybe just to
 20        A. Okay.                                    20   contradict also what you said, it's not
 21        Q. And you -- and you cite it?              21   the -- it's not the only evidence, and so I
 22        A. Yeah.                                    22   also cite the Anand study as well.
 23        Q. You're relying on Carey for the          23       Q. Got it right here, Doctor.
 24    hypothesis that oxidative stress is a           24       A. Okay.
 25    biomarker for ASD outcome, right?               25       Q. That's next.

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  1         A. Well, I mean, as discussed,              1      A.     Excellent.
  2    it's a mechanism study, right.                   2      Q.     If we have time.
  3         Q. Right.                                   3           If you could please look at
  4         A. And it doesn't go all the way            4   what's been marked as Exhibit 62, you have in
  5    from mechanism to disorder, but it's a step      5   front of you the Carey study, correct?
  6    in the link.                                     6       A. Yes.
  7         Q. And is it -- is it your                  7       Q. 2022. That's what you cited in
  8    testimony that Carey supported the link in       8   your rebuttal report, right?
  9    the mechanism?                                   9       A. Yes.
 10         A. It supports the link, and the           10       Q. I'd like you to turn to the
 11    issue is, well, if you adjust for               11   conclusions and just read the first sentence.
 12    confounders, well, the strength of the          12           You recognize Carey's
 13    association decreases based on the sample       13   conclusion, do you not, Dr. Hollander, that
 14    size, but the odds ratio is still above 2.      14   overall they did not observe strong
 15    So there's still a strong relative risk, but    15   associations between maternal markers of
 16    that because of the sample size, it doesn't     16   oxidative stress in the late second and third
 17    reach statistical significance.                 17   trimester and ASD-related traits, right?
 18         Q. Okay. And is that the best              18       A. That's what the sentence says.
 19    evidence you have, Doctor?                      19       Q. Okay. And the second and third
 20             MR. DOVEL: Objection. Form.            20   trimesters are -- that's your key window that
 21    QUESTIONS BY MR. MURDICA:                       21   you just testified to, right?
 22         Q. Of your mechanism -- of your            22       A. That is an important window.
 23    oxidative stress mechanism?                     23       Q. Okay. So you just said you
 24         A. That's one piece of evidence in         24   think it's strong, and the authors said they
 25    support of that.                                25   did not observe a strong association.

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  1             So that you disagree with the           1   results, yes.
  2    conclusion of Exhibit 62, correct?               2       Q. Okay. Did you come --
  3        A. Well, I mean, again, as a -- as           3   Dr. Hollander, did you come up with Carey and
  4    an elevated odds ratio, it's -- when             4   Anand on your own?
  5    adjusting for different confounders and          5             MR. DOVEL: Just a second.
  6    because of the sample size, you lose the         6             MR. MURDICA: He can answer
  7    statistical significance.                        7       that. If he didn't, I won't ask him
  8        Q. All right. In any event,                  8       if it came from counsel. I just need
  9    Doctor, you're relying on --                     9       to know if he came up with it on his
 10        A. And by the way, also, just to            10       own.
 11    continue with that thought, really.             11             MR. DOVEL: Well, the way it's
 12             So what they are observing is          12       phrased, the Southern District of
 13    these -- this relationship between the traits   13       New York counts that as asking, so
 14    and this measure of oxidative stress. So        14       you're going to have to rephrase it.
 15    that's very interesting also.                   15   QUESTIONS BY MR. MURDICA:
 16        Q. Okay. That's interesting. But            16       Q. Dr. Hollander, did you find the
 17    at the end of the day, the conclusion of        17   Anand article?
 18    Carey does not support that there's a strong    18       A. Did I find the Anand article?
 19    association between oxidative stress and the    19       Q. Yes.
 20    outcome of autism spectrum disorder, correct?   20       A. Yes, it popped up in my search,
 21             MR. DOVEL: Objection. Form.            21   and I also discussed it with other experts
 22             THE WITNESS: Well, there is --         22   such as Dr. Cabrera.
 23        there is -- they're saying that this        23       Q. Okay. And did you find the
 24        is suggestive evidence and that             24   Carey article?
 25        further work should be conducted.           25       A. Yes.

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  1    QUESTIONS BY MR. MURDICA:                        1        Q. Okay.
  2        Q. Okay. And the other study that            2        A. And I also discussed that with
  3    you mentioned is Anand, right, Doctor?           3   Dr. Cabrera.
  4        A. That's right.                             4        Q. On the oxidative stress point,
  5        Q. Is that one any better for you,           5   did you find any other articles involving
  6    do you think?                                    6   human beings and acetaminophen?
  7        A. I'm happy to review that with             7        A. I guess I can -- to answer
  8    you.                                             8   that, I could go to my --
  9        Q. Okay. I just -- before you                9        Q. Do you recall, sitting here
 10    review it with me and I show you that it's      10   today, Dr. Hollander, finding any articles
 11    not, I want to know your opinion as to          11   other than the Anand and the Cabrera -- Anand
 12    whether that's helpful to your opinions.        12   and Carey?
 13    Anand.                                          13        A. Well, I see that the Anand and
 14             MR. DOVEL: Objection. Form.            14   the Carey are both mentioned in my rebuttal,
 15             THE WITNESS: Well, I mean, it          15   and I could also look at my amended expert
 16        does suggest that higher                    16   initial report and see if I cite additional
 17        concentrations are associated with          17   references.
 18        ADHD diagnosis at an odds ratio of          18        Q. Okay. If you found anything
 19        2.1, is a marker of oxidative stress        19   else that you thought supported your opinion,
 20        in cord plasma was associated with a        20   it would be in the rebuttal or the initial
 21        higher odds of ADHD.                        21   report, correct, Doctor?
 22    QUESTIONS BY MR. MURDICA:                       22        A. It would be -- it would be in
 23        Q. Okay. That's what you believe            23   there. It would also be a wealth of
 24    it concludes, right?                            24   information in the Cabrera report and
 25        A. That's an interpretation of the          25   rebuttal as well.

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  1        Q. Are you relying, Doctor, on --            1   study that you cited in your rebuttal report,
  2    are you relying on Dr. Cabrera for the           2   correct?
  3    biological -- the plausible biological           3       A. It's 2021. And 2021, it does
  4    mechanism aspect, or are you opining on that     4   appear to be that. Yep.
  5    yourself?                                        5       Q. Okay. I'm just going to
  6        A. I've had the opportunity to               6   direct -- in the interest of time, because
  7    speak with him, and I've had the opportunity     7   we're almost out of time, I'm going to direct
  8    to read his report and his rebuttal. I agree     8   you to page 10 of 16 for my question, Doctor.
  9    with that.                                       9            If you look at the second
 10             I am relying on my own reading         10   paragraph under Discussion, it says, "These
 11    of the articles.                                11   findings are in opposition to our original
 12        Q. Okay. So your biological                 12   hypothesis that lower levels of amino acids
 13    mechanism opinions stand on their own, and      13   involved in the synthesis of glutathione may
 14    you don't need Dr. Cabrera. You're not          14   explain the association between cord
 15    relying on Dr. Cabrera, correct?                15   acetaminophen and ADHD risk."
 16        A. Well, that's correct. I offer            16            Did I read that correctly?
 17    opinions with regards to plausible biological   17       A. Well, you read the sentence,
 18    mechanism in my reports.                        18   yes.
 19        Q. Okay. And you don't know which           19       Q. Okay. And do you disagree with
 20    of those -- which mechanism is the most         20   the sentence as it appears in the Anand
 21    plausible biologic mechanism according to       21   article?
 22    Dr. Hollander?                                  22       A. Well, they're saying that
 23        A. According to Dr. Hollander?              23   increasing cord methionine and glycine
 24        Q. Yes.                                     24   partially statistically mediated the
 25        A. Well, I think impact on the              25   association between cord acetaminophen levels

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  1    endocannabinoid system is a very important --    1   greater than 50th percentile and childhood
  2        Q. Okay.                                     2   ADHD diagnosis.
  3        A. -- mechanism. I do think that             3       Q. And my question was, do you
  4    oxidative stress is an important biological      4   disagree with the sentence as it appears in
  5    mechanism. I think epigenetics is a very         5   the Anand article, the one that I read?
  6    important biological mechanism as well.          6       A. Well, there are -- they are
  7        Q. And all three of those, you               7   suggesting that they -- these findings are
  8    believe, are causative between acetaminophen     8   different than what they originally
  9    exposure and the outcomes of ASD and autism,     9   hypothesized.
 10    right?                                          10       Q. Okay. And do you disagree with
 11        A. Well, all of them are plausible          11   their findings, that they're not consistent
 12    biological mechanisms by which exposure to      12   with what they hypothesized?
 13    acetaminophen can cause ADHD or ASD and         13       A. Well, they're finding something
 14    neurodevelopmental disorders.                   14   that's a little bit different than what they
 15             (Hollander Exhibit 63 marked           15   originally hypothesized.
 16        for identification.)                        16       Q. Okay. Dr. Hollander, I'm
 17    QUESTIONS BY MR. MURDICA:                       17   really trying to be done with this here.
 18        Q. Perfect.                                 18   This is -- this is the last question I'm
 19             Okay. We'll mark this as               19   asking.
 20    Exhibit 63, please.                             20             Do you disagree that they did
 21             All right. This is the last            21   not confirm their theory that oxidative
 22    thing I'm going to be asking you about,         22   stress was the hypothesis to explain the
 23    Doctor.                                         23   connection between cord acetaminophen and
 24             Dr. Hollander, you now have in         24   ADHD risk?
 25    front of you Exhibit 63. This is the Anand      25       A. The -- one thing that's

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  1    interesting is they're finding certain things    1   may suggest that"?
  2    that are mediators of the association.           2       Q. And the one right above it.
  3         Q. Are you able to answer my                3       A. Okay.
  4    question?                                        4       Q. The "however" --
  5         A. Well, if you look at their               5       A. "However, elevated levels of
  6    conclusions, "the oxidative stress biomarker,    6   methionine, serine, glycine and glutathione
  7    8-hydroxy-deoxyguanosine, were associated        7   were significantly correlated with the
  8    with increased odds of childhood ADHD, and       8   oxidative stress biomarker
  9    further that these other measures were           9   8-hydroxy-deoxyguanosine. This may suggest
 10    partial mediators of the association between    10   that potential disruption of the homeostasis
 11    higher levels of cord acetaminophen and         11   of glutathione synthesis by acetaminophen is
 12    childhood ADHD."                                12   associated with increased oxidative stress."
 13         Q. Dr. Hollander, my question              13       Q. Is that conclusion consistent
 14    was --                                          14   or inconsistent with your opinions?
 15         A. "These results suggest that             15       A. Well, that's consistent with my
 16    oxidative stress mechanisms should be further   16   opinions.
 17    explored to understand the link between         17       Q. Let's turn to Ji 2018,
 18    perinatal acetaminophen exposure and risk of    18   Exhibit 61.
 19    childhood ADHD."                                19       A. Yes.
 20             You know, it's not unusual that        20       Q. I'd like you to look at --
 21    you have a particular hypothesis, that you      21   let's start with Table 3. It's on page 8.
 22    have findings that you may modify or revise     22       A. Okay.
 23    your hypothesis according to the results. So    23       Q. Do you see where it reports the
 24    I find that appropriate.                        24   odds ratios for ADHD and ASD?
 25         Q. Dr. Hollander, did you                  25       A. Yes, I do.

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  1    accurately portray the results of Anand in       1       Q. In your view, are the effects
  2    your rebuttal report?                            2   reported here from acetaminophen burden on
  3        A. Well, they're -- I mean,                  3   ADHD and ASD discordant or concordant?
  4    they're saying here there's oxidative stress     4       A. You know, as I was mentioning,
  5    biomarker is associated with the increased       5   so there's an elevated odds ratio for a
  6    odds of childhood ADHD and that -- yes, so I     6   relationship between acetaminophen burden and
  7    think that that's accurate.                      7   ADHD that's, you know, elevated across a
  8             MR. MURDICA: Okay. If that's            8   number of different models.
  9        what you think, that's fine. I have          9            The sample size is 188
 10        no further questions.                       10   individuals, and the p-values are all
 11             CROSS-EXAMINATION                      11   statistically significant.
 12    QUESTIONS BY MR. DOVEL:                         12            If you look at the same with
 13        Q. Sir, just keep that same                 13   regards to the ASD, you know, the -- so the
 14    document out.                                   14   overall rate is lower, and the -- so the
 15             Defendants' counsel was asking         15   sample size is a lot lower. So it's only 44
 16    you about a particular sentence in Anand.       16   as compared to, you know, a higher percentage
 17    I'd like you to read yourself the very next     17   of the population and the bigger number for
 18    two sentences.                                  18   ADHD.
 19        A. Okay. Could you please direct            19            So the odds ratio is pretty
 20    me to the page and the --                       20   similar, actually, across all of these
 21        Q. Page 10.                                 21   different models, whether it's ADHD or ASD.
 22        A. Okay.                                    22   But the p-values aren't statistically
 23        Q. Last paragraph. Sentences 2              23   significant, but the -- but the reason is
 24    and 3.                                          24   that the sample size is less than a quarter
 25        A. The sentence that begins, "This          25   of the size.

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  1              So the -- to some extent,              1   acetaminophen as compared to the adjustment
  2    they're all elevated odds ratio, whether it's    2   that's done in Masarwa 2020?
  3    in ASD or ADHD, so that's a concordance. But     3            MR. MURDICA: Object to form.
  4    the sample size is smaller, so the               4            THE WITNESS: Well, I mean,
  5    statistical significance is not as strong.       5       the answer is yes. I mean, if there
  6        Q. Dr. Baccarelli, in his rebuttal           6       are genetic or familial factors that
  7    report, has a discussion of comparing Ji 2018    7       again mediate or moderate the effect,
  8    and Ji 2020 where he concludes, "The Ji 2018     8       then if you adjust for those factors,
  9    study, if anything, supports my conclusions      9       then it interferes with what the true
 10    rather than refuting them."                     10       association is.
 11             Do you agree with that?                11   QUESTIONS BY MR. DOVEL:
 12              MR. MURDICA: Objection to             12       Q. Let's look at Exhibit 58, the
 13        form.                                       13   supplementary material for Alemany.
 14    QUESTIONS BY MR. DOVEL:                         14            I want you to turn to page 5.
 15        Q. Let me rephrase it.                      15   We're going to talk about the description of
 16             He says, "The Ji 2018 study, if        16   the DNBC cohort in the second paragraph.
 17    anything, supports my conclusions rather than   17            Do you have that in front of
 18    refuting them."                                 18   you?
 19              MR. MURDICA: Objection to             19       A. Yes, I do.
 20        form.                                       20       Q. The second sentence there says,
 21    QUESTIONS BY MR. DOVEL:                         21   "At the first contact, women filled out a
 22        Q. Let me ask my question.                  22   form that included questions regarding any
 23             Do you agree or disagree with          23   supplement in medication use covering the
 24    that statement?                                 24   period from four weeks before pregnancy to
 25              MR. MURDICA: Objection to             25   the gestational of reporting."

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  1        form.                                        1            Does that sentence indicate
  2             THE WITNESS: I agree with that          2   that there was no information taken about
  3        statement.                                   3   when the medication was taken?
  4    QUESTIONS BY MR. DOVEL:                          4            MR. MURDICA: Objection to
  5       Q. I'd like you to look at                    5       form.
  6    Exhibit 55. That's the Masarwa 2018 study.       6            THE WITNESS: Well, so I see
  7             You were asked some questions           7       that there are different contacts, and
  8    about the adjustment in Masarwa for parental     8       this is talking about the first
  9    diagnosis of ASD or ADHD.                        9       contact, what's covering the period
 10             Is adjusting for parental              10       where they're asking.
 11    diagnosis something that would have an effect   11            But then there are other
 12    on showing the true association?                12       contacts, I guess, at 12 and 30 weeks,
 13             MR. MURDICA: Objection. Form.          13       right?
 14             THE WITNESS: Well, again, it's         14   QUESTIONS BY MR. DOVEL:
 15        the same issue in terms of sort of          15       Q. Yeah, so I'm starting with the
 16        genetic confounders. So if those            16   first contact.
 17        genetic confounders affect the              17       A. Okay.
 18        mechanism by which APAP exerts its          18       Q. Is it consistent with that
 19        effect or moderates that effect, then       19   sentence that the mothers would have given a
 20        it would give you a false information       20   report about the period from four weeks
 21        with regards to the true association.       21   before pregnancy as well as a report about
 22    QUESTIONS BY MR. DOVEL:                         22   pregnancy?
 23       Q. In your view, does Masarwa                23       A. Well, it doesn't -- you know,
 24    2018, which does not make that adjustment,      24   it doesn't specify in that sentence
 25    provide a better estimate of the effects of     25   whether -- so they're asking for that, but

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  1     they don't say whether or not they're asking     1   up during pregnancy.
  2     about -- so they may be asking about it          2             Right?
  3     during that time period, but they may be         3       A. Well, it's consistent with
  4     recording it during -- for pregnancy or not      4   that, but it's also consistent with the idea
  5     during pregnancy.                                5   that -- so what -- it is consistent with that
  6         Q. If we look at the last                    6   sentence.
  7     sentence -- rather the last two sentences,       7             The earlier sentence doesn't --
  8     does that indicate that in classifying           8   so all it says is that they fill out a form.
  9     mothers as users of acetaminophen during         9   The form includes questions. The -- but it
 10     pregnancy, that it included use before          10   doesn't say how -- what exactly is on the
 11     pregnancy?                                      11   form or how the form is specified, whether it
 12               MR. MURDICA: Objection to             12   asked questions about pregnancy use or use
 13         form.                                       13   four weeks before the pregnancy.
 14               THE WITNESS: No, it doesn't.          14       Q. Dr. Hollander, you know that
 15         And so that's what I meant, is that         15   this is the cohort published in the Liew
 16         this sentence is not in accord with         16   studies, right?
 17         the earlier sentence. So the --             17       A. Yes.
 18         it's suggesting that when they              18       Q. You could -- you could have
 19         classify the users, they're                 19   gone -- before you just gave the answers to
 20         classifying the users based on whether      20   your counsel that are wrong, you could have
 21         or not they took acetaminophen during       21   gone, and should have gone as the expert
 22         pregnancy or not.                           22   here, to the Liew studies and figured out the
 23               But they're not classifying the       23   correct answer, right?
 24         users -- they may have asked about          24       A. There's nothing in the Liew
 25         that, but they may not have classified      25   study that suggests -- and in fact, didn't we

                                           Page 394                                            Page 396
  1         them as using it during pregnancy.           1   do that? I thought that we were looking at
  2     QUESTIONS BY MR. DOVEL:                          2   the methods of the Liew study.
  3         Q. If there were a study that had            3       Q. I have time limited to the time
  4     included in its analysis maternal use before     4   your counsel used, so --
  5     pregnancy and had that -- and had lumped that    5       A. Okay.
  6     in with use during pregnancy, so that a use      6       Q. -- I am not asking you to go
  7     of acetaminophen that would not cause autism     7   look now.
  8     or ADHD was lumped in, would that then bias      8       A. Okay.
  9     the results towards the null?                    9       Q. You know you could have gone to
 10              MR. MURDICA: Objection to              10   look at how Liew collected data for DNBC,
 11         form.                                       11   correct?
 12              THE WITNESS: Yes, it would.            12       A. That's right. And in the
 13              MR. DOVEL: No further                  13   methods, it didn't specify what you're
 14         questions.                                  14   alleging.
 15             REDIRECT EXAMINATION                    15       Q. Okay. And you just, in
 16     QUESTIONS BY MR. MURDICA:                       16   response to a question your counsel asked
 17         Q. Okay. Staying on this exhibit.           17   you, said essentially that you disagree with
 18              Dr. Hollander, your                    18   Masarwa's 2020 analysis of their own study,
 19     interpretation of what the DNBC cohort          19   right?
 20     counted as acetaminophen exposure is based on   20           MR. DOVEL: Objection. Form.
 21     the -- not based on what was collected in       21           THE WITNESS: No.
 22     the -- in the second line, but based on the     22   QUESTIONS BY MR. MURDICA:
 23     last line: Mothers were classified as users     23       Q. Okay. Didn't you say that
 24     of acetaminophen during pregnancy if they had   24   Masarwa's interpretation of bias in its 2020
 25     taken any dose of acetaminophen at any time     25   study is incorrect? It's not how you would

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  1     interpret the bias, right?                       1   It's just telling you that they're asking
  2         A. Well, let's take a look at that           2   about that time period, but it's not telling
  3     again.                                           3   you that they're classifying that during that
  4         Q. You didn't look at it when your           4   time period.
  5     counsel was asking you questions, right,         5        Q. Dr. Hollander, forget about the
  6     Doctor?                                          6   DNBC then.
  7         A. Well, I'm looking at it in                7             You already agreed earlier,
  8     response to your question.                       8   four of them plainly say they counted
  9         Q. Okay. And, Doctor, just for               9   exposures 30 days during pregnancy, right?
 10     the record, I want it to reflect that you       10   For the cohorts. You already agreed to that.
 11     were able to answer the question just fine      11        A. Well, they are saying -- maybe
 12     when your counsel asked it, incorrectly, and    12   we should take a look at those sentences
 13     now you're taking time to look at the study.    13   again, just to be clear.
 14              MR. DOVEL: Well, as long as            14        Q. Go ahead, Doctor.
 15         we're making a record, it was a very        15        A. Okay.
 16         different question that I asked him         16        Q. Okay. Some of the cohorts
 17         that you asked on a different subject       17   definitely counted exposures to acetaminophen
 18         altogether.                                 18   for the 30 days before pregnancy, correct?
 19     QUESTIONS BY MR. MURDICA:                       19        A. Well, it -- in reading that,
 20         Q. Dr. Hollander?                           20   there is -- there is a sentence that says
 21         A. Yes.                                     21   that.
 22         Q. You disagree with the                    22        Q. Okay. Assuming that the
 23     conclusions the authors of Masarwa 2020 drew    23   cohorts do count exposure the month before
 24     from their bias analysis, correct?              24   pregnancy, here's my question for you.
 25         A. That's correct.                          25             Based on your experience that

                                          Page 398                                             Page 400
  1        Q.     Okay. Back to DNBC cohort.             1   you talked about earlier, counseling your
  2              Plaintiffs' counsel asked you a         2   patients about medication during pregnancy,
  3     question about if prepregnancy exposures were    3   do you think that pregnant women have any
  4     included. You testified that it would bias       4   concern about using pregnant -- medicine
  5     the data to the null, and I think I              5   during pregnancy more so than they did before
  6     interpreted that as meaning Dr. Hollander        6   they're pregnant?
  7     says it would make the association with          7       A. Could you rephrase that?
  8     acetaminophen in the outcome study look          8       Q. Sure.
  9     smaller.                                         9       A. I'm not sure I understand that.
 10              Was that your testimony?               10       Q. When -- wouldn't a woman be
 11         A. That misclassification would             11   more likely to take a medication before she
 12     bias to the null.                               12   knows she's pregnant than after she knows
 13              But also in examining the              13   she's pregnant?
 14     methods of the manuscript itself doesn't        14       A. I mean, it depends on the
 15     mention anything about that. And in             15   symptom.
 16     examining the supplement material that you      16       Q. Don't --
 17     just showed me, it's clearly inconsistent       17       A. And it also depends on the risk
 18     internally, and that the sentence, "Mothers     18   versus benefit or the knowledge.
 19     were classified as users of acetaminophen       19       Q. You don't think women express
 20     during pregnancy if they had taken any dose     20   more concern about taking medication once
 21     of acetaminophen at any time up during          21   they know they're pregnant?
 22     pregnancy."                                     22       A. I think it depends on what's --
 23              And that the earlier sentence          23   what are the guidelines or the -- what people
 24     that seems to be contradictory to that is       24   are told in terms of whether medicines are
 25     actually -- it doesn't specifically specify.    25   considered to be safe or not.

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  1         Q. Okay. So according to                     1       A. I think -- I think I would,
  2     Dr. Hollander, a woman, before she's pregnant    2   because I understand it a little bit better.
  3     and after she knows she's pregnant, looks at     3   Yes.
  4     medication and putting medication into her       4       Q. Okay. So you want to -- Ji,
  5     body the exact same way, correct?                5   which you reviewed before you rendered
  6         A. It also depends on the                    6   opinions here, right? 2018?
  7     symptoms. So there are some women who get        7       A. Ji that I reviewed a while ago
  8     symptoms during pregnancy. They wouldn't         8   and which you gave to me and I tried to
  9     have those symptoms beforehand.                  9   interpret it relatively quickly, but I didn't
 10              So, well, yeah, they would be          10   really have time to evaluate it, yeah.
 11     more likely to take the medicine during         11            Now I would like to have a
 12     pregnancy than before if they're -- if          12   better understanding, now that I've been able
 13     they're having more symptoms during the         13   to review the manuscript better.
 14     pregnancy than before.                          14       Q. Well, we're out of time, so I
 15         Q. Okay. Dr. Hollander, if there            15   guess you're going to have to get the better
 16     is prepregnancy data included here, the use     16   understanding after the deposition.
 17     is more likely -- use of acetaminophen is       17            That was ten days ago when you
 18     more likely than during pregnancy, correct?     18   rendered your rebuttal report, right?
 19              MR. DOVEL: Objection. Form.            19       A. I'm not exactly sure how many
 20              THE WITNESS: Yeah. I guess             20   days.
 21         the issue again is whether or not the       21       Q. Does that sound about right?
 22         symptoms and when are -- when are the       22   July 28th?
 23         symptoms more likely so that women          23       A. Sounds about right.
 24         will be taking medicine to deal with        24            MR. MURDICA: Okay. I have no
 25         the symptoms. And also, what are the        25       further questions.

                                          Page 402                                              Page 404
  1          risks versus benefit understanding          1        THE WITNESS: Okay.
  2          with regards to the particular              2        MR. DOVEL: This is the
  3          medication.                                 3    conclusion of our deposition.
  4     QUESTIONS BY MR. MURDICA:                        4        THE WITNESS: Okay.
  5          Q. Okay. And when we were talking           5        VIDEOGRAPHER: The time right
  6     about Ji 2018, you stand by your testimony       6    now is 6:48 p.m. We are off the
  7     that the peripartum exposure in the              7    record.
  8     peripartum -- sorry. The peripartum              8   (Deposition concluded at 6:48 p.m.)
  9     biomarkers in the blood is irrelevant to the     9         –––––––
 10     analysis, despite the answers you gave to       10
 11     plaintiffs' counsel, correct?                   11
 12               MR. DOVEL: Objection. Form.           12
 13               THE WITNESS: Well, maybe you          13
 14          can read back to me the statement that     14
 15          you're asking me to consider whether       15
 16          or not I stand by it.                      16
 17     QUESTIONS BY MR. MURDICA:                       17
 18          Q. Okay. I'm not going to go find          18
 19     it, Dr. Hollander, but let me just ask it       19
 20     this way.                                       20
 21          A. Yeah.                                   21
 22          Q. Prior to plaintiffs' counsel            22
 23     asking you questions that you answered, did     23
 24     you want to change any of your testimony that   24
 25     you gave me before that?                        25

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  1
  2
                  CERTIFICATE
              I, CARRIE A. CAMPBELL, Registered
                                                                  1        ACKNOWLEDGMENT OF DEPONENT
      Diplomate Reporter, Certified Realtime                      2
  3   Reporter and Certified Shorthand Reporter, do               3
      hereby certify that prior to the commencement
  4   of the examination, Eric Hollander, M.D.
                                                                  4            I,______________________, do
      DFAPA, FACNP, was duly sworn by me to testify                   hereby certify that I have read the foregoing
  5   to the truth, the whole truth and nothing but               5   pages and that the same is a correct
      the truth.
  6                                                                   transcription of the answers given by me to
              I DO FURTHER CERTIFY that the                       6   the questions therein propounded, except for
  7   foregoing is a verbatim transcript of the
      testimony as taken stenographically by and                      the corrections or changes in form or
  8   before me at the time, place and on the date                7   substance, if any, noted in the attached
      hereinbefore set forth, to the best of my
  9   ability.
                                                                      Errata Sheet.
 10           I DO FURTHER CERTIFY that I am                      8
      neither a relative nor employee nor attorney                9
 11   nor counsel of any of the parties to this
      action, and that I am neither a relative nor               10
 12   employee of such attorney or counsel, and                  11
      that I am not financially interested in the
 13   action.
                                                                 12   ________________________________________
 14                                                                   Eric Hollander, M.D. DFAPA, FACNP DATE
 15                                                              13
 16      ____________________________
         CARRIE A. CAMPBELL,                                     14
 17      NCRA Registered Diplomate Reporter                      15   Subscribed and sworn to before me this
         Certified Realtime Reporter
 18      California Certified Shorthand                          16   _______ day of _______________, 20 _____.
         Reporter #13921                                         17   My commission expires: _______________
 19      Missouri Certified Court Reporter #859                  18
         Illinois Certified Shorthand Reporter
 20      #084-004229                                             19   Notary Public
         Texas Certified Shorthand Reporter #9328                20
 21      Kansas Certified Court Reporter #1715
         New Jersey Certified Court Reporter                     21
 22      #30XI00242600                                           22
         Louisiana Certified Court Reporter                      23
 23      #2021012
         Notary Public                                           24
 24      Dated: August 10, 2023                                  25
 25


                                                      Page 406                                                        Page 408
  1                    INSTRUCTIONS TO WITNESS                    1           –––––––
  2                                                                             ERRATA
  3                 Please read your deposition over              2           –––––––
  4         carefully and make any necessary corrections.         3    PAGE LINE CHANGE
  5         You should state the reason in the                    4    ____ ____ _____________________________
  6         appropriate space on the errata sheet for any         5    ____ ____ _____________________________
  7         corrections that are made.                            6    ____ ____ _____________________________
  8                 After doing so, please sign the               7    ____ ____ _____________________________
  9         errata sheet and date it. You are signing             8    ____ ____ _____________________________
 10         same subject to the changes you have noted on         9    ____ ____ _____________________________
 11         the errata sheet, which will be attached to          10    ____ ____ _____________________________
 12         your deposition.
                                                                 11    ____ ____ _____________________________
                                                                 12    ____ ____ _____________________________
 13                 It is imperative that you return             13    ____ ____ _____________________________
 14         the original errata sheet to the deposing            14    ____ ____ _____________________________
 15         attorney within thirty (30) days of receipt          15    ____ ____ _____________________________
 16         of the deposition transcript by you. If you          16    ____ ____ _____________________________
 17         fail to do so, the deposition transcript may         17    ____ ____ _____________________________
 18         be deemed to be accurate and may be used in          18    ____ ____ _____________________________
 19         court.                                               19    ____ ____ _____________________________
 20                                                              20    ____ ____ _____________________________
 21                                                              21    ____ ____ _____________________________
 22                                                              22    ____ ____ _____________________________
 23                                                              23    ____ ____ _____________________________
 24                                                              24    ____ ____ _____________________________
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  2            –––––––
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